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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK
 KALOMA CARDWELL,

                                         Plaintiff,              CA No. ______________

 v.
                                                                 AMENDED VERIFIED
 DAVIS POLK & WARDWELL LLP, Thomas Reid,                         COMPLAINT WITH JURY
 John Bick, William Chudd, Sophia Hudson, Harold                 DEMAND
 Birnbaum, Daniel Brass, Brian Wolfe, and John
 Butler,
                                 Defendants.




        “Racism is being weaponized by elites against all of us…. That’s racism for profit…. I

want to be very clear about this. I’m not saying this because it’s tactically convenient [or

because] it’s a powerful political message. I’m saying this because I think it is analytically

true…. The impetus for it—the profit of it, the fuel of it—is dollars.” - Ian Haney López



        “In the coming days, each of us, every one of us, Democrat and Republican, will face a

choice about whether to begin this trial in search of truth or in service of the...desire to cover it

up.... Let every [one of us] reflect on that choice, and let history weigh on every one of our

shoulders.” - Chuck Schumer, U.S. Senator, on January 16, 2020, the day the third impeachment

trial in U.S. history officially began



                                              *       *   *




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       Plaintiff, Kaloma Cardwell (“Cardwell”), a former associate of Davis Polk & Wardwell

LLP (“Davis Polk” or the “Firm”), by counsel, for his complaint against the Firm, Thomas Reid,

John Bick, William Chudd, Sophia Hudson, Harold Birnbaum, Daniel Brass, Brian Wolfe, and

John Butler (the “Individual Defendants” and, together with Davis Polk, the “Defendants”), for

racial discrimination and retaliation, among other unlawful acts, and alleges, upon actual

knowledge as to his own acts, and upon information and belief as to all other matters, as follows:

                                   SUMMARY OF CLAIMS

       1.      Mr. Cardwell was an associate at the Firm from September 2014 through August

2018. During this period, Mr. Cardwell was subjected to discriminatory treatment by, among

other things, Defendants’ conduct of: (i) disparate treatment of Mr. Cardwell compared to

similarly situated non-Black associates; (ii) ignoring Mr. Cardwell’s complaints of racially based

disparate treatment; (iii) rigging workplace systems, including limiting Mr. Cardwell’s

professional development and opportunities by assigning Mr. Cardwell to fewer deals and

assignments; (iv) unlawfully weaponizing and changing their conclusions about performance-

related reviews, reviewers, and processes; and (v) effectively ceasing communication with Mr.

Cardwell and thereby depriving him of mentorship opportunities and all billable work (e.g.,

going from a range of 100-235 billable hours a month to effectively zero billable hours for four

consecutive months).

       2.      When Mr. Cardwell complained of this conduct, Defendants, among other things,

retaliated against him by: (i) threatening his employment and career; (ii) rigging workplace

systems, including falsifying Mr. Cardwell’s performance reviews and other inter-office

communications in order to distort the quality of Mr. Cardwell’s job performance and justify his




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firing; (iii) unlawfully weaponizing and changing its conclusions about performance-related

reviews, reviewers, and processes; and, ultimately, (iv) terminating Mr. Cardwell’s employment.

       3.      Mr. Cardwell filed a Charge of Discrimination with the United States Equal

Employment Opportunity Commission (“EEOC”) against Davis Polk on August 3, 2017 (“Mr.

Cardwell’s August 2017 EEOC Filing”). On August 6, 2019 the EEOC issued a Right to Sue

letter. On November 4, 2019, Mr. Cardwell filed a lawsuit in federal court in accordance with the

Right to Sue letter.

                                            PARTIES

Mr. Cardwell

       4.      Mr. Cardwell is an African American/Black (“Black”) male who at all relevant

times was an employee of Davis Polk. Mr. Cardwell worked as a summer associate at the Firm in

the summer of 2012 and as an associate at the Firm from September 2014 through August 2018.

During his time at the Firm, Mr. Cardwell worked in three corporate departments (also known as

“practice groups”): Credit (via a six-month rotation), Capital Markets (via a six-month rotation),

and Mergers & Acquisitions (“M&A”) (via a six-month rotation and later as an assigned

member). He worked as an assigned member of the Firm’s M&A group from April 2016 through

August 2018. Mr. Cardwell was the only Black male (and just one of four Black associates) hired

to join Davis Polk’s 2014 associate class of over 120 associates. Mr. Cardwell worked in Davis

Polk’s New York office at 450 Lexington Avenue, New York, NY 10017. Mr. Cardwell is a

resident of New York, New York.

       5.      Mr. Cardwell was a “1L Leadership Council on Legal Diversity (LCLD) Scholar”

in 2012 and is a life member of the NAACP, the National Bar Association, the Metropolitan

Black Bar Association (“MBBA”), the National Association of Black Journalists, and the


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African American Intellectual History Society. Mr. Cardwell is also a former co-chair of the

MBBA’s Civil Rights Committee and a former member of both the New York City Bar

Association’s (“New York City Bar”) Civil Rights Committee and its Diversity Pipeline

Initiatives Committee. Mr. Cardwell advised certain authors of the New York City Bar’s 2016

Law Firm Diversity Benchmarking Report and served on the steering committee for the New

York City Bar’s inaugural Associate Leadership Institute.

Defendants

       6.      The Firm is a limited liability partnership formed pursuant to the laws of the state

of New York, headquartered in New York City at 450 Lexington Avenue, New York, NY 10017,

and was, at all relevant times hereto, Mr. Cardwell’s employer. Davis Polk is a global law firm

with offices in ten cities across the world. Upon information and belief, in 2019, Davis Polk had

approximately 157 partners, 105 counsel, 632 associates, and 125 summer associates. According

to Chambers Associate, a widely trusted and respected legal publication, approximately 87% of

Davis Polk’s partners are White, 81% of Davis Polk’s partners are men, and less than 1% of

Davis Polk’s partners are Black. Davis Polk represents some of the largest companies in the

world, including, and as listed on the Firm’s website, Comcast, JPMorgan Chase, Baker Hughes,

and General Electric.

       7.      Defendant Thomas Reid (“Reid”) was, at all relevant times, a Corporate Partner,

Chair, and Managing Partner of Davis Polk, and a member of the Firm’s three-person

Management Committee.

       8.      Defendant John Bick (“Bick”) was, at all relevant times, a Corporate/M&A

Partner at Davis Polk. He was the head of Davis Polk’s global corporate practice and a member




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of the Firm’s three-person Management Committee from 2011 through April 2019. Mr. Bick was

the head of Davis Polk’s M&A group during Mr. Cardwell’s employment at the Firm.

       9.      Defendant Sophia Hudson (“Hudson”) was, at all relevant times, a Corporate

Partner at Davis Polk.

       10.     Defendant William Chudd (“Chudd”) was, at all relevant times, a

Corporate/M&A partner at Davis Polk.

       11.     Defendant Harold Birnbaum (“Birnbaum”) was, at all relevant times, a

Corporate/M&A Partner at Davis Polk and served as a M&A staffing partner at various times

during Mr. Cardwell’s tenure at Davis Polk. Specifically, Mr. Birnbaum was elected partner in

July 2016.

       12.     Defendant Daniel Brass (“Brass”) was, at all relevant times, a Corporate/M&A

associate or Partner at Davis Polk and served as a M&A staffing partner at various times during

Mr. Cardwell’s tenure at Davis Polk. Specifically, Mr. Brass was elected partner in July 2017.

       13.     Defendant Brian Wolfe (“Wolfe”) was, at all relevant times, a Corporate/M&A

Partner at Davis Polk and served as a M&A staffing partner at various times during Mr.

Cardwell’s tenure at Davis Polk. Specifically, Mr. Wolfe was elected partner in July 2015.

       14.     Defendant John Butler (“Butler”) was, at all relevant times, a Corporate/M&A

partner at Davis Polk.

                                JURISDICTION AND VENUE

       15.     The jurisdiction of this Court is invoked pursuant to 28 U.S.C §§ 1331 and

1343(a)(4), 29 U.S.C. §§ 621 et seq.; and the supplemental jurisdiction of this Court over state

and city claims is invoked under 28 U.S.C. § 1367(a).




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       16.       Mr. Cardwell has exhausted his administrative remedies and on August 6, 2019

received a Right to Sue letter from the EEOC. According to letters dated November 27, 2019,

December 11, 2019, and February 7, 2020, the New York State Division of Human Rights

(“NYSDHR”) issued a Dismissal for Administrative Convenience, noting in its final letter to the

parties’ counsels that the NYSDHR “declines to reopen the matter.”

       17.       Venue is proper within this District since the unlawful actions complained of

herein all occurred within this District.

                                  RELEVANT BACKGROUND

The Firm

       18.       Davis Polk first began to evaluate Mr. Cardwell’s abilities and motivation in the

Summer/Fall of 2012. At the time, Mr. Cardwell was a law student, and Davis Polk was

interviewing law students for the purposes of evaluating and hiring law students—first as interns

(also known as “summer associates”) for the Summer of 2013 and then as full-time associates for

its 2014 associate class. During the recruitment process, the Firm portrayed itself as it does on its

website, and touted the following:

             •   The Firm: “For more than 165 years, Davis Polk has ranked among the premier

                 law firms with practices that are world class across the board.”

             •   Pro Bono: “Pro bono work is a core responsibility of Davis Polk. We are

                 committed to serving the public good and providing legal services to those who

                 cannot otherwise obtain legal representation.”

             •   Diversity and Inclusion: “Davis Polk is a firm of well-rounded people who bring

                 a wide range of perspectives and backgrounds to our work, resulting in a strong

                 and inclusive culture, and more innovative solutions for our clients.”
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             •   Alumni: “Our alumni are a tremendous source of strength for the firm and are our

                 best brand ambassadors. We have a dynamic alumni network of over 3,000

                 lawyers who live and work in over 51 countries worldwide across all sectors of

                 business, government, law and academia.”

             •   History: “We have worked on many of the most significant business and legal

                 developments of the past 170 years….”

The quotations above are the very first sentences that appear on each of Davis Polk’s “Who We

Are” sub-sections.

       19.       Davis Polk’s self-described reputation and values, as noted above, are somewhat

consistent with how Davis Polk is perceived by the larger legal and business community. It is not

uncommon for Davis Polk to be ranked among the “top five” law firms in the world in multiple

practice group or law firm categories. For example, in 2013, an international law publication

noted that Davis Polk won “Americas law firm of the year at the annual IFLR Americas awards

ceremony…becoming the first to win the coveted award two years in a row.”

Mr. Cardwell – Among the Top Recruits in The Country

       20.       Mr. Cardwell attended UC Berkeley School of Law (“Berkeley Law”). During

the three years that Mr. Cardwell attended Berkeley Law, Berkeley Law was ranked in the “top

10” of U.S. law schools.

       21.       Prior to law school, as an undergraduate student-athlete at Lehigh University

(“Lehigh”), Mr. Cardwell was an exceptional student and recognized leader in his community.

At Lehigh, Mr. Cardwell received numerous undergraduate honors and awards and was

recognized as follows:




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  •   Awarded the Bosey Reiter Leadership Cup, an annual award where the criteria

      are defined chiefly in terms of moral character and “a just regard for the rights of

      others, together with the unflinching determination to succeed, no matter what

      obstacles and barriers have to be beaten down”;

  •   Awarded Scholar-Athlete of the Year, which is the Lehigh football program’s

      highest honor and is given to the student-athlete who best combines success in

      both academics and athletics;

  •   Awarded the Class of 1904 award, which is awarded based on character,

      scholarship, qualifications indicating promise of future leadership, and

      extracurricular activities;

  •   Nominated and a finalist for the Senior Male Leadership award, which is the

      top athletic department leadership award for a graduating male athlete who best

      represents the Lehigh traditions of leadership, character, athleticism, scholarship,

      service, sportsmanship, a team attitude and passion for sports;

  •   Awarded the Contribution to Student Life award, an award that recognizes

      Lehigh seniors who have significantly contributed to the improvement and quality

      of student life during their years at Lehigh;

  •   Awarded Lehigh’s Office of Multicultural Affairs “MVP” award as a junior

      and senior; and

  •   Voted Captain of Lehigh’s Division 1-AA football team in both his junior and

      senior years, becoming one of a handful of two-time football captains in the

      program’s 100-plus-year history.




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       22.     Mr. Cardwell’s exceptional academic and professional record continued after

undergrad and through law school. In 2011, Mr. Cardwell was one of about 78 students selected

from about 750 applicants to participate in the highly competitive Sponsors for Educational

Opportunity (“SEO”) Corporate Law Internship Program (“SEO Program”). As noted on their

website, the SEO Program starts the Summer before law school and gives “accepted law students

a paid internship at a top law firm, immersive mentorship and networking, and law school prep

and training.” SEO’s website also notes that “for 30 years, SEO…has served as a pipeline

linking talented pre-law students of color to elite global law firms.”

       23.     As a pre-law student in the SEO Program, Mr. Cardwell interned in the Summer

of 2011 at Fried, Frank, Harris, Shriver & Jacobson LLP (“Fried Frank”), an international law

firm that is headquartered in New York City and that employed, at the time, about 600 attorneys.

At the conclusion of Mr. Cardwell’s internship at Fried Frank, and prior to starting law school in

the Fall of 2011, Fried Frank evaluated Mr. Cardwell’s performance and ultimately asked Mr.

Cardwell to return the following Summer to join their 2012 summer associate law class.

       24.     In addition to the SEO Program, Berkeley Law also assessed Mr. Cardwell’s

abilities and motivation prior to his matriculation to law school in the Fall of 2011. In the Spring

of 2011, Berkeley Law selected Mr. Cardwell to receive a Berkeley Law Dean’s Fellowship

(“Berkeley Law Dean’s Fellowship”). At the time, Berkeley Law informed Mr. Cardwell that

“this prestigious award, based on your strong record of achievement and professional promise,

is provided to only a few entering students each year. The purpose of the Dean's Fellowship is to

support students showing outstanding leadership experience, significant potential for success,

and innovation in their approach to seeking the nexus between law, policy, and justice. In other




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words, Dean's Fellows are law students that we believe will bring new vision to the study of the

law, and will strive to transform that vision into action.”

       25.       Mr. Cardwell’s merit-based Berkeley Law Dean’s Fellowship provided a total of

$75,000 of support and was in addition to any need-based grant. Ultimately, Berkeley Law

offered Mr. Cardwell an additional $30,000 in merit-based scholarships to discourage Mr.

Cardwell from accepting similar scholarships that other top-ranked law schools had offered Mr.

Cardwell in the Spring of 2011.

       26.       Though some Black law students are characterized as benefiting from affirmative

action, at the time that Berkeley Law evaluated Mr. Cardwell’s law school application, Berkeley

Law was legally prohibited from using race-based affirmative action in their admission and

evaluation process. Mr. Cardwell, along with just a handful of students, was awarded the above

competitive, merit-based scholarship awards out of the 300-plus students who joined Berkeley

Law in the Fall of 2011.

       27.       Mr. Cardwell continued to demonstrate a distinguished record of academic

achievement and commitment to service and justice as a Berkeley Law student. By the time Mr.

Cardwell interviewed with Davis Polk in the Summer/Fall of 2012, Mr. Cardwell was:

             •   the Co-President of Berkeley Law’s Black Law Student Association;

             •   an editor and member of The Berkeley Journal of African-American Law &

                 Policy;

             •   a mock trial team member of Berkeley Law’s prestigious and highly selective

                 “Board of Advocates”;

             •   honored as 1 of 8 out of 40 participants to win an individual “Outstanding

                 Attorney” award in a Berkeley Law school-wide trial advocacy competition;

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             •   recognized as a 1L Leadership Council on Legal Diversity (LCLD) Scholar; and

             •   a volunteer teacher to incarcerated youths in California’s prison system.

       28.       Between the time that Mr. Cardwell interviewed with Davis Polk in 2012 and

graduated from Berkeley Law in May 2014, Mr. Cardwell had deepened his record of

accomplishment and commitment to service and justice, as evidenced by the fact that Mr.

Cardwell:

             •   worked as a research assistant to john a. powell, the director of the Othering and

                 Belonging Institute (formerly the Haas Institute for a Fair and Inclusive Society) and

                 the holder of the Robert D. Haas Chancellor’s Chair in Equity and Inclusion;

             •   finished as a semi-finalist in the American Association for Justice (AAJ) National

                 Student Trial Advocacy Competition;

             •   finished in the Top 10% (High Honors) and Top 40% (Honors) in several law

                 classes that included both corporate courses and civil rights courses; and

             •   received one of the highest grades in his legal ethics and professional

                 responsibility course due to an essay that Mr. Cardwell authored, which was

                 entitled “An Opportune Time to Engage Inclusion, Democracy, and...Race.”

The Firm Recruits Mr. Cardwell – They Know He’s Black

       29.       In the Fall semester of 2012, Mr. Cardwell participated in his law school’s on-

campus interviewing process. Davis Polk was one of several law firms that interviewed Mr.

Cardwell in the Fall semester of 2012.




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         30.      On or about August 6, 2012, Davis Polk interviewed Mr. Cardwell. During this

interview, Mr. Cardwell was interviewed by a Davis Polk Partner. 1 In connection with the

interview, the Firm received Mr. Cardwell’s transcript, resume, and writing sample.

         31.      On or about August 8, 2012, after reviewing Mr. Cardwell’s academic and

professional record, Davis Polk invited Mr. Cardwell to participate in a second round of

interviews at their New York City headquarters (“Mr. Cardwell’s Fall 2012 Second Round Davis

Polk Interview”). Mr. Cardwell accepted Davis Polk’s invitation and interviewed with the Firm

shortly after.

         32.      During Mr. Cardwell’s Fall 2012 Second Round Davis Polk Interview, the Firm’s

interviewers made it clear that they viewed Mr. Cardwell’s dedication to racial inclusion

positively. Relatedly, during Mr. Cardwell’s Fall 2012 Second Round Davis Polk Interview,

Davis Polk partner Maurice Blanco explicitly told Mr. Cardwell that Mr. Cardwell was the type

of candidate who would essentially have the country’s best law firms competing to hire him,

saying something to the effect of, “You’re clearly very talented. Someone like you will be able to

pick virtually any law firm he wants. Can you tell me why—out of all of the firms you could

work at—you’re interested in possibly working at Davis Polk?”

         33.      On or about August 22, 2012, Davis Polk offered Mr. Cardwell a spot in their

2013 summer associate class.

         34.      On or about August 28, 2012, Mr. Cardwell accepted the Firm’s offer to join their

2013 summer associate class on the condition that Mr. Cardwell be allowed to split and work

part of the 2013 Summer at another global law firm that was interested in hiring Mr. Cardwell.




1
 All descriptions and references to Davis Polk attorneys and staff refer to such persons and their status or title at the
Firm at the time the applicable events or interactions occurred.
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         35.   Throughout the Summer of 2013, Davis Polk repeatedly hinted that Mr. Cardwell

would receive a job offer to join the Firm upon graduation. Knowing that Mr. Cardwell had other

options, Davis Polk directly and indirectly checked-in with Mr. Cardwell throughout the Summer

to assess which firm Mr. Cardwell believed might be a better fit for his short and long-term legal

career and aspirations.

         36.   In the Summer of 2013, Davis Polk had between 125 and 140 partners and just

one Black partner.

         37.   Thus, when asked about his prospects, Mr. Cardwell pointed to the numbers, the

Firm’s 165-year history, and expressed concerns.

         38.   On multiple occasions in the Summer of 2013, Mr. Cardwell informed Davis Polk

that his prior law school and interning experiences, among other experiences, helped him

understand that appropriate staffing, feedback, training, and mentorship are critical to junior

associates’ skills, development, and future career opportunities. Within those same interactions,

Mr. Cardwell communicated that these dynamics were even more critical for Black junior

associates who work at law firms that have very few Black partners.

         39.   Davis Polk attempted to address Mr. Cardwell’s priorities and concerns by

explaining to Mr. Cardwell that though the Firm had struggled in the past to recruit and retain

Black law students and associates, the Firm had recently implemented and would continue to

implement policies and practices that would allow the Firm to monitor Black associates’

experiences and assignments to ensure Black associates would not “fall through the cracks” or

receive fewer or worse opportunities and training than their non-Black and/or non-Black male

peers.




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       40.     As part of the ongoing dialogue between Mr. Cardwell and Davis Polk about

challenges unique to or associated with Black associates, Davis Polk described a series of

deliberate steps they relied upon to address such challenges, including tracking how Black

associates were staffed, the types of assignments Black associates received, how many billable

hours Black associates were billing, the quality of the deals and cases that Black associates

worked on, and communicating with Black associates in real-time any relevant discrepancies and

concerns.

       41.     Also during the recruitment phase, Davis Polk attempted to address Mr.

Cardwell’s priorities and concerns by explaining to Mr. Cardwell that Davis Polk would assign

Black associates mentors and work with Black associates if Black associates appeared to be or

actually were behind their peers in terms of billable hours or quality of work. At the time, Davis

Polk made it clear to Mr. Cardwell that Davis Polk believed and understood that there were a

number of law firm dynamics (i) that were unrelated to Black associates’ work ethic or abilities

and (ii) that could cause Black associates to have fewer hours and less quality work assignments

than their law firm peers.

       42.     Additionally, Davis Polk explained to Mr. Cardwell that because Davis Polk hires

Black law students who are considered among the best in the country, the Firm would try to

prevent Black junior associates from thinking that they should leave Davis Polk early in their

careers for other seemingly better career opportunities.

       43.     On multiple occasions in the Summer of 2013, Davis Polk attempted to recruit

Mr. Cardwell by informing Mr. Cardwell that the Firm wanted Mr. Cardwell and other Davis

Polk minorities to use their knowledge and experiences on race-related issues to (i) strengthen




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the Firm’s commitment to racial justice and diversity and inclusion issues and (ii) take an active

role in recruiting additional Black and non-White law students and lawyers.

       44.       Davis Polk and various partners made no secret of the fact that they considered

Mr. Cardwell’s dedication to racial inclusion an additional benefit to his already robust

qualifications. Mr. Cardwell was assured that Davis Polk would be an environment in which his

social advocacy would be valued and that they envisioned him taking an active role in recruiting

additional minority associates.

       45.       From the time Mr. Cardwell first interviewed with Davis Polk, Mr. Cardwell

remained committed to racial inclusion and racial justice as a law student. During that time span,

Mr. Cardwell co-authored and/or contributed to the following Supreme Court briefs and articles:

             •   Co-authored “Homeownership, Wealth, and the Production of Racialized Space”

                 along with john a. powell (published by both the Harvard Joint Center for

                 Housing Studies and the Brookings Institution Press in the book “Homeownership

                 Built to Last: Balancing Access, Affordability, and Risk after the Housing

                 Crisis”);

             •   Assisted with underlying research used in an amicus Supreme Court brief of

                 housing scholars in support of the respondent in Texas Department of Housing &

                 Community Affairs v. Inclusive Communities Project, Inc., 135 S. Ct. 2507 (2015)

                 (a Supreme Court case that concluded that disparate-impact claims are cognizable

                 under the Fair Housing Act);

             •   Assisted with an amicus Supreme Court brief of housing scholars in support of

                 respondents in Township of Mount Holly, N.J. v. Mt. Holly Gardens Citizens in

                 Action Inc., 133 S. Ct. 2824 (2013);


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             •   Assisted with an article entitled “Fisher v. Texas: The Limits of Exhaustion and

                 the Future of Race-Conscious University Admissions” by john a. powell;

             •   Assisted with an article entitled “America's Struggle with Integration: The

                 Continued Struggle for Its Soul” by john a. powell;

             •   Assisted with an article entitled “Affirmative Action: Where Do We Go From

                 Here?” by john a. powell; and

             •   Assisted with an article entitled “What Constitutes a Racial Classification? Equal

                 Protection Doctrine Scrutinized” by Stephen Menendian.

       46.       At the conclusion of Mr. Cardwell’s Summer 2013 summer associate internships,

Mr. Cardwell received job offers from several of the world’s best law firms. Based in part on

Davis Polk’s strategic, persistent, and partially tailored recruitment of Mr. Cardwell, Mr.

Cardwell accepted the Firm’s full-time associate offer on or about October 4, 2013.

       47.       Mr. Cardwell graduated from Berkeley Law School in May 2014 and commenced

working at Davis Polk as an associate on September 15, 2014.

                                    STATEMENT OF FACTS

i. Being ignored, no problem. Being left out, no problem. Complain to the boss, problem.

       48.       As early as April 2014, Davis Polk had been notified of and accepted as fact that

it had or likely had a problem with bias and unconscious bias at the Firm, that such bias often or

likely impacted Black associates’ retention rates at Davis Polk, and that such bias often or likely

created discriminatory assessments for Davis Polk’s Black associates.

       49.       Part of the Firm’s response involved inviting Jerry Kang—a scholar on the nexus

between race, implicit bias, and the law and the current Vice Chancellor for Equity, Diversity

and Inclusion at The University of California, Los Angeles (UCLA)—to give a presentation at


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the Firm focused on how bias functions in law firms. Mr. Kang presented at Davis Polk in April

2014.

        50.     The Firm’s problem with bias and Black associates was further highlighted in a

June 2014 American Lawyer publication, wherein Davis Polk was publicly criticized for its poor

track record with promoting its Black lawyers. One article gave Davis Polk a chance to explain

their track record and noted that “Davis Polk managing partner Thomas Reid says that his firm

recruits aggressively for top black law graduates, only to see them leave the firm a few years

later for government or in­house positions.” 2

        51.     Consistent with the Firm’s recruitment of Mr. Cardwell—as well as the Firm’s

ongoing conversation about bias, diversity, and inclusion—Mr. Cardwell was encouraged to join

Davis Polk’s “Black Attorney Group” (or BAG as it is commonly called) and provide feedback

to the Firm with respect to these and related diversity and inclusion topics.

        52.     On March 6, 2015, Davis Polk’s “DPWomen Affinity Group” hosted a firm-wide

discussion—which Mr. Reid and Mr. Cardwell attended and participated in—on women and

discrimination in the workplace. As detailed in four essays that served as the basis of the

discussion (i.e., the New York Times series, “Women at Work” by Adam Gran and Sheryl

Sandberg), Mr. Reid and other participants explicitly talked about, among other things, (i) how

senior attorneys and partners at Davis Polk continue to favor men over equally qualified women

in performance evaluations; (ii) how Davis Polk senior associates and partners disproportionately

ask women to handle secretarial and less substantive aspects of cases and deals; (iii) how women

reasonably choose to “speak up” less, in part, because women are often unfairly and

disproportionately punished when they do speak up; and (iv) how Davis Polk disproportionately


2
 See Julie Triedman, Big Law is Losing The Race, THE AMERICAN LAWYER (June 2014), available at
https://www.americanlawyer-digital.com/americanlawyer-ipauth/201406ip?pg=46#pg46.
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asks women associates to recruit and mentor women associates and help with diversity

initiatives, and how such time commitments and contributions to the Firm are often

uncompensated and effectively penalized in performance reviews.

        53.      Davis Polk’s program explicitly discussed an article entitled, “When Talking

About Bias Backfires,” which noted that “new research suggests that if people are not careful,

making people aware of bias can backfire, leading them to discriminate more rather than less.”

        54.      Mr. Cardwell experienced a series of discriminatory interactions that mirrored

those analyzed at Davis Polk’s March 6, 2015 DPWomen Affinity Group discussion.

        55.      For example, in an email sent to an Executive Director at Davis Polk (“Davis

Polk’s Executive Director”) on May 8, 2015, Mr. Cardwell flagged a discriminatory “inter-

office,” personally-experienced pattern to Davis Polk’s Executive Director, a director who

worked closely with the Firm’s management committee and various other partner committees on

policy formulation in the areas of personnel, associate development, and firm management.

        56.      Mr. Cardwell’s email noted that interpersonal trainings that highlight the value of

associates speaking to unfamiliar faces and creating a welcoming environment would benefit

everyone. Specifically, Mr. Cardwell’s email described situations where Davis Polk attorneys

were not making eye contact with or speaking to summer associates and junior associates of

color in meetings.

        57.      This May 8, 2015 incident is the first time that Mr. Cardwell actively flagged

personally experienced discrimination and actively sought help from Davis Polk and persons

with sufficient authority to address it. 3


3
 According to the Firm’s “Lawyers Handbook,” which serves as the Firm’s official resource that describes the
Firm’s policies and procedures, “The Firm strongly recommends the prompt reporting of all perceived incidents of
discriminatory behavior or harassment on the basis of…race, color…or any other basis prohibited by federal, state

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         58.      In response, Davis Polk’s Executive Director minimized the issue to the “social

awkwardness” of attorneys, said that “unfortunately that happens to everyone,” recognized that

Mr. Cardwell was possibly describing interactions that he had, and ultimately shifted the burden

to Mr. Cardwell by telling him, “Hopefully if this happened to you, you showed them how to

live in polite society(!) and introduced yourself.”

         59.      Based on the wording of the email and context, Davis Polk’s Executive Director

recognized that Mr. Cardwell was indeed or possibly describing racial interactions that

“happened to [Mr. Cardwell].” Davis Polk’s Executive Director knew or should have known Mr.

Cardwell was cautiously describing personally experienced interactions, in part, because of the

nature in which Black Davis Polk associates typically reached out to Davis Polk’s Executive

Director. Davis Polk’s Executive Director was experienced enough—and had participated in

enough bias-related trainings and conversations at the Firm—to know that there are many

reasons why a Black associate, let alone a first-year Black associate, might not be more explicit

about bias and discrimination in an email. Further, Davis Polk’s Executive Director’s response

was wholly disconnected from Mr. Cardwell’s raised concern for an additional reason: the

wording of Mr. Cardwell’s email made it clear that Mr. Cardwell was not describing something

that “happens to everyone.” Davis Polk’s Executive Director never inquired about or brought the

incident up again with Mr. Cardwell.

         60.      Davis Polk’s Executive Director’s response was inconsistent with how Davis

Polk’s Executive Director would have responded if Mr. Cardwell were a woman who had




or local law, regardless of the offender’s identity or position. Lawyers who believe they have been subjected to such
prohibited conduct or who believe that they have witnessed such prohibited conduct or any other behavior should
discuss their concerns immediately with[] [Davis Polk’s Executive Director]…the practice group coordinator or
head of their office…or any member of the Firm’s Management Committee…. The Firm recognizes…that it is not
necessary for an individual to talk directly to an offender if that individual feels uncomfortable doing so.”
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similarly hinted that men at the Firm were not speaking or making eye contact with her and other

women.

       61.     While Davis Polk’s Executive Director’s excuse—that is, some attorneys lack

manners—and dismissal of Mr. Cardwell’s complaint can seem reasonable in isolation,

Defendants’ conduct toward Mr. Cardwell continued to escalate.

       62.     Throughout his employment at the Firm, Mr. Cardwell suffered through a series

of discriminatory interactions that were motivated by his race and resulted in exclusion from

opportunities that are vital to a young attorney’s professional development and career.

       63.     While Mr. Cardwell was working in Davis Polk’s M&A group, on multiple

occasions, Mr. Cardwell was left off email communications and meeting invitations (i) that were

circulated to all attorneys working on the same deal or (ii) that should have included Mr.

Cardwell.

       64.     On one occasion, Mr. Cardwell became aware of this type of disparate treatment

when he spontaneously walked into the office of a White M&A associate (of Mr. Cardwell’s

same class year) who was working on the same deal as Mr. Cardwell. Mr. Cardwell noticed the

associate was invited to and listening in on a conference call with high-level clients and senior

attorneys for the exclusive purpose of listening and learning. The associate explained that she

was only on the call for the purposes of listening. The associate apologized that Mr. Cardwell

was not informed about the conference call and made it clear that she did not understand why

Mr. Cardwell didn’t receive an email or invitation to join the call. As a result of this experience,

Mr. Cardwell asked the associate to forward all emails or meeting invitations to Mr. Cardwell if

she thought Mr. Cardwell was excluded when he should have been included. Without hesitation,




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the associate agreed and, for the rest of 2015, periodically forwarded emails to Mr. Cardwell that

Mr. Cardwell should have received from White senior M&A associates.

       65.     In September 2015, Mr. Cardwell became a second-year associate.

       66.     In September 2015, the Firm’s Black Attorney Group was having conversations

with the Firm about how Davis Polk could improve its diversity and inclusion practices and

outcomes. In preparation for a meeting between the Firm’s Black associates and the Firm’s

Diversity Committee, the Firm’s Black Attorney Group sent the Firm’s Diversity Committee the

following questions and statements, which were prepared for the purpose of discussing them

with both the Firm’s Diversity Committee and Mr. Reid in separate meetings:

               a. “How can we strengthen the relationship between the Diversity Committee

                  and the affinity groups? What are some of the Diversity Committee’s action

                  items for this recruiting season/next year?”

               b. “I would be interested in hearing about the diversity consultant that the firm is

                  considering bringing in to talk to the partners.”

               c. “What is the Diversity Committee’s opinion as to where the biggest need is

                  with respect to diversity at the firm (i.e., recruiting, retention, something

                  else)?”

               d. “Do you have a sense what our peer firms are doing with respect to diversity

                  initiatives?”

               e. “How can we further engage non-diverse lawyers in the discussion about

                  diversity at the firm?”

       67.     In September 2015, the Firm’s Diversity Committee and the Firm’s Black

Attorney Group met to discuss the questions above and other issues related to diversity and


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inclusion. Partners serving on the Firm’s Diversity Committee, and the Firm’s Director of

Associate Development (“Davis Polk’s Director of Associate Development”), attended the

meeting. Many Black Davis Polk attorneys were also in attendance. During this meeting, Mr.

Cardwell participated in a conversation about the general issue of Black Davis Polk attorneys

being excluded from staffing-related opportunities at the Firm and was careful not to mention

any information that could be connected to any specific attorneys at the Firm. After Mr.

Cardwell flagged the issue before the aforementioned partners and Davis Polk’s Director of

Associate Development, Mr. Cardwell was directly asked whether he had personally experienced

exclusion and disparate treatment related to his race at the Firm (which is evidence that the

Firm’s leaders understood Mr. Cardwell had made a discrimination complaint). Mr. Cardwell

answered affirmatively and unequivocally. In the verbal exchange that followed, Mr. Cardwell

explicitly stated that he wasn’t just talking about the feeling of being excluded, but rather that the

type of exclusion and disparate treatment he referred to was and is harmful to his and other Black

associates’ professional development and careers because the disparate treatment relates to fewer

and different staffing-related opportunities.

       68.     This September 2015 incident was the second time that Mr. Cardwell actively

flagged personally experienced discrimination and actively sought help from Davis Polk and

persons with sufficient authority to address it.

       69.     Neither the Director of Associate Development nor any of Davis Polk’s partners

in attendance followed-up with Mr. Cardwell about his comments or his (or others’) experience.

       70.     On or about December 1, 2015, Mr. Reid was a featured speaker at an hour and a

half long New York City Bar event. The event mainly focused on what leaders in the legal

profession can do to improve attorneys’ happiness and development. Most of the event’s


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discussion was about diversity and included what appeared to be over 100 audience members in

attendance. Mr. Cardwell and a senior Black associate were in attendance, a fact that Mr. Reid

highlighted for the entire audience by introducing Mr. Cardwell and the senior Black associate

by name and referring to both as two of Davis Polk’s rising/shining stars. Upon information and

belief, Ms. Hudson and Davis Polk’s Executive Director were also in attendance. Here’s how

Bloomberg BNA, a source for business and legal information, summarized the event and Mr.

Reid’s involvement in an article entitled “Law Firms Lose Talent In-House Because of Diversity,

GC says”:

            “At one point, a plaintiffs attorney in the audience, Jeanne Christensen of

            Wigdor [i.e., one of the leading employment-discrimination law firms in

            the country], posed a question to Reid, asking how his law firm supports

            diverse and female attorneys so they can climb the ranks.



            Reid acknowledged that ‘the statistics are not impressive at all, clearly,’

            but said he makes a point to look at firm diversity in meetings with

            practice leaders three times a year as they ‘talk about how work at the

            firm is getting allocated.’



            ‘That’s the foundation,’ said Reid. ‘And on top of that we have a

            formalized mentoring program. It doesn’t match up people who are alike.’

            He said that at the end of the day, achieving diversity ‘comes from an

            attitude of (leaders) caring and a desire to be engaged in everyone’s




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             career.’ Reid added that firm leaders need to be ‘connected’ with their

             younger attorneys….” (emphasis added).

       71.      In other words, Davis Polk’s “foundation” for ensuring that Black associates

(among others) climbed the ranks at Davis Polk involved Firm-created and monitored

mechanisms that the Firm’s leaders used to prevent and mitigate bias in work allocation,

mentorship, decisions related to assessing how and why certain non-White associates are

progressing and advancing relative to their class’s peers, and partners’ engagement with junior

attorneys.

       72.      At the conclusion of the event, Mr. Reid approached the senior Black associate

and Mr. Cardwell and invited them to dinner. The dinner was ultimately scheduled for January

21, 2016.

       73.      Both the senior Black associate and Mr. Cardwell realized that the dinner would

be a good opportunity to ensure that Mr. Reid was informed about their individual (as well as

other Black associates’) goals and concerns. Both the senior Black associate and Mr. Cardwell

understood how rare it was for associates, especially Black Davis Polk associates, to have a few

uninterrupted hours of conversation with the Managing Partner of Davis Polk.

       74.      On January 21, 2016, Mr. Reid, the senior Black associate, and Mr. Cardwell had

dinner together at a restaurant. During dinner, Mr. Reid indicated that he had, as a matter of

habit, reviewed the senior Black associate’s and Mr. Cardwell’s file and performance reviews

prior to their meeting over dinner. The conversation naturally transitioned to two related

discussion points, namely (i) the other associate’s and Mr. Cardwell’s performance at the Firm

and (ii) the Firm’s diversity and inclusion issues.




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           75.      On the first discussion point, Mr. Reid made it clear that he was familiar with Mr.

Cardwell’s evaluations and the M&A group’s conclusions about Mr. Cardwell’s performance.

Mr. Reid gave Mr. Cardwell a verbatim description of the same conclusion that Mr. Chudd had

communicated to Mr. Cardwell in December 2015, telling Mr. Cardwell to “do a better job of

setting people’s expectations for how long it will take to do something.” 4 Based on the frankness

of the entire conversation, there is no doubt that Mr. Reid would have told Mr. Cardwell that Mr.

Cardwell was behind in his class or performing below the Firm’s standards and expectations if

either Mr. Cardwell’s reviews indicated such a thing or if the M&A group’s leaders had reached

such conclusions at the time. Both Mr. Cardwell and the other associate in attendance left the

meeting having no doubt that, based on Mr. Reid’s assessment of and conclusions about how Mr.

Cardwell was performing at the Firm, that Mr. Cardwell was not only qualified to be a Davis

Polk associate, but that Mr. Cardwell was performing satisfactorily according to the Firm’s and

M&A group’s typical standards and expectations.

           76.      On the second discussion point, Mr. Cardwell spent a significant amount of time

educating Mr. Reid on how he had experienced interpersonal and institutional discrimination at

the Firm.

           77.      Mr. Cardwell spoke at length about implicit bias both conceptually and in relation

to the race-based discrimination he himself had experienced during his time at the Firm. During

the conversation Mr. Cardwell also inquired about how the Firm insulated assessments and

conclusions about performance reviews from the effects of bias and whether there were

mechanisms in place to ensure that feedback was reviewed between the reviewing attorney and

the associate who received it.



4
    Mr. Reid’s advice for the senior associate? “Be more confident.”
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       78.     In response to such questions about written reviews and whether anyone was

reviewing them for accuracy and potential bias, Mr. Reid mentioned two noteworthy Firm-wide

interventions and remedies. The first was that he and the Firm were waiting to evaluate a certain

diversity and inclusion consultant before “moving forward with a plan.”

       79.     The second Firm-wide bias-mitigation mechanism related to the Firm and practice

group leaders having a process for accounting for various patterns and inconsistencies that

appear in reviewing attorneys’ written reviews, and that such leaders understand they must

evaluate and communicate conclusions about the substance of written reviews to reviewee

attorneys with certain bias-related patterns analyzed and removed from final, Firm- and practice

group-accepted assessments and conclusions. In other words, Mr. Reid acknowledged that the

Firm and practice group leaders do not automatically accept every assessment or criticism of an

associate as accurate, free of bias, or the Firm’s (or applicable practice group’s) determination or

conclusion about such associate’s overall performance or contribution.

       80.     Regarding issues of bias, Mr. Reid also explained there are a significant number

of Davis Polk partners who hold seemingly contradictory views at the Firm. That is, according to

Mr. Reid’s remarks, many Davis Polk partners (i) believe that existing research confirms Black

and other minority attorney groups experience bias in the workplace and at Davis Polk while

they also (ii) believe that they themselves are fair and would never act with bias against attorneys

from those groups. In other words, according to Mr. Reid, Davis Polk’s partners apparently and

conveniently maintained that race-related biased interactions and decisions exist—just not with




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themselves or any Davis Polk partners they work with. By this statement Defendant Reid

directly acknowledged the prevalence of implicit bias within the Firm. 5

        81.      This January 21, 2016 incident was the third time that Mr. Cardwell actively

flagged personally experienced discrimination and actively sought help from Davis Polk and

persons with sufficient authority to address it.

        82.      Mr. Cardwell had responsibly escalated his complaints from Davis Polk’s

Executive Director, then to Davis Polk’s Diversity Committee (which included partners and the

Firm’s senior management), and finally to Davis Polk’s Managing Partner, Mr. Reid, the person

with the ultimate authority and obligation to investigate Mr. Cardwell’s claims. Notwithstanding

Mr. Reid’s empathetic statements, nothing improved. To the contrary, following the dinner with

Mr. Reid, things changed for Mr. Cardwell in a distinctively negative manner.

ii. Mr. Cardwell is complaining about racism. Kindly show him the way out.

        83.      Instead of conducting meaningful inquiries into the discriminatory activity

highlighted by Mr. Cardwell, Defendants began, at various stages, a year-long process to deprive

Mr. Cardwell of work, distort assessments and conclusions related to the quality of Mr.

Cardwell’s performance, and obstruct his professional advancement in hopes that he would

voluntarily leave the Firm.

        From “No Basis” to Review to Deceptive Reviews and No Deals.


5
 Mr. Reid’s admissions were consistent with the fact that Mr. Reid and the Firm’s other leaders and partners were
aware that credible research had confirmed that even when supervising attorneys in law firms review and rate the
same exact hypothetical memo, supervising attorneys often rate the memo “higher” when the supervising attorney
knows or believes the memo was written by a White attorney (in comparison to a Black attorney). For example,
according to one widely discussed study, the supervising attorney reviewed and rated the same memo an average of
3.2/5.0 for a hypothetical “African American Thomas Meyer” and a 4.1/50 for a hypothetical “Caucasian Thomas
Meyer.” In the same study, the “qualitative comments on memos”—despite the memos being exactly the same—
“were also more positive” for the study’s “Caucasian Thomas Meyer” than the study’s “African American Thomas
Meyer.” See Dr. Arin N. Reeves, Written in Black & White: Exploring Confirmation Bias in Racialized Perceptions
of Writing Skills, Nextions (April 2014), available at https://nextions.com/portfolio-posts/written-in-black-and-
white-yellow-paper-series/.
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        84.      According to a written performance review 6,7 that appears to have been

retroactively created after Mr. Cardwell engaged litigation, Mr. Chudd purportedly stated in

September 2015 that he had “limited” contact with Mr. Cardwell, while providing the following

answers to the following questions in the same review:

                 a. Question: “Overall, do you feel like this lawyer is performing materially

                     behind, with or ahead of the lawyer’s class”?

                          i. Answer: “No Basis”

                 b. Question: “Potential for growth and versatility”?

                          i. Answer: “No basis”

                 c. Question: “Ability to analyze legal issues”?

                          i. Answer: “No basis”

                 d. Question: “Knowledge of relevant substantive law”?

                          i. Answer: “No basis”

                 e. Question: “Understanding of accounting issues and ability to work with

                     quantitative concepts”?

                          i. Answer: “No basis”

                 f. Question: “Understanding of the overall business context (including the

                     relationship between the business problems and legal issues presented)”?

                          i. Answer: “No basis”

                 g. Question: “Presentation skills”?


6
  As will be further explained in this Complaint and legal action, at no point during Mr. Cardwell’s time at Davis
Polk did the Firm allow Mr. Cardwell to see or review the written performance reviews that attorneys had completed
and submitted to the Firm. Every reference to Mr. Cardwell’s written performance reviews in this Complaint relates
to documentation that Mr. Cardwell only became aware of after Mr. Cardwell engaged in litigation with Davis Polk
and after the NYSDHR or Davis Polk shared documents that were a part of the Firm’s NYSDHR response.
7
  The reviews that Davis Polk submitted have material inconsistencies and untruths described in them, such reviews
often note the wrong date that the applicable face-to-face review occurred on.
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             i. Answer: “No basis”

      h. Question: “Negotiation skills”?

             i. Answer: “No basis”

      i. Question: “Working hard”?

             i. Answer: “No basis”

      j. Question: “Being thorough, well organized and efficient”?

             i. Answer: “No basis”

      k. Question: “Deal management skills”?

             i. Answer: “No basis”

      l. Question: “Ability to handle multiple matters simultaneously”?

             i. Answer: “No basis”

      m. Question: “Willingness to volunteer and pitch-in wherever necessary (take on

         new work, review standard forms, help with recruiting, etc.)”?

             i. Answer: “No basis”

      n. Question: “Self-confidence/maturity”?

             i. Answer: “No basis”

      o. Question: “Judgment and common sense”?

             i. Answer: “No basis”

      p. Question: “Delegation, management, training and supervision of junior

         lawyers”?

             i. Answer: “No basis”

      q. Question: “Standing with peers, junior lawyers and staff”?

             i. Answer: “No basis”


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               r. Question: “Client management skills (including responsiveness to client

                  needs)”?

                       i. Answer: “No basis”

               s. Question: “Focus on client development (including being proactive in

                  developing relationships with individuals at the client and in identifying

                  business opportunities and effectiveness in business pitches)”

                       i. Answer: “No basis”

       85.     Here, Mr. Chudd’s September 2015 performance review is evidence of the fact

that Mr. Chudd went out of his way to not document positive conclusions about Mr. Cardwell’s

performance and interactions at the Firm. Mr. Chudd’s “no basis” responses were at odds with (i)

Mr. Chudd’s interactions with Mr. Cardwell at the time; (ii) the 20-plus years of legal experience

that gave Mr. Chudd the ability to answer some if not all of the questions above; (iii) how Mr.

Chudd and other Firm partners typically complete and reach conclusions about performance

reviews; and (iv) what should have been an honest and unbiased effort to properly document

feedback for a recent law-school-graduate-turned-attorney.

       86.     On the other hand, in Mr. Chudd’s purported September 2015 performance

review, Mr. Chudd went out of his way to suggest that the Firm should consider an unofficial

assessment of an associate that Mr. Chudd knew or should have known was connected to the

racial complaints Mr. Cardwell made to the Firm’s Diversity Committee. Stated differently, Mr.

Reid, Mr. Bick, Mr. Chudd, and Davis Polk weaponized Mr. Chudd’s performance reviews,




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making Mr. Chudd’s reviews one of the first “plays” in Defendants’ dishonest and

discriminatory “playbook.” 8

         87.      As further explained below, 9 even if Mr. Chudd’s review was not retroactively

created after Mr. Cardwell raised racial complaints or engaged in litigation against Defendants,

the pretextual nature of Defendants’ attempts to unlawfully weaponize Mr. Chudd’s reviews is

made apparent when one considers that Davis Polk and Mr. Chudd shifted their conclusions

about Mr. Chudd’s review in response to Mr. Cardwell’s racial complaints and the possibility of

litigation.

         First Annual Face-to-Face Performance Review.

         88.      In December 2015, Mr. Chudd gave Mr. Cardwell his first annual face-to-face

review 10 at the Firm. The 2015 annual review lasted a few minutes, as Mr. Chudd briefly gave

positive feedback and then briefly gave two suggestions. For the first suggestion, Mr. Chudd told

Mr. Cardwell to “work on better setting expectations regarding how long it will take to do

something.” The second suggestion was a bit more cryptic and went something along the lines

of, “Don’t spend too much time thinking about the bigger picture.”

         89.      In response to Mr. Chudd’s first suggestion, Mr. Cardwell responded during the

face-to-face review by mentioning that he was a bit surprised by the feedback because it didn’t

match his habits or any feedback that had been communicated directly to him. Mr. Cardwell,



8
  For additional context, Davis Polk attempted to retroactively leverage Mr. Chudd’s “no basis” review to essentially
argue in Davis Polk’s NYSDHR Answer and Position Statement that Mr. Cardwell lacked positive performance-
related assessments early in his career.
9
  Note the chart in this Complaint that compares statements made by Davis Polk and certain defendants—statements
and conclusions that Defendants made before and after Mr. Cardwell raised racial complaints and commenced
litigation.
10
   This Complaint generally describes written performance reviews that the applicable reviewing attorneys
completed and submitted to the Firm as a “written performance review” or “performance review.” Meetings in
which an associate met face-to-face with a partner to discuss the written performance reviews that were collected for
such an associate are generally described in this Complaint as “face-to-face reviews.”
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however, indicated that he was open to constructive feedback and would work on better setting

expectations for three primary reasons. First, based on his experiences and interactions at Davis

Polk, Mr. Cardwell knew that such feedback was not uncommon for partners and senior

associates to communicate to junior or mid-level Davis Polk associates. Second, Mr. Cardwell

appropriately understood that the process of transitioning from law student to lawyer involved

various learning processes and that such transitions and evolutions normally occur over a series

of years and experiences. And third, Mr. Cardwell knew that the Firm knew that it routinely

asked or expected Mr. Cardwell to commit to other Firm-related obligations that created

additional time constraints and responsibilities for Mr. Cardwell, namely those related to

recruiting (non-White law students) and the Firm’s summer program.

       90.     At the end of the meeting, Mr. Cardwell asked Mr. Chudd if he had any advice on

how to get supervising attorneys to provide real-time feedback so that he could better account for

attorneys’ personal preferences. Mr. Cardwell asked about real-time feedback in his very first

annual face-to-face review, in part, because Mr. Cardwell had already experienced certain bias-

related interactions that he believed might impact his assessments and written performance

reviews and because it quickly became apparent to Mr. Cardwell that the December 2015 face-

to-face review was going to be like the first face-to-face review and not last very long. Mr.

Chudd remarked something along the lines of, “The face-to-face reviews aren’t that extensive at

this stage because there often isn’t that much to tell junior associates within their first couple of

years at the Firm.”




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        91.      Mr. Chudd also acknowledged that it could be difficult to get real-time feedback

from senior attorneys and encouraged Mr. Cardwell to continue trying to get such feedback. 11

        92.      Mr. Cardwell did not question Mr. Chudd’s second suggestion during the

interview.

        93.      Ultimately, Mr. Chudd had made it clear with both his comments and tone during

the review that Mr. Cardwell was not only qualified to be a Davis Polk associate, but that Mr.

Cardwell was performing satisfactorily according to the Firm’s and M&A group’s typical

standards and expectations. Further, at no point during the meeting did Mr. Chudd state or

suggest that Mr. Cardwell was under any kind of performance-related probation period or that

the Firm or M&A group was going to or was contemplating giving Mr. Cardwell another review

in six months to further assess his standing or performance.

        94.      Mr. Cardwell had a habit of discussing his meetings and interactions with Davis

Polk partners, including his face-to-face reviews, with both Davis Polk associates and non-Firm

associates shortly after such meetings and interactions. Accordingly, after his meeting with Mr.

Chudd, Mr. Cardwell immediately discussed his face-to-face review with a few Davis Polk

associates. In those conversations, Mr. Cardwell stated that he was a bit frustrated with the

vague, unsupported reference to setting expectations and was confused and uncomfortable about

the second point. Both Mr. Cardwell and the Davis Polk associates with whom he spoke with

noted that Mr. Chudd’s suggestion to not “spend too much time thinking about the bigger

picture” was odd and inconsistent with how senior attorneys typically want junior associates to

spend more time trying to figure out the bigger picture on deals and cases. Mr. Cardwell and the



11
  Both Mr. Cardwell’s comments and questions and Mr. Chudd’s responses made it clear that both of Mr. Cardwell
and Mr. Chudd understood that there was a meaningful difference between real-time feedback and a face-to-face
review and that Mr. Cardwell was seeking the former.
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referenced Davis Polk associates discussed whether Mr. Chudd would have or ever had made a

similar comment to White junior associates.

       95.     Upon information and belief, sometime between February 2016 and June 2016, a

senior non-White associate overheard a Davis Polk capital markets attorney refer to Mr.

Cardwell in racially biased way. Upon information and belief, the capital markets attorney’s

comments were made to or in the presence of Mr. Reid. Upon information and belief, the senior

non-White associate heard the comment as well and was so taken aback that such associate

immediately told Mr. Reid something along the lines of, “If Mr. Cardwell were a White

associate, we both know that you would let Mr. Cardwell know about this incident.” Upon

information and belief, Mr. Reid acknowledged and understood the senior non-White associate’s

concern and told such associate that he would personally follow-up with Mr. Cardwell. Upon

information and belief, the senior non-White associate emailed Mr. Reid the next day and

reminded him to follow-up with Mr. Cardwell. Upon information and belief, Mr. Reid responded

to that email and again promised to personally follow-up with Mr. Cardwell. Neither Mr. Reid

nor any Davis Polk partner or staff member has ever mentioned this incident to Mr. Cardwell.

       A Sham Review Designed to Evade Firm Policies and the Law.

       96.     On June 14, 2016, a non-White junior M&A associate sent Mr. Cardwell

feedback on a memo that she and Mr. Cardwell were working on for (and had submitted to) Mr.

Bick. In that email, the associate stated: “Thank you for all the detailed feedback and the

wonderful tips! Wow, it looks quite impressive with your section added! (I saw that you made

some edits for my portion in this final version—thank you for catching them all, and I promise I

will work harder to identify these edits next time so that you don’t have to spend so much time




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correcting my portion.) I look forward to the next phase of this project! Thanks so much, [Mr.

Cardwell]!” (emphasis added).

         97.      On June 30, 2016, Mr. Bick sent Mr. Cardwell an email that stated, “Let me know

when you have a spare moment to discuss another research assignment re: [REDACTED].” “The

research assignment” in Mr. Bick’s email referred to the same matter that involved the memo

referenced in the prior paragraph.

         98.      When Mr. Cardwell arrived at Mr. Bick’s office, Mr. Bick spent just a few

minutes describing the additional research assignment and then abruptly pulled out and opened a

folder while stating, “I know you asked for feedback, so I figured I’d take a few minutes to go

through your reviews.”

         99.      Mr. Cardwell immediately became concerned because he had not requested a

performance review or non-real time feedback from anyone at the Firm and because, at this stage

in Mr. Cardwell’s career, Mr. Cardwell had no knowledge that anyone at Davis Polk received

this type of unannounced, mid-year face-to-face “review.”

         100.     Moreover, as noted above and is evident from Mr. Bick’s own email, Mr.

Cardwell went to Mr. Bick’s office because Mr. Bick claimed he wanted to “discuss another

research assignment.” Unlike Mr. Cardwell’s official prior face-to-face reviews, 12 Mr. Cardwell

never received an email calendar invite or any type of advanced notice from Mr. Bick or anyone

else that such a “review” would or could take place. 13 Mr. Bick departed from the Firm’s normal




12
   As a technical matter, Mr. Cardwell’s first face-to-face review occurred in May 2015, as Davis Polk conducts an
“interim review” for all first-year associates during their first six months at the Firm.
13
   Tellingly, and in an attempt to mask his discriminatory intent and actions and the unusual nature of Mr. Bick
giving Mr. Cardwell the face-to-face review at the time, Mr. Bick submitted documentation to the NYSDHR that
stated, “[Mr. Cardwell] had asked for mid-year feedback on his work, and this review is in response to that request.”
For the sake of clarity, where this Complaint references documentation that Davis Polk sent to the NYSDHR, such
documentation was submitted while Mr. Cardwell was employed at Davis Polk.
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review process, lied about how the review came about, and did not give Mr. Cardwell any

advanced notice that a face-to-face review would be conducted.

        101.    Consistent with Mr. Cardwell’s real-time concerns that Mr. Bick was conducting

a sham face-to-face review, Mr. Bick had suggested assessments about aspects of Mr. Cardwell’s

performance that, up to that point in Mr. Cardwell’s tenure, were a wild departure from anything

that had ever been communicated to Mr. Cardwell.

        102.    Mr. Bick stated that, “It’s been noted on a few occasions that you have a pattern

of missing deadlines.” Mr. Cardwell responded by saying “That feedback is extremely surprising.

I’m sitting here wracking my brain and I’m struggling to think of any deadlines that I’ve missed,

and I can’t think of any. I haven’t missed any deadlines. Can you provide examples of

‘deadlines’ that I missed?”

        103.    Mr. Bick replied: “Well, don’t think of it as deadlines” and proceeded to discuss

general timing critiques that where phrased so vaguely that no associate would have been able to

assess, verify, or dispute.

        104.    Mr. Bick’s response only created more concern because it was deeply inconsistent

with the typical written and spoken precision practiced by Mr. Bick and other Davis Polk M&A

partners, as well as the amount of pre-planning that Davis Polk M&A partners typically engage

in prior to giving an associate a face-to-face review.

        105.    Mr. Cardwell informed Mr. Bick that Mr. Bick’s feedback was inconsistent with

what had been communicated to Mr. Cardwell and that such feedback had never been

communicated orally or in writing to Mr. Cardwell prior to their conversation. Mr. Cardwell

pressed Mr. Bick for additional information, including to be provided with any specific examples




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that served as the basis of such critiques, but Mr. Bick was unable to provide Mr. Cardwell with

any specific examples.

       106.    Mr. Cardwell thought Mr. Bick’s inability to provide examples was alarming

because Mr. Bick had critiqued Mr. Cardwell while pretending to be holding and reading

performance reviews that were supposedly submitted and a part of Mr. Cardwell’s file. Mr.

Cardwell asked Mr. Bick if Mr. Bick could go back to the reviewers and try to learn what the

reviewers could possibly be referring to. Mr. Bick indicated that he would but never followed up

with Mr. Cardwell or subsequently provided Mr. Cardwell with any specific examples.

       107.    Immediately after the meeting, Mr. Cardwell contacted a senior Davis Polk

associate and informed that associate that Mr. Bick just conducted a surprise face-to-face review

and opened the discussion with a blatant lie (i.e., that Mr. Bick was giving the face-to-face

review in response to a request by Mr. Cardwell). Thereafter, they discussed whether Mr. Bick’s

actions were part of other racialized patterns at Davis Polk.

       108.    The senior Davis Polk associate was immediately and similarly concerned and

upset (i) that a partner or group of partners at Davis Polk made the conscious decision to not give

Mr. Cardwell feedback informally but through a process that would become a part of his official

record, (ii) that no one from Davis Polk provided any advance notice about the face-to-face

review, and (iii) that it was highly unlikely that Mr. Bick, a Davis Polk partner with vast

leadership experience at the Firm, coincidentally or carelessly used the words “missed

deadlines.” Mr. Bick’s immediate retraction of the words “missed deadlines,” when questioned,

fueled further suspicion with the senior Davis Polk associate, as it is commonly known among

Davis Polk associates that Davis Polk partners meet before giving associates face-to-face reviews




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to discuss what should be said during an associate’s face-to-face review and how such feedback

should be communicated.

       109.    After Mr. Bick met with Mr. Cardwell on June 30, 2016 under the false pretenses

of assigning Mr. Cardwell “another research assignment,” Mr. Bick did not respond to Mr.

Cardwell’s follow-up emails regarding the assignment itself. On July 19, 2016, Mr. Cardwell

emailed Mr. Bick a 15-page research memo that Mr. Bick had requested on June 30, 2016. Mr.

Bick never responded to Mr. Cardwell’s email.

       110.    On July 26, 2016, Mr. Cardwell sent another follow-up email to Mr. Bick about

the 15-page memo. Once again, Mr. Bick never replied to Mr. Cardwell’s email and never

mentioned the “assignment” to Mr. Cardwell again. During the same time period, Mr. Bick,

whose office was just two doors down the hall from Mr. Cardwell’s, would often walk by Mr.

Cardwell in the hallways without any physical or verbal acknowledgment that Mr. Cardwell was

also in the hallways. Mr. Bick did not email Mr. Cardwell any emails (i.e., where Mr. Cardwell

was listed in the “to” or “cc” line in the email) between July 15, 2016 and May 3, 2017—a time

period that spans roughly 307 days.

       Mr. Cardwell’s Experience Was Not A Function of His Written Reviews.

       111.    Davis Polk and other law firms rely on a formal system of written performance

reviews in order to evaluate and document various assessments and conclusions about the quality

of attorneys’ work product, principal matters worked on, strengths and weaknesses,

improvements, special recognitions earned (i.e., other contributions to the firm), and

development priorities for the next year, among other things.

       112.    On an annual basis, at Davis Polk, the process for creating and collecting

performance reviews is done through a formal, systematic process that involves the Firm asking


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associates and partners to complete and submit review forms for the applicable (and more junior)

reviewee. After senior attorneys submit their completed reviews for an associate and the Firm

compiles such reviews, a partner “reviewer” eventually has a face-to-face meeting with the

relevant associate and discusses the submitted performance reviews with such associate. Such

face-to-face reviews usually occur at the end of the year. Ultimately, the partner reviewer is

supposed to summarize in a written “Summary Review” (that such partner submits to the Firm)

(i) the key conclusions found in the submitted performance reviews and (ii) the key discussion

points that were a part of the applicable face-to-face review.

        113.    Reviewing attorneys, associates who are being reviewed, and the partner

reviewers all understand that written performance reviews can, and often do, “make-or-break”

attorneys’ careers. For that reason (among others), the Firm gives both reviewing attorneys and

associates who are being reviewed advance notice and a meaningful amount of time to either (i)

submit performance reviews or (ii) prepare for their face-to-face review with their partner

reviewer.

        114.    Davis Polk uses performance reviews involving their standardized form

documents as the official (i.e., authoritative) and permanent record for assessing and tracking (i)

the difficulty of attorneys’ assignments; (ii) attorneys’ performance; (iii) assessing and verifying

whether attorneys who submit performance reviews are evaluating attorneys in a non-

discriminatory, consistent, and accurate way; and (iv) whether attorneys are perceived to be

performing materially behind, with, or ahead of members in the reviewee’s class.

        115.    The chart below represents (i) all the reviews that were completed and submitted by

Davis Polk associates for Mr. Cardwell that (ii) Davis Polk shared with either Mr. Cardwell’s attorneys or

the NYSDHR. If other associates submitted performance reviews for Mr. Cardwell, Mr. Cardwell has

never seen them.
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                 Not Only Was Mr. Cardwell Qualified to Work at Davis Polk,
              Associates Who Submitted Performance Reviews for Mr. Cardwell
             Rated Mr. Cardwell as Performing on Par with Associates in His Class

                                                                                                 Performance
                                                                 Basis of Review 14
                                                                                                 Evaluation 15
                                                                                                  Do you feel
     Date
                                                                                                      [Mr.
  Associate
                                          Practice                                               Cardwell] is
  Completed           Associate                              Level of
                                           Group                         Difficulty               performing
 Performance                                               Contact with
                                                                             of                   materially
   Review                                                     [Mr.
                                                                        Assignment               behind, with,
                                                            Cardwell]
                                                                                                  or ahead of
                                                                                                   lawyer’s
                                                                                                     class?
      March 13,     White senior
                                            Credit           Extensive          Complex               With
       2015           associate
                     Non-Black
      March 16,
                    Latino senior           Credit           Extensive          Complex               With
       2015
                      associate
     September      White senior
                                            M&A              Moderate            Routine              With
      18, 2015        associate
                        Non-
     November 2,     Black/Non-
                                            M&A              Extensive           Routine              With
        2015        White senior
                      associate
      June 22,      White senior
                                            M&A              Moderate            Routine              With
        2016          associate




14
   Unless otherwise noted, the language for this header and the questions and answers under it are unchanged and are
identical to the language that appears on Davis Polk’s evaluations for Mr. Cardwell.
15
   Unless otherwise noted, the language for this header and the question and answers under it are unchanged and are
identical to the language that appears on Davis Polk’s evaluations for Mr. Cardwell.
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        116.     In an “interim [performance] review” that Jason Kyrwood, a Davis Polk

Corporate Partner, submitted in May 2015, 16 Mr. Kyrwood was asked to provide comments

related to the “substance of [the] evaluation (including reviewee’s performance compared to

expectations for a lawyer of the same seniority).” To that question prompt, Mr. Krywood wrote:

“Generally positive – organized, high quality work, good attention to detail, hard worker.”

(emphasis added).

        117.     Notably, it was only when Mr. Cardwell began vocalizing his concerns about

racially based unfair treatment within the Firm (and, more specifically, about bias-related

interactions within the Firm’s M&A and Capital Markets groups), that he began to have

conversations like the one that Mr. Bick and Mr. Cardwell had on June 30, 2016.

        118.      As further explained in this Complaint, Mr. Reid, Mr. Bick, Ms. Hudson, and

Davis Polk knowingly falsified and shifted their conclusions related to Mr. Cardwell’s

performance reviews and subsequently submitted to the NYSDHR dishonest conclusions about

Mr. Cardwell’s performance, competency, and future at the Firm. Mr. Cardwell has

contemporaneous documentation that makes it plain that Davis Polk and certain defendants

submitted false statements and characterizations to the NYSDHR. 17

        119.     For example, out of the eighteen different Davis Polk associates and partners who

were named in the performance reviews that the Firm provided to either the NYSDHR or Mr.

Cardwell’s attorneys at the time, Ms. Hudson—a partner who did not work in the practice group



16
   Mr. Kyrwood’s summary of Mr. Cardwell’s performance reviews is consistent with (i) the feedback that Mr.
Kyrwood communicated to Mr. Cardwell during his face-to-face review and (ii) the recap of the review that Mr.
Cardwell had communicated with Davis Polk associates on or around the day of his review with Mr. Kyrwood.
17
   On April 27, 2018, Mr. Cardwell filed a supplemental charge of discrimination against Davis Polk, describing that
Davis Polk’s retaliatory decision to terminate Mr. Cardwell’s employment was connected to performance
evaluations that were contrary to real-time feedback and conclusions that Davis Polk partners had communicated to
Mr. Cardwell. Upon information and belief, Ms. Hudson’s last day as a partner at Davis Polk was in July or August
2018.
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that Mr. Cardwell was permanently assigned to—was the only person according to the Firm’s

own NYSDHR-submitted documentation to answer “behind” when asked, “Do you feel this

lawyer is performing materially behind, with or ahead of lawyer’s class”?.

       120.    The Ms. Hudson-related documentation that Davis Polk submitted to the

NYSDHR—documentation that supposedly describes the Firm’s then-accepted and legitimate

conclusions about the quality of Mr. Cardwell’s work product during Mr. Cardwell’s rotation in

the Firm’s Capital Markets group in 2015 and 2016—is directly contradicted by Mr. Cardwell’s

March 2016 meeting with capital markets partner Byron Rooney (as further described below), as

well as Sophia Hudson’s own real-time, written and verbal statements to Mr. Cardwell. Ms.

Hudson’s purported performance review and conclusions, as well as the Firm’s shifting

conclusions about the veracity and relevancy of Ms. Hudson’s assessment of Mr. Cardwell, were

created (and are on based on) discriminatory and retaliatory considerations and actions.

       121.    Out of roughly 200+ emails—spanning from October 28, 2015 through March 21,

2016—that involved Mr. Cardwell and Ms. Hudson during Mr. Cardwell’s rotation in the Firm’s

Capital Markets group—the most direct and critical feedback that Ms. Hudson provided to Mr.

Cardwell related to Mr. Cardwell incorrectly using the word “I” instead of “me” in an internal

email (i.e., an email that was not sent to any of the Firm’s contacts or otherwise impact the

Firm’s clients). The relevant exchange occurred on December 17, 2015 and was as follows:

       Mr. Cardwell’s email to Ms. Hudson (4:12 p.m.):

       “Hi Sophia, Attached, please find the following drafts (each clean and marked against

       the respective early tender documents): [REDACTED LIST OF DOCUMENTS]. Please

       let me know if you have any comments.

       Also, before [the senior capital markets associate on the deal] heads off on vacation this


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         weekend, is there a time tomorrow that you’ll be available to meet with [White senior

         associate] and I?”

         Ms. Hudson’s response to the email above (5:42 p.m.):

         “[Mr. Cardwell], No one likes to be corrected on grammar, but it’s something partners

         and sophisticated clients notice a lot so I hope you’ll take my advice in the right spirit.

         Please be careful using I/me. ‘Me’ is the appropriate pronoun to use below as it is being

         used as an object of the preposition ‘with.’ Best, Sophia”

         122.   To be clear: Mr. Cardwell initially appreciated Ms. Hudson’s feedback because,

despite having already worked together for months, Ms. Hudson’s email essentially represented

the first time Ms. Hudson had given Mr. Cardwell somewhat critical feedback.

         123.   To be even more clear: Not only did no one at Davis Polk ever treat Mr. Cardwell

with so-called “kiddie gloves,” but at no point during Mr. Cardwell’s tenure at Davis Polk did

Mr. Cardwell expect, desire, or request to be treated with “kiddie gloves.” To the contrary, Mr.

Cardwell worked every day at Davis Polk with the belief that unfiltered, constructive feedback

was not just acceptable or necessary, but was the best way for all young attorneys to develop and

progress. Accordingly, Mr. Cardwell responded to Mr. Hudson’s email above with the following

email:

         Mr. Cardwell at 6:03 p.m. the same day (i.e., December 17, 2015):

         “[Ms. Hudson], Thank you for bringing the mistake to my attention. When I played

         college football, I performed best under coaches who demanded perfection. My favorite

         coaches seemingly noticed everything and were obsessively focused (sometimes to my

         displeasure) on making every player better. I say all that to say, I hope you continue to




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       correct me whenever and however you see fit. I’ll be more careful going forward. Thank

       you.”

       124.    After Mr. Cardwell’s and Ms. Hudson’s matters concluded and they stopped

working together at the end of 2015/beginning of 2016, Ms. Hudson had virtually no

communications with Mr. Cardwell, let alone any communications with Mr. Cardwell about Mr.

Cardwell’s work product. It should be noted that Ms. Hudson had no problem getting in touch

with Mr. Cardwell or speaking directly with him when Ms. Hudson desired to do so. Once Mr.

Cardwell and Ms. Hudson stopped working together, Ms. Hudson did, for example, reach out to

Mr. Cardwell to ask Mr. Cardwell if he could recommend a Black restaurant that is in Harlem,

New York City. Mr. Cardwell obliged.

       After Mr. Bick’s Sham Review, Mr. Cardwell’s Assignments Go From Bad To None.

       125.    Both while Davis Polk was recruiting Mr. Cardwell and when Mr. Cardwell was a

junior associate, Davis Polk routinely communicated to Mr. Cardwell and other Firm associates

that the Firm designed its current procedures related to staffing attorneys in an effort to minimize

and eliminate the racial bias flagged by Mr. Cardwell and the diversity and inclusion consultants

hired by the Firm, among others. To that end, Davis Polk’s policies discouraged partners and

senior attorneys—especially when it came to deals and high-profile cases—from bypassing

staffing coordinators and using informal channels to staff junior associates. Davis Polk

understood, knew, and warned the Firm’s associates and partners that such practices had been

shown to disproportionately discriminate against and disadvantage women and non-White

attorneys at law firms.

       126.    During the period in which Mr. Cardwell was permanently assigned to Davis

Polk’s M&A group (i.e., April 2016 - August 2018), Davis Polk’s policies and procedures


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around staffing were as follows: each week, associates completed a “weekly workload

request/capacity forms,” indicating their availability, the type of matters such associate was

working on (e.g., names of team members, expected number of hours one expected to work on

that matter that week), upcoming vacations, and additional comments/requests, among other

things. A staff person then compiled associates’ weekly workload request/capacity forms into a

single chart and sent it (i) to the M&A junior associate assignment coordinator (who used the

chart as a guide to staff first- and second-year M&A associates) and (ii) to the two most junior

M&A partners (who used the chart as a guide to staff third-year and more senior associates).

When the Firm’s M&A partners or associates had M&A staffing needs, the requesting attorney

sent an email to the applicable coordinator based on the seniority level needed. It was not

uncommon for staffing coordinators to ask an associate prior to staffing that associate, “Have

you worked on ‘x’ yet or worked with this person already?” Because the two most junior M&A

partners served as M&A staffing coordinators and did not have complete, independent control

over staffing, the junior M&A staffing partners were often in constant communication with Mr.

Bick about how third-year and more senior associates should be staffed to meet Firm needs (and

policies) and partners’ preferences. That said, the junior M&A staffing partners, including Mr.

Wolfe, Mr. Birnbaum, and Mr. Brass when such persons served as staffing partners, had (and

often acted with) significant and independent decision-making authority on M&A staffing

decisions, including decisions related to which associates should be staffed on which matters and

deals.

         127.   For similar reasons as noted above, the junior associate assignment coordinators

did not have complete, independent control over staffing and worked in connection with Mr.

Bick. A Davis Polk Junior Staffing Coordinator (“Davis Polk Junior Staffing Coordinator #1”)


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was responsible for staffing Mr. Cardwell (and other second-year M&A associates) from April

2016 through the beginning of September 2016. When Davis Polk Junior Staffing Coordinator

#1 was unavailable (e.g., on vacation), either the other Davis Polk Corporate Junior Staffing

Coordinator (“Davis Polk Junior Staffing Coordinator #2”), a staffing coordinator for junior

corporate associates who was a member of the Firm’s staff (i.e., not a partner or associate), or an

Associate Development Manager (“Davis Polk Junior Staffing Coordinator #3”), who was a

member of the Firm’s staff (i.e., not a partner or associate), would typically staff junior

associates until Davis Polk Junior Staffing Coordinator #1 returned or was available.

       128.    Relevant to Mr. Cardwell’s claims are not just how the Firm staffed Mr. Cardwell

but also what deals and matters the Firm allowed Mr. Cardwell to work on. In corporate law and

among partners and associates at Davis Polk, the difference between (i) M&A “deals” and

“transactions” and (ii) M&A “work,” “matters,” “tasks,” “projects,” “research, “document

review,” or “assignments” is both widely understood and significant. “Deals” influence heavily

tracked and publicized M&A rankings, M&A fees, legal awards and prestige, associates’

partnership and lateral prospects, and clients’ and potential clients’ perceptions of attorneys’ and

firms’ sophistication and ability to handle complex matters. As such, within the Firm’s M&A

group and across the Firm and legal profession, Davis Polk routinely (A) discussed during Mr.

Cardwell’s tenure at Davis Polk and continues to discuss its M&A deal rankings (for the

applicable time period), (B) highlighted during Mr. Cardwell’s tenure and continues to highlight

“deals and cases” on its homepage (among other places), and (C) emphasized during Mr.

Cardwell’s tenure and continues to emphasize rankings in its “Who We Are” section on the

Firm’s website (e.g., “For more than 165 years, Davis Polk has ranked among the premier law

firms with practices that are world class across the board).” (emphasis added).


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       129.    Around the time that (i) Mr. Bick conducted a sham review of Mr. Cardwell and

(ii) both a non-White senior associate and Davis Polk’s Asian/South Asian/Middle Eastern group

had asked Mr. Reid to take specific actions to interrupt, prevent, or eliminate race-related bias

and disparate treatment at the Firm, Mr. Cardwell began to notice an overall pattern where he

was assigned to fewer deals (which are central to the revenue of the Firm, the M&A practice

group, and the reputation of associates) than similarly situated non-Black associates.

       130.    Instead, and as compared to the White M&A associates at the Firm, Mr. Cardwell

was assigned to more (i) research-related assignments (which are only tangential to the Firm’s

M&A business and core revenue streams); (ii) assignments that did not require Mr. Cardwell’s or

his Davis Polk peers’ level of experience; (iii) assignments that involved temporarily assisting in

the middle or end of a matter (which, if staffed repeatedly on such matters, makes it difficult for

an attorney to get the type of experiences that are expected or required of mid-level and senior

associates); (iv) assignments that involved M&A partners being able to ignore and not

communicate with Mr. Cardwell with very little impact to the Firm or M&A group.

       131.    On June 28, 2016, Davis Polk Junior Staffing Coordinator #2 emailed Mr.

Cardwell and asked him to reach out to a White senior M&A associate to assist M&A partner

Gar Bason on a non-deal assignment. The email stated, “Can you please reach out to [the senior

M&A associate] to assist [the associate] with a [Directors & Officers] review assignment for

Gar and [REDACTED]. She said it’s not a rush but should be completed in the next week or two.

It is the review of indemnity agreements, so probably would take 20-30 hours.” (emphasis

added). Mr. Cardwell agreed and was staffed on the assignment.

       132.    On June 30, 2016, Davis Polk Junior Staffing Coordinator #2 asked Mr. Cardwell

(and Mr. Cardwell agreed) to help a senior M&A associate on a PowerPoint presentation that did


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not require the legal experience or knowledge of a second-year associate. The associate’s staffing

request for this assignment stated, “I need a first or second year to help me update the statistic in

the attached as soon as possible.” (emphasis added). At the time, the associate indicated to Mr.

Cardwell that the associate was surprised that they were once again working together.

       133.    On June 30, 2016, as noted above, Mr. Bick staffed Mr. Cardwell on an additional

research assignment. Mr. Bick’s email to Mr. Cardwell stated: “Let me know when you have a

spare moment to discuss another research assignment re [REDACTED]. (emphasis added).

       134.    Thereafter and for each week from July 2016 through May 2017, Mr. Cardwell

included in his weekly workload request/capacity form an additional request to work with five

specific partners who frequently ran M&A deals: Mr. Reid, Mr. Birnbaum, and M&A partners

Louis Goldberg, Oliver Smith, and Lee Hochbaum. Although Mr. Cardwell’s requests were in

line with the Firm’s normal, nondiscriminatory staffing protocols, most of Mr. Cardwell’s

assignments, to his and other Firm associates’ confusion, continued to be either non-deals or with

the same handful of senior associates with whom Mr. Cardwell was already working or had

already worked with.

       135.    On July 8, 2016, Mr. Cardwell was staffed on a simple matter with a non-White

senior M&A associate. The associate’s staffing request to Davis Polk Junior Staffing

Coordinator #1 stated: “Hi [Davis Polk Junior Staffing Coordinator #1], Now that

[REDACTED] is away on secondment, would it be possible to have another second year help me

with the corporate governance matters for [REDACTED]? The only immediate task is a simple

matter for Monday, otherwise 10% is enough until towards the end of the year.” (emphasis

added). The associate’s reference to “10% is enough” meant that the senior associate estimated

that the assigned associate would only use about 10% of their total weekly capacity on the


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matter. Notably, and predictably, if an associate’s capacity is full of similarly small matters (i.e.,

as measured by the estimated or actual capacity required), such associate will not have enough

capacity to work on a M&A deal, which can often require an associate to have an available

capacity around 40-100%.

       136.    On July 13, 2016, Mr. Cardwell was staffed on a non-deal matter involving a

White woman senior M&A associate. At the time, the senior associate had informed Mr.

Cardwell that she had a discussion with either the supervising partner on the matter or her M&A

partner advisor to discuss her concern that this matter was (i) not a deal, (ii) not the type of

matter clients typically hire the Firm’s M&A group to work on, (iii) unlikely to help her develop

critical and desired deal experience, and (iv) potentially the type to become too cumbersome and

ultimately soak up her capacity such that she’d be effectively prevented from having enough

capacity to work on deals.

       137.    On July 19, 2016, as referenced above, Mr. Cardwell sent an email to Mr. Bick,

stating, “John, As discussed, please find attached a draft summary of the financial arrangement

between [REDACTED] and [REDACTED]. Please let me know if you have any questions or

comments. Happy to discuss.” Mr. Bick never responded to Mr. Cardwell’s email.

       138.    On July 20, 2016, Davis Polk Junior Staffing Coordinator #3 reached out to Mr.

Cardwell and staffed Mr. Cardwell on a small project that would only require a handful of

sporadic hours. Davis Polk Junior Staffing Coordinator #3’s email stated: “Hi [Mr. Cardwell],

Darren Schweiger needs some help with a small project for a joint venture. It will be a handful

of hours between today and Wednesday, then more sporadic after that. Can you please help out

with this?” (emphasis added).




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       139.    On July 22, 2016, after many months, Mr. Cardwell was finally staffed on an

M&A deal. As instructed by Davis Polk Junior Staffing Coordinator #1, on July 22, 2016, Mr.

Cardwell reached out to Mr. Brass, a White then-senior M&A associate and current M&A Davis

Polk partner. Mr. Cardwell’s email exchange with Mr. Brass went as follows:

                   •   Mr. Cardwell to Mr. Brass (2:39 p.m.): “Hi Daniel, I’ll be assisting you

                       on the [REDACTED] deal. When your schedule permits, please let me

                       know when you’d like to discuss.”

                   •   Mr. Brass’s Response (2:41 p.m.): “Thanks. [The senior associate] will

                       reach out to you [sic]”

                   •   Mr. Cardwell’s Response (2:46 p.m.): “Thanks, Daniel.”

                   •   Mr. Brass’s Response (5:38 p.m.): “I think you stand down for now!”

                   •   Mr. Cardwell’s Response (5:42 p.m.): “Thanks, Daniel. Will do. Any

                       sense if and when the status of the deal could change?”

                   •   Mr. Brass’s Response (5:43 p.m.): “I think we are ok for the near future.”

                   •   Mr. Cardwell’s Response (5:44 p.m.): “Understood.”

       140.    Mr. Brass’s abrupt removal of Mr. Cardwell from the M&A deal was done in

secret and without the permission of the deal’s staffing coordinator. Davis Polk senior associates

almost always explain to junior associates how the status or nature of a deal has changed and

how the change impacts the junior associates previously discussed role on the deal. Mr. Brass’s

discriminatory actions were willful and blatant. After this incident, Mr. Brass never worked on

any active deals with Mr. Cardwell.

       141.    On July 22, 2016, at 6:04 p.m., Mr. Cardwell emailed the above email

conversation to Davis Polk Junior Staffing Coordinator #1, alerting her to Mr. Brass’s

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unauthorized, disparate treatment of Mr. Cardwell. Davis Polk Junior Staffing Coordinator #1

did not provide an explanation for Mr. Brass’s behavior and merely acknowledged receipt of Mr.

Cardwell’s email.

        142.    On July 26, 2016, as referenced above, Mr. Cardwell sent a follow-up email to

Mr. Bick (that included the July 19, 2016 email to Mr. Bick), stating, “Hi John, Just a quick

follow-up on the below. Happy to discuss if you have any questions or comments.” Mr. Bick

never responded to Mr. Cardwell.

        143.    On August 4, 2016, Davis Polk Junior Staffing Coordinator #1 asked Mr.

Cardwell if Mr. Cardwell could temporarily “cover” for a first-year associate who was going on

vacation for two weeks. Mr. Cardwell agreed, and the first-year associate replaced Mr. Cardwell

once she returned from vacation.

        144.    Also, on August 4, 2016, Mr. Cardwell followed-up with Davis Polk Junior

Staffing Coordinator #1 to try to understand why Mr. Brass removed Mr. Cardwell from the deal

on July 22, 2016. Mr. Cardwell asked Davis Polk Junior Staffing Coordinator #1 the following:

“Separately, and in light of the email that I forwarded to you on the 22nd, has anyone made a

decision to limit my involvement to certain types of deals and matters?” (emphasis added).

        145.    This August 4, 2016 incident is the fourth time that Mr. Cardwell flagged

personally experienced discrimination and actively sought help from Davis Polk and persons

with sufficient authority to address it.

        146.    Rather than email Mr. Cardwell back, Davis Polk Junior Staffing Coordinator #1

called Mr. Cardwell and passionately told him, “Not at all. I’m not sure what happened on that

deal [with Mr. Brass] and haven’t talked to anyone since. Do you know what happened?” After

Mr. Cardwell responded that he never received any explanation for why he was removed, Davis


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Polk Junior Staffing Coordinator #1 informed Mr. Cardwell that Mr. Brass replaced Mr.

Cardwell with a White associate and remarked that Mr. Brass’s behavior was “weird.”

          147.   Despite a Davis Polk staffing coordinator’s insistence that Mr. Cardwell’s staffing

was not in any way limited to certain types of deals and matters, as a result of how the Firm did

and didn’t staff Mr. Cardwell during 2016, Mr. Bick, Mr. Wolfe, and Mr. Birnbaum ensured that

Mr. Cardwell was often underutilized and underdeveloped. For more than five successive weeks

in mid-2016, Mr. Cardwell indicated on his weekly workload request/capacity form that he had a

capacity of greater than 50% (i.e., more than half of his hours were available for new

assignments).

          148.   On August 16, 2016, Mr. Cardwell was staffed on an M&A deal with a senior

M&A associate and Leonard Kreynin, a Davis Polk Corporate Partner, which was essentially the

first and last M&A deal that Mr. Cardwell was staffed on in 2016 (“Mr. Cardwell’s Last 2016

Deal”).

          149.   On August 18, 2016, per a White senior M&A associate’s instruction, Mr.

Cardwell emailed M&A partners Arthur Golden, Gar Bason Jr., and Michael Davis and cc’d the

senior associate. In connection with the June 28, 2016 assignment that Mr. Cardwell was staffed

on, Mr. Cardwell sent the M&A partners Mr. Cardwell’s draft of an indemnification agreement

for their review and edits. Mr. Cardwell’s email stated: “All, A few weeks back, [REDACTED]

asked us to take a look at their current indemnification agreement and summary of

indemnification policy as part of a general corporate housekeeping review. We reviewed the

indemnification agreement against [Davis Polk’s] standard form and other resources/precedents

we found. Generally, we thought that the agreement was in good shape and only had a few

suggestions. Attached please find our comments to the indemnification agreement and policy


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summary. Also attached for your reference is [REDACTED] main indemnification policy. We

are happy to discuss.” Neither Arthur Golden, Gar Bason Jr., nor Michael Davis responded to

Mr. Cardwell’s email or otherwise communicated with Mr. Cardwell.

       150.    On September 7, 2016, per the senior associate’s instruction, Mr. Cardwell

emailed M&A partners Arthur Golden, Gar Bason Jr., and Michael Davis again with a follow-up

reminder regarding Mr. Cardwell’s email. The email stated, “All, Quick follow-up regarding our

review of [REDACTED] indemnification agreement and indemnification policy. Please let us

know if we can be of any further assistance or if you have any questions or comments.” Again,

neither Arthur Golden, Gar Bason Jr., nor Michael Davis responded to Mr. Cardwell’s email or

otherwise communicated with Mr. Cardwell.

       151.    Instead, and even though it was clear from the email that Mr. Cardwell was the

primary reviewer and editor of the documents, Arthur Golden chose to separately reach out to the

White senior associate and exclusively discuss with the senior associate his edits to the

documents.

       152.    On September 9, 2016, per the same White senior associate’s instruction, Mr.

Cardwell emailed Gar Bason Jr. a third time and cc’d Arthur Golden and the senior associate.

The email stated, “Gar, Attached, please find revised drafts that reflect Arthur’s comments….

Please let us know if you have any further comments.” Gar Bason Jr. never responded to Mr.

Cardwell’s email.

       153.    At the time, the White senior M&A associate expressed confusion to Mr.

Cardwell as to why none of Davis Polk’s M&A partners ever responded to Mr. Cardwell’s

emails. At no point during the matter, did of any of Davis Polk’s partners ever respond to Mr.

Cardwell’s email or verbally communicate with Mr. Cardwell.


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       154.    Arthur Golden’s, Gar Bason Jr.’s, and Michael Davis’s lack of communication

with Mr. Cardwell cannot be explained by the quality of Mr. Cardwell’s work on the assignment

or the senior attorney’s conclusions at the time about the quality of Mr. Cardwell’s work. In an

email dated August 15, 2016, the White senior M&A associate provided the following feedback

to Mr. Cardwell regarding the relevant indemnification assignment: “I’m so sorry it took me

forever to review this. Very good work on it. Attached please find my comments/thoughts. Some

items I thought we could [revert back to the original language as opposed to using your edits]

just to minimize changes. Please let me know if it would be helpful to discuss.” (emphasis added).

       155.    On September 8, 2016, within days of Mr. Cardwell becoming a third-year

associate, Davis Polk Junior Staffing Coordinator #2 asked Mr. Cardwell if he could and would

accept being staffed on a potentially lengthy non-M&A matter (i) that did not involve Mr.

Cardwell working directly with any Davis Polk partners (from any practice group) or M&A

associates, or require Mr. Cardwell’s (or his peers’) level of experience and (ii) that would have

further stalled Mr. Cardwell’s development as a soon-to-be mid-level M&A attorney who would

be evaluated within the Firm as an M&A attorney. Specifically, in Davis Polk Junior Staffing

Coordinator #2’s initial email and inquiry, Davis Polk Junior Staffing Coordinator #2 asked Mr.

Cardwell if Mr. Cardwell could assist with a list of tasks, including “one-off tasks,” that are

widely understood within Davis Polk and corporate law to be tasks that are routinely assigned to

first-year (and possibly second-year) associates.

       156.    What is more, Davis Polk Junior Staffing Coordinator #2’s initial email and

inquiry made it clear that Mr. Cardwell was not being staffed as part of a larger plan to develop

Mr. Cardwell as an attorney but because “[the Firm’s] credit juniors [were] over capacity and




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[the Firm had] a few juniors going on vacation.” For these reasons and others, 18 and because

Davis Polk Junior Staffing Coordinator #2 merely asked Mr. Cardwell about his interest and

capacity to work on the non-M&A matter (as opposed to instructing Mr. Cardwell to work on the

non-M&A matter), Mr. Cardwell called Davis Polk Junior Staffing Coordinator #2 to discuss.

         157.     During their phone call, Davis Polk Junior Staffing Coordinator #2 stated that she

was apologetic for having to ask Mr. Cardwell if he could accept a non-M&A assignment. Mr.

Cardwell asked if they could briefly meet to discuss Davis Polk Junior Staffing Coordinator #2’s

inquiry. Davis Polk Junior Staffing Coordinator #2 and Mr. Cardwell met shortly thereafter.

         158.     In their meeting, Davis Polk Junior Staffing Coordinator #2 repeated the

statements in her email and described how the attorneys in the Firm’s Credit Group were

unusually busy and could use assistance. Davis Polk Junior Staffing Coordinator #2 explicitly

stated that she had reached out to a number of associates who had previously rotated through the

Firm’s Credit Group and that she had similarly reached out to Mr. Cardwell because he had

experience working in the Firm’s Credit Group.

         159.     Mr. Cardwell briefly described his assignment history and told Davis Polk Junior

Staffing Coordinator #2 something that is substantially similar to the following:

         “I’m more than happy to work on anything you or anyone else would like me to, but I

         wanted to share two concerns that I have. As a Black associate, I’m concerned about the

         general pattern that exists across the legal profession and within Davis Polk. That is, it’s

         typically the case that when Black associates are fourth-, fifth-, and sixth-year associates,

         White associates often have—for reasons that have nothing to do with merit or work



18
  At Davis Polk, it was and is not uncommon for associates to receive an inquiry related to a possible assignment
and for the associate to discuss the timing or “fit” with the staffing coordinator, as all parties are incentivized to
assess whether accepting the assignment makes sense or is best.
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       ethic—a resume with more experience and better quality work than Black associates of

       the same year. Because those are my concerns, I am trying to get as much work in M&A

       as possible and work with as many M&A attorneys and partners as possible. The reality

       is that a potentially lengthy credit assignment, which we know expected-to-be short credit

       assignments can unavoidably become virtually year-long assignments in the Firm’s

       Credit group, will pull me away from opportunities to learn and work with M&A

       attorneys.” (emphasis added).

       160.    Mr. Cardwell expressly noted that he didn’t want his career and trajectory to

become a part of the pattern described above. During the conversation, Mr. Cardwell also

explicitly told Davis Polk Junior Staffing Coordinator #2 that he’d be happy to work on any

assignment that the Firm wanted him to work on, including the non-M&A assignment she

initially inquired about, as long as she and the Firm could ensure that the staffing was not a part

of the pattern of discrimination described above. After hearing Mr. Cardwell’s above statements,

and after Mr. Cardwell pointed to specific, documented, disparate staffing patterns involving

non-White and White Firm associates, Davis Polk Junior Staffing Coordinator #2 told Mr.

Cardwell that she would not staff him on the non-M&A matter.

       161.    Davis Polk Junior Staffing Coordinator #2 added: “You clearly have thought

about this a lot more than I have. If you feel strongly about this, then I understand and simply

won’t staff you on any credit assignments.” (emphasis added). Mr. Cardwell then explained again

that, if the Firm had a plan to prevent the previously described discrimination-related pattern,

he’d be happy to work any assignment the Firm wanted him to, including the non-M&A

assignment. Davis Polk Junior Staffing Coordinator #2 again responded by saying she wouldn’t

staff Mr. Cardwell on the non-M&A assignment. Following their conversation, Davis Polk


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Junior Staffing Coordinator #2 did not arrange or coordinate any new assignments for Mr.

Cardwell and did not have any subsequent conversations with Mr. Cardwell about the concerns

he shared with her.

        162.     Both (i) Davis Polk Junior Staffing Coordinator #2’s decision not to staff Mr.

Cardwell and (ii) certain defendants’ decision not to staff Mr. Cardwell on (and remove Mr.

Cardwell from) deals in the weeks and months that followed this incident, constitute adverse

employment actions.

        163.     Davis Polk Junior Staffing Coordinator #2 did not staff Mr. Cardwell because she

understood and was aware that Mr. Cardwell had just raised a discrimination complaint. 19

Throughout the entire meeting, and in every conversation since, Davis Polk Junior Staffing

Coordinator #2’s and Mr. Cardwell’s conversation was cordial, professional, and non-

confrontational. 20

        164.     This September 8, 2016 incident is the fifth time that Mr. Cardwell flagged

personally experienced discrimination and actively sought help from Davis Polk and persons

with sufficient authority to address it. 21

        165.     In September 2016, Mr. Cardwell became a third-year associate.




19
   In the alternative, Davis Polk Junior Staffing Coordinator #2] did not staff Mr. Cardwell because she understood
and was concerned that Mr. Bick was a discriminatory driving force behind the request for Mr. Cardwell to be
staffed on non-M&A matters, which in this case would have been just days and weeks before Mr. Wolfe and Mr.
Birnbaum was to become responsible for staffing Mr. Cardwell on M&A matters.
20
   On August 3, 2017, Davis Polk received the substance of the above description of Mr. Cardwell’s conversation
involving Davis Polk Junior Staffing Coordinator #2 in Mr. Cardwell’s August 2017 EEOC Filing. Upon
information and belief, Davis Polk Junior Staffing Coordinator #2’s last day as an employee of Davis Polk was
August 18, 2017, which suggests that Davis Polk Junior Staffing Coordinator #2’s exit (or termination) from the
Firm was in connection with Mr. Cardwell’s August 2017 EEOC Filing.
21
   The discrimination and retaliation stemming from this incident was not restricted to September 8, 2016; rather,
such discrimination and retaliation continued—and were in connection with—the lack of staffing and disparate
treatment that Mr. Cardwell experienced over the following six to eight months, including, as explained below, Mr.
Birnbaum’s and Mr. Wolfe’s refusal to staff Mr. Cardwell in September, October, November, and December of
2016.
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       166.    On September 29, 2016, and after Mr. Cardwell had billed almost 235 hours for

the month, Davis Polk removed Mr. Cardwell from Mr. Cardwell’s Last 2016 Deal. The Firm

removed Mr. Cardwell from the deal with the following email, which was sent by the senior

associate on the deal: “[Mr. Cardwell], Since you have been tied up with the [REDACTED]

restructuring, we have asked [REDACTED/a second-year associate] to fill in for you through

signing on [REDACTED]. Please let us know when you free up. I hope things get more

manageable soon.”

       167.    The “restructuring” matter that the associate referred to in his email was the same

matter that a senior M&A associate had flagged for a M&A partner when she was staffed on it

and had described as (i) not a deal, (ii) not the type of matter the Firm’s M&A group typically

works on, (iii) unlikely to help her develop critical and desired M&A/deal experience, and (iv)

the type to become too cumbersome and potentially consume so much of her capacity that she’d

effectively be prevented from having enough capacity to work on a deal. The Firm did not staff

Mr. Cardwell on another M&A deal over the next eight months.

       168.    Within months of Mr. Cardwell being permanently assigned to Davis Polk’s

M&A group in April 2016, (i) Mr. Bick conducted a sham face-to-face review; (ii) Davis Polk,

including Mr. Bick, Mr. Wolfe, and Mr. Birnbaum, effectively went an entire year without

staffing Mr. Cardwell on deals and matters at the same rate or in the same way as similarly

situated non-Black associates; (iii) a White senior Davis Polk attorney violated the Firm’s

staffing policies and practices and removed Mr. Cardwell from a deal; and (iv) the Firm

strategically used Mr. Cardwell’s non-deal assignments as a justification to remove Mr. Cardwell

from Mr. Cardwell’s Last 2016 Deal.

       Coincidence? Of course not.


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        169.     In accordance with the Firm’s policy at the time, the two most junior M&A

partners were responsible for staffing all third-year and more senior associates 22, 23 This meant

that as early as September 2016, Mr. Birnbaum and Mr. Wolfe received and reviewed Mr.

Cardwell’s (and other M&A associates in Mr. Cardwell’s class) weekly workload

request/capacity forms, which noted the matters he and other associates were working on and

how many hours they had available to take on additional work. Moreover, Davis Polk had

computer programs that tracked how many billable hours associates had and hadn’t billed,

among other data related to staffing. In this role, Mr. Birnbaum and Mr. Wolf had direct

knowledge of Mr. Cardwell’s availability and were the individuals responsible for staffing Mr.

Cardwell on assignments.

        170.     Mr. Birnbaum and Mr. Wolfe knowingly did not staff Mr. Cardwell on any

matters in 2016, which means that, for consecutive months, Mr. Birnbaum and Mr. Wolfe

ensured that Mr. Cardwell was assigned to and had zero hours of work. Mr. Birnbaum and Mr.

Wolfe did not attempt to discuss, or have any conversations, with Mr. Cardwell about why they

and the Firm decided not to assign Mr. Cardwell to any new matters. Mr. Birnbaum never

mentioned or addressed Mr. Cardwell’s unjustifiably low hours, or anything related to the quality

of Mr. Cardwell’s work product. Contrary to their interactions with Mr. Cardwell, Mr. Birnbaum




22
   On July 1, 2016, Mr. Wolfe emailed the Firm’s entire corporate department to notify the Firm’s corporate
associates and partners that Mr. Wolfe and Mr. Birnbaum were the staffing coordinators for the Firms M&A group.
Mr. Wolfe’s email stated that, “Going forward, requests for senior and mid-level M&A associates staffing should be
directed to [Mr. Birnbaum] or me [i.e., Mr. Wolfe]. [Davis Polk Junior Staffing Coordinator #1] will continue to
oversee staffing for junior associates in the M&A group.”
23
   In response to Mr. Cardwell, who was a third-year associate at the time, asking Davis Polk Junior Staffing
Coordinator #1, “When a staffing request is made, you determine which associates could be and ultimately are asked
to work on matters, correct?”, Davis Polk Junior Staffing Coordinator #1 stated that, “The staffing partners
(currently Brian Wolfe and Harold Birnbaum) handle staffing for third years and more senior…. [A staff person]
puts all updates [from the weekly workload request/capacity forms] together in one chart, which gets sent to the
staffing partners….”
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and Mr. Wolfe routinely and consistently staffed and communicated with similarly situated non-

Black associates about such associates’ hours, workload, and staffing.

       171.    Davis Polk, as well as Mr. Bick, Mr. Birnbaum, and Mr. Wolfe, knowingly

departed from the Firm’s normal staffing process and intentionally created a near-career ending

gap in Mr. Cardwell’s work experience relative to similarly situated non-Black associates. Mr.

Bick, Mr. Birnbaum, and Mr. Wolfe did so, among other unlawful reasons, in order to

pretextually obfuscate evidence that Mr. Cardwell’s experiences (i.e., negative changes in the

terms and conditions of his employment) and Firm-related assessments (and the Firm’s

conclusions of those assessments) were or might in the future be unlawfully influenced by Mr.

Cardwell’s race and/or racial and legally protected complaints.

       172.    The unlawful actions stemming from the June 30, 2016 face-to-face review was

not restricted to June 30, 2016; rather, such discrimination and retaliation continued—and was in

connection with—the dishonest control and influence that Mr. Bick exerted over Mr. Cardwell’s

staffing and assessments (and the Firm’s conclusions in connection with such assessments) over

the following six to nine months, including Mr. Birnbaum’s and Mr. Wolfe’s refusal to staff Mr.

Cardwell in September, October, November, and December of 2016.

       173.    In other words, there was a pattern where week after week, for months, Mr. Bick,

Mr. Birnbaum, and Mr. Wolfe created and implemented a discriminatory and retaliatory staffing

policy that resulted in a continuing violation of Mr. Cardwell rights and eventual termination, as

evidenced, in part, by (i) Mr. Cardwell’s weekly request for work via the Firm’s standard weekly

workload request/capacity forms, (ii) Mr. Bick, Mr. Birnbaum, and Mr. Wolfe—partners whose

Firm-created responsibilities mandated that they make staffing decisions for and with Mr.

Cardwell—intentionally deciding to not have any conversations with Mr. Cardwell about staffing


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opportunities from September 2016 through March 2017, and (iii) Mr. Bick’s, Mr. Birnbaum’s,

and Mr. Wolfe’s decisions to not staff Mr. Cardwell over that same time period despite Mr.

Cardwell’s weekly workload request/capacity forms. 24

         174.     In the case of Mr. Birnbaum, Mr. Birnbaum went about 443 days (i.e., from about

June 14, 2016 to August 31, 2017) without sending Mr. Cardwell a single email (i.e.,

notwithstanding group emails to practice groups and other listservs (e.g., emails to “All

Lawyers”)).

         175.     In the case of Mr. Wolfe, Mr. Wolfe went over 628 days (i.e., from about April

13, 2016 to the beginning of 2018) without sending Mr. Cardwell a single email (i.e.,

notwithstanding group emails to practice groups and other listservs).

         176.     Mr. Bick, then the head of the Firm’s M&A practice group, similarly ignored and

isolated Mr. Cardwell. Mr. Bick went about 292 days (i.e., from about July 15, 2016 to May 3,

2017) without sending Mr. Cardwell a single email (i.e., notwithstanding group emails to

practice groups and other listservs (e.g., to “All Lawyers”)). As a result of the coordinated efforts

of Mr. Bick, Mr. Birnbaum, Mr. Wolfe, among others, and the Firm, Mr. Cardwell experienced,



24
  Not only were these continuing violations known to be unremedied continuing violations by Mr. Cardwell—who
subsequently asked Davis Polk’s Executive Director to investigate Mr. Bick, Mr. Birnbaum and Mr. Wolfe, among
others, for their role in Mr. Cardwell’s hours and staffing and who filed a supplemental charge of discrimination
with the EEOC—they were also considered related instances by Davis Polk itself. For example, it was Davis Polk
who argued while Mr. Cardwell was still employed at the Firm, that there were specific and related instances
connecting Mr. Cardwell’s June 2016 sham review with (i) Mr. Cardwell’s staffing in the second half 2016/early
2017; (ii) certain defendants, including Mr. Bick, Mr. Reid, Ms. Hudson, Mr. Birnbaum, Mr. Wolfe, and Mr. Brass;
and (iii) the Firm’s eventual decision to terminate Mr. Cardwell’s employment.

From Davis Polk’s NYSDHR Answer and Position Statement: “By the fall of 2016, reviews of Cardwell’s
performance [namely, two reviews submitted by Ms. Hudson, both in mid-2016, regarding Mr. Cardwell’s work
with Ms. Hudson that was primarily in 2015] reflected an increasing concern that his work was not at the level
expected of a Firm associate, much less an associate making the transition, as Cardwell was that fall, from the junior
to the midlevel role…. This fact was reflected in Cardwell’s hours, which were uneven over the course of 2016—
relatively low in the early months of the year, during Cardwell’s Capital Markets rotation, higher in the summer
[when Mr. Cardwell was staffed by non-partners at Davis Polk], and relatively low again later in the fall and for the
remainder of the year, in M&A [despite Mr. Cardwell’s repeated requests for work via the Firm’s standard weekly
workload request/capacity forms].”
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at various times, both unjustifiably low billable hours and drastic drops in billable hours. Mr.

Cardwell’s number of hours billed in the second half of 2016 and beginning of 2017, as

determined by the billable hours that Mr. Cardwell submitted and the Firm tracked and accepted

without any disagreement or questioning of Mr. Cardwell, were as follows:



                                        Mr. Cardwell’s Billable Hours 25
                            Month                                      # of Hours Billed
                          May 2016
     (Note: Mr. Cardwell was on vacation for two-                                     101.1
              weeks during this month)
                          June 2016
       (Note: Mr. Cardwell’s hours/staffing were
     impacted by Mr. Cardwell’s vacation the prior                                     99.7
        month and by traveling for his swearing-
                      ceremony)
                           July 2016                                                  146.4
                         August 2016                                                  160.5
                       September 2016                                                 234.7
                        October 2016                                                    113
                       November 2016                                                    69
                       December 2016                                                   14.1
                         January 2017                                                   2.2
                        February 2017                                                   1.9
                         March 2017                                                     1.8



           177.     It is clear from the chart above (and the underlying time sheets) that there is a

stark difference between the months where Davis Polk Junior Staffing Coordinator #1 (or, in the


25
     For additional context, Davis Polk associates typically average between 133 and 175 billable hours a month.
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event of her absence, her non-Firm partner replacement) had primary responsibilities for staffing

Mr. Cardwell and the months where Mr. Bick, Mr. Birnbaum, and Mr. Wolfe had exclusive and

primary control over staffing Mr. Cardwell. Virtually every billable hour noted in the chart above

(and the underlying time sheets) relates to a staffing assignment that Mr. Cardwell received from

a non-Davis Polk partner.

       178.    As previously noted, when asked on December 1, 2015 “how [Mr. Reid’s] law

firm supports diverse and female attorneys so they can climb the ranks,” Mr. Reid explicitly

answered that “the foundation” of such support involved Mr. Reid meeting with “practice leaders

three times a year as they ‘talk about work at the firm is getting allocated.’” When it came to Mr.

Cardwell, Mr. Reid and the leaders of the Firm’s M&A group did indeed discuss how work

should be allocated to Mr. Cardwell. The evidence indicates that Mr. Cardwell didn’t merely slip

through so-called cracks in Davis Polk’s staffing system; rather, Defendants took strategic steps

to dig a hole to later—and dishonestly—make, if necessary, an argument that Mr. Cardwell was

simply in a hole that he could not climb out of it.

       179.    Mr. Reid’s, Mr. Bick’s, Mr. Birnbaum’s, and Mr. Wolfe’s decision to properly

staff Mr. Cardwell and to increasingly stop communicating with Mr. Cardwell during the second

half of 2016 and the beginning of 2017 cannot be legitimately explained by Mr. Cardwell’s

performance or the Firm’s non-fabricated and pre-litigation conclusions about Mr. Cardwell’s

performance reviews (as highlighted in the chart below).

       Mr. Cardwell is respected in and out of the Firm.

       180.    On October 7, 2016, a Davis Polk associate from a non-M&A group sent the

following email to Mr. Cardwell: “Was just at drinks with a classmate of mine, he was RAVING

about how wonderful you are to work with, etc etc [sic] etc.” (emphasis in original email). The


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non-M&A associate was referring to a White junior M&A associate who was working on the

restructuring deal (as noted above) with a senior M&A associate and Mr. Cardwell.

       181.    The same institutions and individuals that Davis Polk viewed as the authority with

respect to a variety of assessments and trainings related to measuring and improving law firms,

lawyers’ development, and diversity and inclusion outcomes, are the same institutions and

individuals that objectively viewed Mr. Cardwell as having exceptional judgment and

competencies related to lawyering, law firms, and the legal profession.

       182.    In October 2016, a senior director of Diversity and Inclusion at the New York

City Bar recruited Mr. Cardwell to join the New York City Bar’s Civil Rights Committee. Mr.

Cardwell subsequently joined. A few months later, that same director, a person with a widely

recognized expertise related to working with legal employers (including Davis Polk) to foster

more diverse and inclusive work environments, recruited Mr. Cardwell to serve on the planning

committee for the New York City Bar’s inaugural Associate Leadership Institute, an American

Bar Association award-winning series of high-level development trainings for mid-level and

senior corporate law associates. Mr. Cardwell was recruited to help design curriculum and

training modules for the program’s participants—i.e., over 100 law firm associates from 47 law

firms within the first two years of the program’s operation. Mr. Cardwell served on the planning

committee and helped recommend, evaluate, and select participants from the program’s applicant

pool, the curriculum, and instructors for the training sessions.

       183.    Not only did members of Davis Polk’s leadership reach out to Mr. Cardwell at the

time to hear Mr. Cardwell’s assessment of the quality of the New York City Bar’s Associate

Leadership Institute, Davis Polk subsequently and successfully worked to get two of its highest

performing and most respected senior non-White associates to apply and be accepted into the


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associate leadership program that Mr. Cardwell helped design. Since the associate leadership

program’s inception, every year, Davis Polk has sent at least two of its highest performing senior

non-White attorneys to participate in the program.

       184.    On October 31, 2016, in a communication to a third-party, a senior Black

associate of the Firm and recipient of some of the Firm’s highest honors and praise, described

Mr. Cardwell in the following way: “I first became aware of [Mr. Cardwell] in the fall of 2014

through the Black Affinity Group (BAG), a support network and networking outlet for black

attorneys at the law firm where he and I work, Davis Polk & Wardwell LLP. As I have found to

be the case for others who come to know [Mr. Cardwell], before I met him, I knew his name and

of his ability to connect people to actionable ideas. In BAG, he exhibits leadership among more

senior attorneys and partners and quite frequently is deferred to once he has given his

input….[O]ur many conversations…have led me to see [Mr. Cardwell] as one of the few people

in an office of over 700 people who is my go-to person for key decision points, whether I’m

considering navigating the politics of potential partnership consideration or troubleshooting

ways to get better to ensure the success of our diverse peers.”

       185.    On December 5, 2016, a senior Black associate voluntarily emailed the Black

Attorney Group’s listserv and stated: “All, [o]ne of our own has been featured in the

[Metropolitan’s Black Bar Association’s] newsletter below. Congratulations, [Mr. Cardwell].”

The senior Black associate was drawing attention to the fact that the Metropolitan Black Bar

Association (i.e., New York City’s largest Black Bar Association) had featured Mr. Cardwell in

its “MBBA Leadership Spotlight.”

       186.    Also, in the Winter of 2016, a senior Black associate, then one of the Firm’s most

senior Black associates and a member of the Black Attorney Group’s Steering Committee (which


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served as a leadership sub-committee for the Black Attorney Group and a liaison between the

Firm’s leadership and the Black attorneys at the Firm), began to recruit Mr. Cardwell to join and

serve on the steering committee. The senior Black associate recruited Mr. Cardwell instead of

and over a handful of eligible Black Davis Polk associates who were more senior than Mr.

Cardwell. Mr. Cardwell officially joined the Black Attorney Group’s Steering Committee in

December 2016 and at the time was the most junior Black Davis Polk associate on the

committee.

       187.    Throughout Mr. Cardwell’s time at the Firm, the Firm’s recruiting department

routinely praised Mr. Cardwell for his effort and impact and frequently asked Mr. Cardwell to

attend or assist with various recruiting and interviewing events. According to the performance

review documentation the Firm submitted to the NYSDHR, Mr. Cardwell’s 2015 annual

Summary Review stated that Mr. Cardwell “went above and beyond in regarding [sic] to

recruiting and the summer program.” (emphasis added). In other words, as noted previously,

Davis Polk’s partners initially evaluated Mr. Cardwell in a context that recognized that the Firm

routinely asked or expected Mr. Cardwell to commit to other Firm-related obligations that

created additional time constraints and responsibilities for Mr. Cardwell, his class’s only Black

male associate. Similarly, according to the performance review documentation the Firm

submitted to the NYSDHR, Mr. Cardwell’s 2016 annual Summary Review noted that Mr.

Cardwell received a “commendation” for his pro bono/recruiting efforts.

       Still no work.

       188.    Defendants’ treatment and termination of Mr. Cardwell’s employment is directly

at odds with performance-related conclusions that Mr. Cardwell received from departments and

associates that Defendants could not easily manipulate or distort.


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       189.    Regarding the same months and years that Davis Polk associates, the Firm’s non-

Partner leadership, and countless others across the legal profession were increasingly praising,

recognizing, and consulting Mr. Cardwell for his ability to evaluate, navigate, and shape Davis

Polk and other legal institutions, Davis Polk pretextually argued to the NYSDHR that the abrupt

changes to Mr. Cardwell’s staffing and evaluation were because Davis Polk partners repeatedly

and legitimately reached a radically opposite conclusion about Mr. Cardwell and his

competency.

       190.    Defendants’ actions during the second half of 2016 and the beginning of 2017

cannot be credibly and honestly explained as anything other than discriminatory and retaliatory

conduct.

       191.    In addition to not staffing Mr. Cardwell on any deals and matters, virtually all of

Davis Polk’s M&A partners isolated and ignored Mr. Cardwell.

       192.    Week after week, for months, Davis Polk M&A partners walked by Mr. Cardwell

while knowing that they were not going to staff Mr. Cardwell on any assignments—while

knowing that at a law firm like Davis Polk, it is virtually impossible for an associate to go

throughout his or her day without encountering multiple lawyers and colleagues who would ask,

“So, what are you working on?” “Working on anything interesting?” “Have things been pretty

busy for you or the group?”

       193.    Week after week, for months, Mr. Reid, Mr. Bick, Mr. Birnbaum, and Mr. Wolfe,

refused to staff Mr. Cardwell and isolated Mr. Cardwell with the knowledge that otherwise

routine daily interactions—such as constantly being asked what type of legal matters one is

working on—would become a form of harassment and humiliation that almost always harms

associates’ well-being and leads to isolated associates feeling like they have no other choice but


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to so-called voluntarily leave their law firms. 26 During this period, Mr. Reid, Mr. Bick, Mr.

Birnbaum, Mr. Wolfe, and the other Individual Defendants caused Mr. Cardwell to similarly

experience a constant barrage of inquiries about staffing that contributed to a level of direct and

indirect forms of harassment and humiliation.

         Second Annual Face-to-Face Performance Review.

         194.     On December 20, 2016, Mr. Kreynin met with Mr. Cardwell and gave Mr.

Cardwell his December 2016 annual face-to-face review. Defendants’ treatment of Mr. Cardwell

in the second half of 2016 was not acknowledged or explained to Mr. Cardwell in his December

2016 annual face-to-face review. Like Mr. Cardwell’s June 2016 face-to-face review, at no point

during the conversation did Mr. Kreynin state or suggest (i) that Mr. Cardwell’s performance or

quality of work was inferior to the associates in his class or (ii) that someone at the Firm might

reach or had reached that conclusion. 27

         195.     During Mr. Cardwell’s December 2016 annual face-to-face review with Mr.

Kreynin, Mr. Kreynin briefly mentioned a few criticisms that were inconsistent with the real-

time feedback Mr. Cardwell had received during the period covered by the reviews. When Mr.

Cardwell explained that Mr. Kreynin’s feedback was inconsistent with his experiences and



26
   The harmful nature of the harassment and hostility that Mr. Cardwell suffered was recognized as such by a Davis
Polk M&A partner on February 8, 2018, as such partner acknowledged how the Firm’s refusal to staff Mr. Cardwell
was impacting Mr. Cardwell when he stated “[Mr. Cardwell] can’t just sit here. It is demoralizing for [Mr.
Cardwell].”
27
   Notably, when considerations related to poor performance are at issue, it is standard practice for Davis Polk to
make a distinction between (i) constructive criticism and suggestions for improvement and (ii) the Firm concluding
that an associate is performing poorly. In the case of the latter, it is standard practice for Davis Polk to uniformly
document associates’ poor performance with associates (particularly, performance issues that would have warranted
giving an associate a message that it was time for him or her to look for another job), any issued warnings, and the
written communications to such associates regarding the Firm’s conclusions and corrective plan of action. Davis
Polk failed to do so with Mr. Cardwell—over more than three years—because not only did Davis Polk, the Firm’s
M&A group, or the partners who gave Mr. Cardwell his face-to-face reviews never conclude prior to Mr. Cardwell
raising racial complaints and litigation that Mr. Cardwell was a poor performer or behind in his class, Mr. Cardwell
did not have a record of poor performance and did not make any mistakes that the Firm and M&A group considered
to be fundamentally different than the type made by a typical Davis Polk associate of Mr. Cardwell’s seniority.
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communications, he asked Mr. Kreynin for specific examples related to the criticisms. Mr.

Kreynin struggled to identify specific examples and ultimately gave Mr. Cardwell one example

of a single drafting mistake (i.e., the misspelling of an entity’s name that was spelled similar to

another entity referenced in the applicable documents) from Mr. Cardwell’s Last 2016 Deal,

which Mr. Cardwell was staffed on in August 16, 2016 and involved months were Mr. Cardwell

had billed almost 235 hours.

        196.     When Mr. Cardwell asked Mr. Kreynin if he was aware of any other mistakes or

could provide any other examples related to Mr. Kreynin’s criticisms, Mr. Kreynin said that he

didn’t have any other examples at that moment. Despite Mr. Cardwell’s request at the time, Mr.

Kreynin never followed-up with Mr. Cardwell to provide additional examples.

        197.     Notably, Mr. Kreynin made comments during the December 2016 face-to-face

review that clearly indicated that not only did Mr. Kreynin conclude that Mr. Cardwell was

qualified to be a Davis Polk associate, but that he thought Mr. Cardwell was ready to be staffed

on M&A deals that make up the core of Davis Polk’s mid-level and senior associate M&A deal

flow. It was in the context of reviewing and summarizing Mr. Cardwell’s reviews and telling Mr.

Cardwell that Mr. Cardwell was ready for more M&A responsibilities and complex work, not

less, that Mr. Kreynin said something to the effect of, “It would be good if you were the lead

attorney at the beginning of a deal that involved a stock purchase agreement.” 28 After the

December 2016 face-to-face review, 29 however, Mr. Cardwell’s workload continued to be almost




28
   Note that at no point during the meeting did Mr. Kreynin state or suggest that Mr. Cardwell was under any kind of
performance-related probation period or that the Firm or M&A group was going to or was contemplating giving Mr.
Cardwell another review in six months to further evaluate his standing or performance.
29
   As described below, Mr. Kreynin claimed in March 2017 that he had no idea that the Firm’s M&A staffing
partners were not staffing Mr. Cardwell on any assignments.
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completely nonexistent:



                                      Mr. Cardwell’s Billable Hours 30
                                         Month      # of Hours Billed
                                      January 2017          2.2
                                      February 2017         1.9
                                       March 2017           1.8




iii. Efforts to push Mr. Cardwell out not successful. Defendants step it up.

         198.     In the aftermath of Donald Trump being elected president in November 2016—

that is, a person who claimed the U.S.’s first Black president was not born in the United States

and who said there were “fine people on both sides” of a rally that involved members of White

Supremacist groups doing Nazi salutes and killing a woman with a vehicle—Mr. Cardwell

contacted Davis Polk’s pro bono leaders to see if they would be open to realigning Davis Polk’s

relationship with certain workers and immigrants who are routinely othered 31 and don’t yet

belong, 32 namely Black, Latino, and other stigmatized groups.

         199.     On December 5, 2016, Mr. Cardwell sent an email to Carey Dunne, a Davis Polk

partner who often oversaw criminal justice pro bono matters, regarding a Firm Client with a

violent and discriminatory reputation towards certain racial groups. That did not go well, as

several Davis Polk partners reacted as if Mr. Cardwell made an unforgivable demand.



30
   For additional context, Davis Polk associates typically average between 133 and 175 billable hours a month.
31
   According to the Othering and Belonging Institute (“OBI”), “othering” is a set of dynamics, processes, and
structures that [cause] marginality and persistent inequality across any of the full range of human differences based
on group identities. Dimensions of othering include, but are not limited to, religion, sex, race, ethnicity,
socioeconomic status (class), disability, sexual orientation, and skin tone.” People who are “othered” are often seen
as less than fully human.
32
   According to john a. powell and OBI, “To not belong is to be othered. To be less than. To be, as W. E. B. Dubois
said, a ‘problem.’ To belong is not just to be a citizen or member in the weakest sense, but to be able to participate in
cocreating the thing you belong to. This makes it different than inclusion.”
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       200.    Mr. Cardwell’s December 5, 2016 email read as follows:

               “Hi [Mr. Dunne],

               Hope this email finds you well. In light of the Presidential election, the conditions

               that contributed to its outcome and what is happening in our country, I wanted to

               briefly follow-up on our memo to [REDACTED].

               As a reminder, our initial memo detailed how blacks were being

               disproportionately and unfairly harmed by certain [prison-related] industries and

               companies. I’m hoping we can discuss what can be done to distance ourselves

               from [REDACTED] and ultimately end the firm’s relationship with

               [REDACTED].

               I’m not sure what that internal process would or could look like, or whether the

               firm has ever distanced itself from certain clients in the past, but I’d be interested

               in hearing what you think could or should be done. I look forward to hearing from

               you. Regards, [Mr. Cardwell]”

       201.    The memo that Mr. Cardwell referred to in the email referenced above used

publicly available information to research and detail several civil rights and human rights

violations that disproportionately impact Blacks, Latinos, Muslims, and immigrants. On this pro

bono matter, Mr. Dunne was aware that the Firm had authorized the removal of one of the

memo’s topics/sections due to what the Firm claimed was the possibility of a private for-profit

prison and immigrant detention company being “negatively impacted” (“Potentially Negatively

Impacted Private Prison Company”) by the memo. The removed/topic section did not mention or

name any companies, let alone the name of the Potentially Negatively Impacted Private Prison.




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       202.    Mr. Dunne replied to Mr. Cardwell’s email and noted that he “did not know what

relationship, if any, the firm still ha[d] with” the Potentially Negatively Impacted Private Prison

Company. In his reply, Mr. Dunne also indicated that he thought it might make sense for him

(i.e., Mr. Dunne) to “flag for the management committee the concern about this type of client.”

       203.    After Mr. Cardwell’s inquiry with Mr. Dunne about a racially harmful Davis Polk

client and related discrimination, Mr. Bick, Mr. Birnbaum, Mr. Wolfe, and Davis Polk did not

staff Mr. Cardwell on any billable assignments for the next four months (i.e., from December

2016 through April 2017). As noted in the charts above, from January 2017 through March 2017,

Mr. Cardwell billed a total of only 5.9 hours, a number that is jarring in any law firm context and

even more when one considers how busy Davis Polk’s M&A group was during this period.

       204.    To this point, Mr. Cardwell observed that similarly situated non-Black associates

remained continuously staffed on assignments by Mr. Birnbaum and Mr. Wolfe, thereby

allowing such associates to generate billable hours, further develop as attorneys, and continue to

build relationships with attorneys and professionals in and outside of the Firm. As stated

previously, Mr. Cardwell was the only Black male in his class of over 120 associates.

Defendants’ actions resulted in disparate treatment of Mr. Cardwell in comparison to similarly

situated non-Black associates.

       205.    The elimination of Mr. Cardwell’s billable hours is noteworthy considering both

the Firm’s revenue and profit structure and Firm’s primary reason for hiring Mr. Cardwell and

other associates, are, at their core, primarily and inextricably tied to associates’ billable hours.

This, of course, is in addition to the Firm’s perennial emphasis on the billable hour as the

measuring stick by which one escalates the rungs of partnership. In the context of Davis Polk and

its staffing systems and practices, it is not plausible that one of the Firm’s only Black M&A


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associates could be staffed on zero assignments by Mr. Birnbaum and Mr. Wolfe and bill zero or

virtually zero hours for months at a time, all without M&A and Firm partners and leaders

noticing and wondering what was going on.

        206.     As early as January 2017, and for the next couple of months, Mr. Cardwell had

indicated on his weekly workload request/capacity form that he had 100% availability to take on

new assignments. 33 As noted earlier, the weekly workload request/capacity form is regularly

reviewed and relied upon to make staffing decisions. It is not possible that Mr. Cardwell’s

availability to take on deals and assignments was merely overlooked for four to six months. Mr.

Reid’s, Mr. Bick’s, Mr. Wolfe’s, Mr. Birnbaum’s, and Davis Polk’s decision to cease assigning

work to Mr. Cardwell was made intentionally, with malice or reckless disregard, and was

motivated in whole or in part by Mr. Cardwell’s race and his legally protected complaints.

        207.     After Mr. Cardwell raised a racial complaint on December 5, 2016, it took the

following number of days for the following Davis Polk partners to send Mr. Cardwell an email

of any kind (notwithstanding group emails to practice groups and other listservs (e.g., to “All

Lawyers”)):

             a. Mr. Bick, an M&A partner, went the next 148 days without emailing Mr.

                 Cardwell (i.e., from about December 6, 2016 - May 3, 2017);

             b. Louis Goldberg, an M&A partner, went the next 148 days without emailing Mr.

                 Cardwell (i.e., from about December 6, 2016 - May 3, 2017);




33
   Certainly, prior to January 2017, Mr. Cardwell’s steady decrease in billable hours beginning in September 2016
and the weekly workload request/capacity forms that Mr. Cardwell was submitting from that time going forward
made it objectively known and predictable to Mr. Bick, Mr. Birnbaum, and Mr. Wolfe that, if they did not staff Mr.
Cardwell, Mr. Cardwell’s billable hours would increasingly and drastically decline or be effectively eliminated in
October, November, and December of 2016.
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   c. Phillip Mills, an M&A partner, went the next 190 days without emailing Mr.

       Cardwell (i.e., from about December 6, 2016 - June 14, 2017);

   d. Lee Hochbaum, an M&A partner, went the next 225 days without emailing Mr.

       Cardwell (i.e., from about December 6, 2016 - July 19, 2017);

   e. Mr. Birnbaum—except for a February 24, 2017 email to Mr. Cardwell that

       instructed Mr. Cardwell where he could pick up his paycheck—went the next 268

       days without emailing Mr. Cardwell (i.e., from about December 6, 2016 - August

       31, 2017);

   f. John Amorosi, an M&A partner, went the next 276 days without emailing Mr.

       Cardwell (i.e., from about December 6, 2016 - September 8, 2017);

   g. Michael Davis, an M&A partner, went the next 276 days without emailing Mr.

       Cardwell (i.e., from about December 6, 2016 - September 8, 2017);

   h. Leonard Kreynin, an M&A partner, went the next 320 days without emailing Mr.

       Cardwell (i.e., from about December 6, 2016 - October 22, 2017);

   i. Oliver Smith, an M&A partner, went the next 374 days without emailing Mr.

       Cardwell (i.e., from about December 6, 2016 - December 15, 2017); and

   j. Mr. Chudd, Mr. Wolfe, Mr. Butler, Gar Bason Jr., Joe Rinaldi, William Aaronson,

       and William Taylor—all M&A partners—did not send Mr. Cardwell a single

       email in all of 2017 (which means that, from December 6, 2016 -January 1, 2018,

       these M&A partners went about 391 days without sending Mr. Cardwell any

       emails).

208.   At all relevant times, all of Davis Polk’s M&A partners were White men.




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          209.   The lack of written communication from Davis Polk’s M&A partners was not

mitigated through face-to-face or phone conversations between such persons and Mr. Cardwell,

as such conversations were similarly and virtually non-existent. Relatedly, the lack of

communication noted in this Complaint was not because Davis Polk’s M&A partners were vastly

outnumbered by Davis Polk’s M&A associates, as Davis Polk’s M&A group had approximately

one M&A partner in the Firm’s New York office for every two M&A associates in its New York

office.

          Mr. Cardwell Gains New “Career Advisors.” They Don’t Talk to Mr. Cardwell Either.

          210.   On January 20, 2017, Davis Polk Junior Staffing Coordinator #2 emailed Mr.

Cardwell (with Mr. Bick and Mr. Butler cc’d) informing Mr. Cardwell that Mr. Bick and Mr.

Butler had recently become Mr. Cardwell’s “Career Advisors” through the Firm’s corporate

department’s Career Advisor program.

          211.   This pairing allowed Mr. Bick, Mr. Butler and the other defendants to create a

roadblock between Mr. Cardwell and Davis Polk partners who otherwise would have treated Mr.

Cardwell as similarly situated non-Black Davis Polk attorneys.

          212.   According to the Firm’s description of the program at the time, advisors (i) “will

be strongly encouraged to work with their advisees to foster direct involvement with skill

building,” (ii) “are encouraged to include their advisees on pitches, client service team

discussions, and general conversations about the firm’s business goals,” and (iii) are “expected to

maintain a dialogue with his or her advisees for the duration of the associate’s time at the

firm.” (emphasis added).

          213.   Such communications and internal programs, among others, recognize that there

is a causal relationship between partners having “direct involvement” with junior associates and


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(i) associates’ development in the areas of “skill building,” (ii) “pitches” that enable attorneys to

become familiar with and ultimately obtain high-paying and sophisticated clients, and (iii)

“client service”—all things that impact an associate’s financial/professional trajectory and

partnership prospects within Davis Polk and the broader legal profession.

       214.    In keeping with both the Firm’s Career Advisor Program and the discrimination

complaints that Mr. Cardwell raised in 2015 and 2016, on or about January 20, 2017, Mr.

Cardwell responded to Davis Polk Junior Staffing Coordinator #2’s email (with Mr. Bick and

Mr. Butler cc’d) with the following:

       “Many thanks. I look forward to learning how the Career Advisor Program will

       supplement experiences and conversations that I’ve had (i.e., with managing partners,

       assignment coordinators, BAG meeting participants, etc.) regarding DPW interactions,

       opportunity/assignments, and career development.” (emphasis added).

       215.    Mr. Cardwell’s email directly refers to the same discriminatory acts that are

described in this Complaint, including the discrimination that Mr. Cardwell experienced and

complained about to (i) managing partner Mr. Reid in January 2016, (ii) assignment coordinator

Davis Polk Junior Staffing Coordinator #2 in September 2016, (iii) and multiple Davis Polk

partners and the Firm’s Director of Associate Development in the September 2015 Black

Attorney’s group meeting. Neither Mr. Bick nor Mr. Butler responded to or otherwise discussed

the January 2016 email with Mr. Cardwell.

       216.    From January 20, 2017 (i.e., the day the Firm assigned Mr. Cardwell “Career

Advisors”) to August 10, 2018 (i.e., Mr. Cardwell’s last day at the Firm), in direct violation of its

own career advisor policy and practices, Mr. Cardwell did not receive any communications from




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Mr. Bick or Mr. Butler about either the Career Advisor program, their role as “advisors,” or

anything related to Mr. Cardwell’s long-term career.

       217.    Also, Mr. Bick’s and Mr. Butler’s (among other defendants’) actions in

connection with Mr. Cardwell’s lack of interactions with the Firm’s Career Advisors program

were consistent with and reflected such defendants’ malice, as well as their willful discrimination

of and wantonly negligent or reckless disregard for Mr. Cardwell and Mr. Cardwell’s rights.

       218.    Notably, the Firm described the Career Advisor program at the time by stating,

“We believe the addition of advisory relationships will further ensure that Davis Polk’s

associates develop and succeed in a manner that continues to distinguish the firm.” To the

contrary, Defendants’ abrupt and complete isolation of Mr. Cardwell, as well as their decision to

knowingly restrict Mr. Cardwell’s “Career Advisors” to some of the ring leaders driving Mr.

Cardwell’s isolation, worked to ensure Mr. Cardwell would not be treated as similarly situated

non-Black Davis Polk attorneys. As if such actions weren’t enough, even after becoming Mr.

Cardwell’s “Career Advisor,” Mr. Bick, as he had done in the past, would routinely walk by Mr.

Cardwell in the hallway without speaking or even acknowledging Mr. Cardwell’s presence. Mr.

Cardwell observed that Mr. Bick did not ignore Mr. Cardwell’s White colleagues in this way.

       Mr. Cardwell is Completely Isolated.

       219.    Some evidence suggests that Defendants kept Davis Polk’s diversity and inclusion

leadership completely in the dark of Defendants’ unlawful treatment of Mr. Cardwell. It is

inconceivable that Mr. Cardwell's performance was both (i) so poor over an extended period of

time that it triggered Mr. Cardwell receiving no billable work for months and eventually

termination and (ii) somehow not poor enough to trigger a member of Davis Polk’s Diversity

Committee to reach out to Mr. Cardwell to discuss Mr. Cardwell's performance and work


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product, let alone work with Mr. Cardwell to implement a remediation plan over an extended

period of time.

       220.       The following is a list of Davis Polk partners and staff persons who, at the time,

were a part of Davis Polk’s official (and unofficial) Diversity Committee. The list below also

shows the number of days (leading up to January 1, 2018) that passed before Mr. Cardwell

received an email from each person listed below (i.e., notwithstanding group emails sent by such

persons to practice groups and other listservs (e.g., to “All Lawyers,” to the Black Attorneys

Group’s listserv)):

                  a. Kyoko Takahashi Lin, a Corporate Partner, went about 458 days without

                      sending Mr. Cardwell any emails (i.e., from about September 30, 2016 -

                      January 1, 2018).

                  b. Davis Polk’s Executive Director went about 593 days without sending Mr.

                      Cardwell any emails (i.e., from about May 18, 2016 - January 1, 2018.

                  c. Monica Holland, a Corporate Partner who also served as the Chair of the

                      Diversity Committee, went about 584 days without sending Mr. Cardwell any

                      emails (i.e., from about May 27, 2016 - January 1, 2018).

                  d. Maurice Blanco, a Corporate Partner who also served as the Firm’s hiring

                      partner, went about 584 days without sending Mr. Cardwell any emails (i.e.,

                      from about May 27, 2016 - January 1, 2018).

                  e. James McClammy, Davis Polk’s only Black partner at the time, went about

                      613 days without sending Mr. Cardwell any emails (i.e., from about April 28,

                      2016 - January 1, 2018, except for an October 30, 2017 email that was sent to

                      confirm whether Mr. Cardwell would be attending an affinity group meeting).


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                 f. Byron Rooney, a Corporate Partner, went about 670 days without sending Mr.

                     Cardwell any emails (i.e., from about March 2, 2016 - January 1, 2018).

                 g. Sartaj Gill, a Corporate Partner, went about 730 days without sending Mr.

                     Cardwell any emails (i.e., he did not email Mr. Cardwell at any point in 2016

                     or 2017).

                 h. Elliot Moskowitz, a Litigation Partner, went about 730 days without sending

                     Mr. Cardwell any emails (i.e., he did not email Mr. Cardwell at any point in

                     2016 or 2017).

        221.     Notably, Mr. Reid went about 711 days without sending Mr. Cardwell any emails

(i.e., from about January 21, 2016 - January 1, 2018). The lack of written communication from

partners and staff persons who, at the time, were a part of Davis Polk’s official (and unofficial)

Diversity Committee was not mitigated through face-to-face or phone conversations between

such persons and Mr. Cardwell, as such conversations were similarly and virtually non-existent.

        222.     Mr. Cardwell’s isolation included both a lack of direct communication from

Defendants and senior members of the Firm and a complete lack of assignments for an

impermissible period of time.

        223.     Davis Polk did not staff Mr. Cardwell on any matters in December 2016.

        224.     Davis Polk did not staff Mr. Cardwell on any matters in January 2017.

        225.     Davis Polk did not staff Mr. Cardwell on any matters in February 2017. 34

        226.     Davis Polk did not staff Mr. Cardwell on any matters in March 2017.




34
  In February 2017, Davis Polk staff members confirmed that Mr. Birnbaum and Mr. Wolfe had been consistently
receiving Mr. Cardwell’s weekly capacity form. This February 2017 incident is the sixth time that Mr. Cardwell
actively flagged personally experienced discrimination and actively sought help from Davis Polk and persons with
sufficient authority to address it.
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            227.    After almost a full year of constant disparate treatment, Defendants decided that

they had to go beyond merely waiting for Mr. Cardwell and his career “to implode.” Instead,

Defendants attempted to permanently collapse and cripple Mr. Cardwell’s career themselves.

            228.    Defendants’ intentional decision to not staff Mr. Cardwell on any matters from

December 2016 through March 2017 was motivated, in whole or in part, by Mr. Cardwell’s race

and his legally protected complaints.

            229.    In a March 3, 2017 email to Sharon Katz, Davis Polk’s Special Counsel for Pro

Bono, Mr. Cardwell again raised the issue of the Firm’s relationship with a private for-profit

prison and immigrant detention company whose policies and practices disproportionately

discriminated against and dehumanized Blacks and other marginalized groups. 35


35
     Mr. Cardwell’s email to Ms. Katz stated:

“In light of your and the firm’s recent efforts to address Trump’s Muslim ban (and his immigration and policing
policies more broadly), I wanted to loop you into the email conversations below. As you’ll read, [Mr. Dunne]’s
comments suggest that he did not have a conversation with the management committee at the time the conflict first
became known and that he hadn’t discussed it with them prior to the communications below. Considering [Mr.
Dunne]’s public track record with [REDACTED] and other related efforts, I was disappointed to not receive
confirmation that he or someone else had attempted to resolve the conflict, as I understand occasionally is
attempted when billable work is at issue.

Based on [Mr. Dunne]’s response, I can only assume that [Mr. Dunne] and I reached different conclusions about
the nature of the firm’s conflict of interest, as well as the scale and scope of the racial and moral dimensions that
are bound in the links between (i) race and U.S. incarceration and (ii) Trump’s (and his administration’s) recent
actions and U.S. incarceration. To this point, and I’m happy to say more later, I think both the conflict noted below
and current political realities bear a striking resemblance to [Davis Polk’s] history with Brown v. Board of
Education, a case that led then present-day thinkers and legal communities to conclude that the government’s
position and actions would inevitably create and maintain racial hierarchies and dehumanizing practices.

Certainly, and in addition to the findings in the (attached) memo, many have recently concluded that a number of
groups—blacks, Latinos, Muslims, immigrants, LGBTQ and trans folks, among others—have been experiencing
harms that in many ways go beyond separate and supposedly equal treatment. (Relatedly, see “Sessions Indicates
Justice Department Will Stop Monitoring Troubled Police Agencies” and Sessions: “US to continue use of privately
run prisons.”)

It is my hope that my comments above will provide additional context and guidance on what could and should be
done regarding [Davis Polk’s] relationship with [REDACTED]. Obviously, there’s much that could be said and that
must be considered. Please let me know if you’re available next week to discuss the above and below.

I’d greatly appreciate hearing what you think could be done to ensure that [Davis Polk] isn’t simultaneously
assisting (i) clients that are being targeted by racist and xenophobic policies and practices and (ii) clients that are
incarcerating them.”
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       230.    At Ms. Katz’s request and arrangement, Mr. Cardwell later met with her and Mr.

Reid on March 9, 2017. During their meeting, Mr. Reid gave Mr. Cardwell a verbal commitment

that the Firm would no longer represent the private prison and immigrant detention client.

       231.    At the conclusion of the March 9, 2017 meeting—and without any prior

discussion related to Mr. Cardwell’s workload, assignment history, or quality of work—Mr. Reid

voluntarily acknowledged and conceded that Mr. Cardwell’s prior and current workloads were

low, that they were low for reasons that were “not [Mr. Cardwell’s] fault,” and that the staffing

issue needed to be “fixed” by the Firm and M&A group. Mr. Reid made such statements in the

presence of Ms. Katz.

       232.    As a reminder, Mr. Reid was Davis Polk’s managing partner and had previously

communicated that he had a personal habit of reviewing associates’ files and performance

reviews prior to meeting with associates. It is not plausible that, out of thin air, Mr. Reid had

described Mr. Cardwell’s staffing issues as “not [Mr. Cardwell’s] fault”—or that Mr. Reid would

make such comments without first speaking with the Firm’s M&A partners and reviewing Mr.

Cardwell’s file and performance reviews.

       233.    Almost two weeks went by and Mr. Cardwell still had not been assigned to or

staffed on any matters.

       234.    On March 21, 2017, Mr. Cardwell emailed a written request to Davis Polk’s

Director of Associate Development and asked if Mr. Cardwell could review his personnel “file

and all the performance reviews that [he] had received to date.” Davis Polk’s Director of

Associate Development said that she would “look into [Mr. Cardwell’s] request,” subsequently

declined Mr. Cardwell’s request, and informed Mr. Cardwell that once she received his request,

she decided to arrange a meeting between Mr. Cardwell, Mr. Reid, and Mr. Kreynin. Mr.


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Cardwell asked Davis Polk’s Director of Associate Development if the Firm was prohibiting Mr.

Cardwell’s request because doing so was the Firm’s policy or practice. Despite the fact that, at

the time, the Firm’s Lawyer’s Handbook 36 did not prohibit attorneys from reviewing their

performance reviews, Davis Polk’s Director of Associate Development told Mr. Cardwell that it

was both “a policy and practice” at Davis Polk to prohibit associates from reviewing or accessing

their performance reviews.

        235.     Because Mr. Cardwell did not have any conversations with Davis Polk’s Director

of Associate Development about his recent conversations with Mr. Reid, and did not ask Davis

Polk’s Director of Associate Development to arrange any meetings, Mr. Cardwell emailed the

following second request to Davis Polk’s Director of Associate Development:

        “[I]n light of the fact that you informed me that I’ll be meeting with [Mr. Reid, Mr.

        Kreynin, and Davis Polk Junior Staffing Coordinator #1]—I’d like to repeat my request

        to review my file and all of the reviews to date. At the moment, I’ll be the only person in

        the meeting who hasn’t had a chance to review my file and I think the conversation will

        be much more productive if I have that opportunity and can start the meeting with a

        shared understanding as the other participants. Can you follow-up with [Mr. Reid] and

        let me know if you’ll be able to satisfy my second request? Regards, [Mr. Cardwell]”

        236.     Mr. Cardwell’s request was once again rejected. At no point during any of Mr.

Cardwell’s face-to-face reviews—i.e., his May 2015 face-to-face review, his December 2015

face-to-face review, his sham June 2016 face-to-face review, or his December 2016 face-to-face

review—was Mr. Cardwell allowed to review any of the documents associated with Mr.




36
  As noted above, Davis Polk’s “Lawyers’ Handbook” serves as the Firm’s official resource that describes the
Firm’s policies and procedures.
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Cardwell’s performance reviews (e.g., performance reviews or Summary Reviews submitted by

Davis Polk’s attorneys).

       237.    After receiving Mr. Cardwell’s second request on March 21, 2017, Davis Polk’s

Director of Associate Development, Mr. Reid, and Davis Polk did not offer Mr. Cardwell the

option to review a redacted version of his performance reviews, which, at the least, would have

provided a layer of anonymity for the reviewers. Davis Polk’s Director of Associate

Development, Mr. Reid, and Davis Polk also did not offer Mr. Cardwell the option of viewing

his performance reviews on the condition that he would be prohibited from (i) taking the

performance reviews out of a Firm-designated reviewing room or (ii) making copies. Instead,

Davis Polk’s Director of Associate Development, Mr. Reid, and Davis Polk categorically denied

Mr. Cardwell’s requests to review his personnel file and performance reviews and arranged a

meeting with the Firm’s Managing Partner and Mr. Kreynin.

       238.    Davis Polk’s and Mr. Reid’s refusal to allow Mr. Cardwell to review his

performance reviews was alarming not just for the reasons stated above but also because Davis

Polk and Mr. Reid, among other Firm partners, were aware (and previously acknowledged) that

the Firm’s performance-related assessments and reviews often contained evidence of racial bias

and disparate treatment.

       239.    Davis Polk’s Director of Associate Development scheduled Mr. Cardwell’s

meeting with Mr. Reid and Mr. Kreynin for March 29, 2017. According to the documentation

that Davis Polk provided to the NYSDHR, Mr. Kreynin did not submit his Summary Review of

Mr. Cardwell’s December 2016 annual face-to-face review to the Firm’s records department

until March 28, 2017—a date that is almost 100 days after Mr. Kreynin met and gave Mr.




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Cardwell his face-to-face review on December 20, 2016 and just one day before Mr. Cardwell

met with Mr. Reid and Mr. Kreynin.

       240.    Common sense and this Complaint make it clear that it is not plausible that Mr.

Reid met with Mr. Cardwell on March 29, 2017 without first speaking with the Firm’s M&A

partners and reviewing Mr. Cardwell’s file and performance reviews.

       One Final Warning: Let the Past be the Past, Or Else.

       241.    On March 29, 2017, Mr. Cardwell met with Mr. Reid and Mr. Kreynin. Mr. Reid

began the meeting by attributing Mr. Cardwell’s dearth of work assignments to himself (i.e., Mr.

Reid) and the Firm and stated that he (i.e., Mr. Reid) and the Firm had “dropped the ball” and

made mistakes. Regarding staffing deficiencies and which Davis Polk partners were responsible,

Mr. Reid stated that Mr. Cardwell should let the past be the past and focus on things going

forward. Without using any aggressive or threatening body language or verbal tones, Mr.

Cardwell responded by asking Mr. Reid to explain how multiple staffing partners and other

partners “dropped the ball,” over the last five or six months, all at the same time. Mr. Reid

responded by saying that it wouldn’t be helpful to discuss the past. Mr. Cardwell responded by

asking Mr. Reid and Mr. Kreynin if they thought it was unreasonable for Mr. Cardwell to want to

know who “dropped the ball” and how they “dropped the ball.” Mr. Reid responded by telling

Mr. Cardwell again that the Firm simply wasn’t going to answer those questions. Mr. Cardwell

asked Mr. Reid if Mr. Reid could arrange a meeting with Mr. Bick so that Mr. Bick could help

Mr. Cardwell understand how the Firm and the M&A partners “dropped the ball” and how it was

possible that Mr. Bick didn’t know that Mr. Cardwell wasn’t receiving any assignments. Mr.

Reid responded by saying that he and the Firm weren’t going to allow Mr. Cardwell and Mr.




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Bick to discuss the past. Mr. Reid also told Mr. Cardwell “it’s not like your career has been

destroyed.”

          242.   During the meeting, Mr. Cardwell noted that he was uncomfortable with the

Firm’s performance review process and noted that racial biases were influencing performance

evaluations.

          243.   This March 29, 2017 incident is the seventh time that Mr. Cardwell flagged

personally experienced discrimination and actively sought help from Davis Polk and persons

with sufficient authority to address it.

          244.   Mr. Cardwell reminded Mr. Reid that the diversity and inclusion consultants that

the Firm brought in had also noted the Firm’s performance reviews were likely to reflect racial

biases.

          245.   Mr. Reid was unrelenting in stating that there wouldn’t be any discussions or

investigations of Mr. Cardwell’s past complaints or experiences. Notwithstanding that this was

not the first occasion that Mr. Cardwell had directly raised racial complaints with Mr. Reid, Mr.

Reid’s statements and actions evidence that Mr. Reid understood that Mr. Cardwell was making

a discrimination complaint. Mr. Reid should have but didn’t investigate Mr. Cardwell’s

expressed concerns and complaints about his interactions and the Firm’s performance reviews

being influenced by improper racial perceptions. Mr. Reid’s failure and refusal to investigate

and/or remedy the role that racial bias played in Mr. Cardwell’s reviews was a retaliation of Mr.

Cardwell’s legally protected complaints.

          246.   Mr. Reid told Mr. Cardwell that if Mr. Cardwell “let the past be the past,” the

Firm would be prepared to offer Mr. Cardwell unprecedented opportunities “unlike anything that

ha[d] ever been done.” Here, Mr. Reid had made it clear that he had enormous influence in


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decision-making processes related to Mr. Cardwell’s staffing, assessments, and the Firm’s

conclusions of those assessments. Mr. Reid was increasingly communicating Davis Polk’s

ultimatum to Mr. Cardwell: Mr. Cardwell could either have a career or he could seek the truth

and a lawful response to his employer’s illegal actions. Davis Polk would not allow Mr.

Cardwell to do both.

        247.     Mr. Cardwell reasonably and essentially asked how the Davis Polk leaders most

responsible for a coordinated and strategic disregard of the law and equitable systems had

miraculously reinvented themselves into the solutions of problems they actively created and

maintained. 37

        248.     Specifically, Mr. Cardwell explained to Mr. Reid it would be difficult to have

confidence in a plan going forward because Mr. Reid and the Firm were refusing to (i) tell Mr.

Cardwell how the “ball was dropped” over the last six months and who “dropped the ball,” (ii)

arrange a meeting with Mr. Cardwell and Mr. Bick, the head of M&A, to discuss what went

wrong, or (iii) allow Mr. Cardwell to review his performance reviews.

iv. Explicit Threats to Mr. Cardwell’s Career to Halt Racial Complaints and Protect

Defendants.

        249.     Mr. Reid told Mr. Cardwell that if “this continues” and if Mr. Cardwell did not

simply drop whatever mistakes the M&A partners and the Firm made in the past and move

forward, Mr. Cardwell would be “out of the game” and “off the field.” Indeed, Mr. Reid’s

comments revealed that not only could the Firm take Mr. Cardwell “out of the game” and “off

the field” (with an adverse employment action), but certain defendants had already taken steps to



37
  Aa further explained below, the same Davis Polk partners and leaders that were connected to Mr. Cardwell’s
discrimination and retaliation experiences from 2015 through 2018, among other unlawful interactions, were the
persons who were the primary decision-makers in Davis Polk’s decision to terminate Mr. Cardwell’s employment.
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create the appearance of a legitimate, non-discriminatory reason for past and future unlawful

actions—namely Mr. Bick’s and Ms. Hudson’s 2016 sham performance review. Relatedly, and

more directly, Mr. Reid’s comments revealed that if Mr. Cardwell didn’t stop flagging and

requesting that the Firm address racial discrimination that Mr. Cardwell was experiencing at

Davis Polk, Mr. Reid and the other defendants would exert his and their enormous influence not

just over Mr. Cardwell’s staffing but Mr. Cardwell’s employment status and career.

        250.    The meeting ended shortly after Mr. Reid made such threats to Mr. Cardwell and

with Mr. Reid emphatically insisting that Mr. Cardwell take a few days, or as much time as Mr.

Cardwell needed, to think things over. Mr. Cardwell responded by informing Mr. Reid that Mr.

Cardwell wasn’t sure what he was supposed to think over. Mr. Cardwell then explained that he

had never rejected any assignments or been a distraction to anyone at the Firm. Critically, both

Mr. Reid and Mr. Kreynin accepted, without objection, Mr. Cardwell’s description of when and

how Mr. Cardwell accepted assignments. 38 Mr. Cardwell then explained that if the Firm assigned

him work—any work—Mr. Cardwell would do the work and conduct himself with the same

professionalism that he had always displayed at the Firm. Mr. Reid ended the meeting by

repeating his statement that Mr. Cardwell should take some time and just think about things,

noting that they could have a follow-up conversation in a few days.

        251.    Mr. Reid’s message that if Mr. Cardwell did not “drop” his inquiries into

“whatever mistakes the Firm made in the past and move forward, [he] would be ‘out of the

game’ and ‘off the field”’ was clear in its intent to halt Mr. Cardwell’s complaints and

reasonable search for answers. Mr. Reid’s message was per se retaliation, as it was delivered to

chill and halt Mr. Cardwell’s protected activity.


38
  According to comments made by Mr. Reid and Mr. Kreynin during the meeting, Mr. Cardwell’s performance
reviews described Mr. Cardwell as engaged, hardworking, and enthusiastic.
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       252.    All of Mr. Reid’s comments, including Mr. Reid’s retaliatory threat, were made in

front of and was observed by Mr. Kreynin.

       253.    Mr. Reid’s (among other defendants’) actions in connection with Mr. Cardwell’s

March 29, 2017 meeting are consistent with and reflects such defendants’ malice, as well as their

willful discrimination of and wantonly negligent or reckless disregard for Mr. Cardwell and Mr.

Cardwell’s rights.

       254.    At no point during Mr. Cardwell’s March 29, 2017 meeting did Mr. Reid or Mr.

Kreynin state or conclude that Mr. Cardwell’s quality of work was a reason, let alone the reason,

why the Firm stopped staffing Mr. Cardwell on deals or giving him assignments. At no point

during Mr. Cardwell’s March 29, 2017 meeting did Mr. Reid or Mr. Kreynin state or conclude

that Mr. Cardwell’s performance reviews indicated that he was “behind” his peers or that his

performance was inferior to his peers at Davis Polk.

       255.    Immediately after the meeting, as Mr. Kreynin and Mr. Cardwell were walking

back to their offices, Mr. Kreynin told Mr. Cardwell that he had no idea Mr. Cardwell wasn’t

receiving any assignments. Having worked with Mr. Cardwell and being intimately familiar with

Mr. Cardwell’s performance reviews, Mr. Kreynin knew that there was no legitimate reason for

the Firm’s M&A staffing leaders to not have staffed Mr. Cardwell on deals and assignments. Mr.

Kreynin ended the brief conversation by telling Mr. Cardwell that had he known that Mr.

Cardwell wasn’t being assigned work, Mr. Kreynin would have made sure Mr. Cardwell was

staffed on his matters.

       256.    Two days later, on March 31, 2017, Mr. Cardwell emailed Mr. Reid and accepted

Mr. Reid’s offer to “take as much time as [Mr. Cardwell] need[ed]” to regroup: Mr. Cardwell

requested to use his unused vacation time, which totaled four weeks. Mr. Reid approved the


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request the same day. Prior to this incident, Mr. Cardwell had never requested to take four

consecutive weeks off.

       257.     Mr. Cardwell returned to the Firm on May 2, 2017. When Mr. Cardwell returned,

the Firm did not have a concrete plan in place (or communicate such plan) to staff Mr. Cardwell

on deals or address the issues discussed in the March 29, 2017 meeting with Mr. Reid.

       258.     Mr. Bick and Mr. Cardwell met on May 2, 2017. Instead of telling Mr. Cardwell

that Mr. Cardwell would be staffed in a manner that was consistent with the Firm’s normal

weekly work form request/capacity system (or why such system was sufficient for similarly

situated non-Black associates but not Mr. Cardwell), Mr. Bick told Mr. Cardwell that he was

going to “walk the halls and talk to partners to see what tasks [Mr. Cardwell] could be staffed

on.” (emphasis added). Unlike Mr. Cardwell, Davis Polk’s similarly situated non-Black

associates were staffed on deals and matters without Mr. Bick having to “walk the halls and talk

to partners.”

       259.     Though Mr. Reid, Mr. Bick, Mr. Wolfe, Mr. Birnbaum, and Davis Polk had all of

April 2016 to ensure that Mr. Cardwell would be staffed in a manner that was consistent with the

Firm’s normal weekly work form request/capacity system, such parties departed from the Firm’s

normal staffing process because of Mr. Cardwell’s race, his race-related discrimination

complaints, and Defendants’ unlawful actions.

       260.     Despite being Mr. Cardwell’s so-called “Career Advisor,” and despite the gross

gaps that M&A partners had created in Mr. Cardwell’s billable hours and resume, Mr. Bick also

told Mr. Cardwell that no one at the Firm was going to “actively monitor” Mr. Cardwell’s hours.

For the reasons noted in this Complaint, Mr. Bick’s statement is evidence of discriminatory and

retaliatory treatment, as it does not make sense for law firms and their practice group leaders to


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tell associates that they will not actively monitor associates’ hours. Such a practice, especially in

the case of Mr. Bick and Mr. Cardwell, Mr. Bick’s Firm-assigned mentee, would undermine the

basic incentive structure of a profitable, sustainable, non-discriminatory law firm and practice

group.

         261.   At no point during Mr. Cardwell’s May 2, 2017 meeting with Mr. Bick did Mr.

Bick state or suggest that Mr. Cardwell’s prior work performance was inferior to his peers or

below the Firm’s standards. At no point during Mr. Cardwell’s May 2, 2017 meeting with Mr.

Bick did Mr. Bick state or suggest that Mr. Cardwell’s prior assignment history was related to

Mr. Cardwell’s prior performance.

         262.   About fifty-five days after Mr. Reid first acknowledged that Mr. Cardwell’s

workload needed to be “fixed,” the Firm, on May 3, 2017, finally staffed Mr. Cardwell on his

first assignment. The Firm staffed Mr. Cardwell on a legal research memo that could have been

completed by a law student summer associate (i.e., a non-lawyer) who had little substantive

corporate experience or knowledge. Louis Goldberg, an M&A partner, was the partner who

oversaw the legal research memo. At the time, Mr. Goldberg told Mr. Cardwell that the

assignment was not particularly time sensitive and that he did not need to see a first draft of the

memo for another two or three weeks.

         263.   On or about May 19, 2017, Mr. Bick informed Mr. Cardwell that the Firm was

not going to staff Mr. Cardwell on another assignment until the legal research assignment was

completed. Mr. Cardwell informed Mr. Bick that the memo was not an assignment that required

100% of his capacity and that Mr. Goldberg set a deadline for the next stage of the draft that was

still a few days away. Mr. Cardwell also told Mr. Bick, “You do understand that this is the first

time anyone has told me that I wouldn’t receive another assignment until this first one was


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finished? And that since no one is ever staffed on a one-on-one basis, I had no way of knowing

that until this conversation?” Mr. Bick’s immediate response was, “Well, I’m sorry you didn’t

ask the right questions.” Consistent with his prior actions, Mr. Bick’s insult was entirely at odds

with the Firm’s policies and practices and directly reflects the discriminatory attitude Mr. Bick

had toward Mr. Cardwell.

        264.   Mr. Bick’s (among other defendants’) actions in connection with Mr. Cardwell’s

May 19, 2017 meeting are consistent with and reflects such defendants’ malice, as well as their

willful discrimination of and wantonly negligent or reckless disregard for Mr. Cardwell and Mr.

Cardwell’s rights.

        265.   All of Mr. Cardwell’s billable hours in May 2017 related to the legal research

memo.

        266.   On May 22, 2017, just a few days after meeting with Mr. Bick, and in direct

connection to Mr. Bick’s behavior and the environment Mr. Bick had created for Mr. Cardwell,

Mr. Cardwell informed Mr. Goldberg that he was feeling ill and that his sickness was caused by

experiences that he was having at the Firm. As a follow-up to a conversation about

discrimination that Mr. Goldberg had previously shared with Mr. Cardwell, Mr. Cardwell

emailed the following to Mr. Goldberg:

               “[Mr. Goldberg] [a]pologies for my delay in checking-in with you. Quite some

        time ago, you shared a story about your [family member] and certain improper factors….

        Though I’m sure you had your own way of processing that experience, it appeared to me

        that the experience involved unnecessary insults and a feeling that made you sick to your

        stomach.




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               Last week, I thought about that story as I thought more about my own story and

       experience here at [Davis Polk] (in addition to other similarly situated workers at [Davis

       Polk]), and I became ill. Though I’m still feeling and navigating the effects, I expect to

       return to the office tomorrow. Upon my return, I will complete the write-up as discussed

       and asap. I think that it will be in final form within 1 or 2 quick turnarounds. Regards,

       [Mr. Cardwell]”

       267.    In response to Mr. Cardwell’s email, Mr. Goldberg scheduled a May 23, 2017

meeting for himself, Davis Polk’s Executive Director, and Mr. Cardwell. The three of them met

on May 23, 2017.

       268.    During the meeting on May 23, 2017, Mr. Goldberg told Mr. Cardwell that Mr.

Goldberg didn’t know that Mr. Cardwell had requested to work with him on Mr. Cardwell’s

weekly workload request/capacity form. Mr. Goldberg also told Mr. Cardwell that Mr. Goldberg

didn’t know the degree to which Mr. Cardwell was currently staffed on other projects or hadn’t

previously been staffed on other projects. Regarding the legal research assignment, Mr. Goldberg

told Mr. Cardwell “this isn’t a test” to see if Mr. Cardwell should be staffed on more or different

types of assignments.

       269.    During the meeting on May 23, 2017, and like Mr. Goldberg, Davis Polk’s

Executive Director claimed that she wasn’t fully aware of how Mr. Cardwell had been

previously staffed and that Mr. Reid and Mr. Bick hadn’t yet brought her up to speed. Mr.

Cardwell told Davis Polk’s Executive Director that, without any reasonable justification, the

people responsible for staffing him did not staff Mr. Cardwell on any assignments.




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        270.     This May 23, 2017 incident is the eighth time that Mr. Cardwell actively flagged

personally experienced discrimination and actively sought help from Davis Polk and persons

with sufficient authority to address it.

        271.     Davis Polk’s Executive Director asked Mr. Cardwell who were the persons who

were primarily responsible for staffing him. Mr. Cardwell told Davis Polk’s Executive Director

and Mr. Goldberg that Mr. Reid, Mr. Bick, Mr. Birnbaum, and Mr. Wolfe were responsible for

staffing Mr. Cardwell. Mr. Cardwell asked Davis Polk’s Executive Director to talk to those

individuals, to investigate his staffing history and experience at the Firm, and to assess whether

Mr. Cardwell’s experience was in anyway normal. Davis Polk’s Executive Director suggested

that she would reach out to some or all the partners that Mr. Cardwell mentioned.

        272.     Notably, (i) the trigger for the meeting (i.e., Mr. Cardwell’s May 22, 2017 email

to Mr. Goldberg describing disparate treatment, harassment, and a hostile environment), (ii)

Davis Polk’s Executive Director’s involvement in the meeting (which was not requested by Mr.

Cardwell and is consistent with Davis Polk’s Executive Director’s role in addressing both race-

related issues at the Firm 39 and official discrimination complaints), and (iii) Davis Polk’s

Executive Director’s suggestion to follow-up on Mr. Cardwell’s request for an investigation all

indicate that Davis Polk’s Executive Director and Davis Polk understood that Mr. Cardwell had

made a complaint due to discrimination on the basis of his race, harassment, and/or a hostile

environment.

        273.     Davis Polk’s Executive Director never followed-up with Mr. Cardwell or had a

subsequent conversation with Mr. Cardwell about his staffing history, performance, or

experience at Davis Polk. Davis Polk’s refusal or failure to investigate (in addition to their


39
  As a reminder, on May 8, 2015, Mr. Cardwell sent an email to Davis Polk’s Executive Director and flagged a
racially discriminatory “inter-office,” personally-experienced pattern.
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decision not to communicate with Mr. Cardwell about his specific request for an investigation

into his staffing history and experience) were violations of the Firm’s discrimination policies and

a retaliation of Mr. Cardwell’s legally protected complaints.

       274.    Notably, however, there is evidence that someone at Davis Polk had determined

that Mr. Bick’s treatment of Mr. Cardwell and the environment that he had created for Mr.

Cardwell constituted unlawful, adverse employment actions, as Mr. Bick was demoted and

replaced as practice group leader of the Firm’s M&A group shortly after Mr. Cardwell had asked

Davis Polk’s Executive Director and Mr. Goldberg to follow-up with Mr. Reid and Mr. Bick and

investigate Mr. Cardwell’s staffing history, performance, or experience at Davis Polk.

       Mr. Cardwell Continues to Demand Equal Treatment and Files an EEOC Complaint.

       275.    On May 24, 2017, Davis Polk received notice that Mr. Cardwell had engaged

Outten & Golden LLP as his legal counsel. It was not until Mr. Cardwell’s counsel informed

Davis Polk of that fact (i.e., that Mr. Cardwell had engaged counsel) did the Firm assign Mr.

Cardwell to his first M&A deal in over eight months. For an M&A associate to not be staffed on

an M&A deal for such a long period of time (let alone without explanation), during a time period

in which the market is relatively healthy for M&A deal work, in a practice group whose core

revenue and advancement decisions are inextricably linked to M&A deals, constitutes

diminished responsibilities.

       276.    Davis Polk and certain defendants’ refusal to not staff Mr. Cardwell on a M&A

deal for the periods of time and manner described in this Complaint constitutes both an adverse

employment action and a hostile work environment.

       277.    After effectively experiencing radio silence with Davis Polk’s M&A attorneys for

months—beginning at the end of March 2017 and continuing throughout the rest of the year—


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Mr. Cardwell’s experience at the Firm continued 40 to be marked by a series of interactions where

Davis Polk partners treated Mr. Cardwell as if they were strategically trying to frustrate him or

get him to assume blame for things that were not incorrect, his fault, or under his control.

        278.     On June 21, 2017, Mr. Cardwell informed the Firm, in an email, that he had

experienced some health complications as a result of the Firm’s treatment of Mr. Cardwell.

        279.     On July 5, 2017, Mr. Brass replaced Mr. Wolfe as a staffing coordinator for the

M&A group. 41

        280.     On August 3, 2017, Mr. Cardwell filed Mr. Cardwell’s August 2017 EEOC Filing

and noted, among other things, that “the Firm has discriminated against [Mr. Cardwell] because

of [Mr. Cardwell’s] race and has retaliated against [Mr. Cardwell] because [Mr. Cardwell has]

actively raised awareness and concerns regarding issues of racial bias and disparate outcomes.” 42

        281.     On December 5, 2017, Davis Polk filed an Answer and Position Statement with

the NYSDHR in response to Mr. Cardwell’s August 2017 EEOC Filing (“Davis Polk’s

NYSDHR Answer and Position Statement”). Davis Polk’s NYSDHR Answer and Position

Statement detailed and confirmed additional discrimination and retaliation against Mr. Cardwell,

as their response included a number of intentionally false mischaracterizations that was triggered

by Mr. Cardwell’s August 2017 EEOC Filing.

        The Final, Sham Face-to-Face “Performance Review.”




40
   Mr. Cardwell experienced similar interactions on certain matters in 2016.
41
   On July 5, 2017, Mr. Birnbaum emailed the Firm’s entire corporate department to notify the Firm’s corporate
associates and partners that Mr. Brass and Mr. Birnbaum were the staffing coordinators for the Firms M&A group.
Mr. Birnbaum’s email stated that, “Going forward, requests for senior and mid-level M&A associates staffing
should be directed to [Mr. Brass] or me [i.e., Mr. Birnbaum]. [Davis Polk Junior Staffing Coordinator #1] will
continue to oversee staffing for junior associates in the M&A group.”
42
   Mr. Cardwell’s August 2017 EEOC Filing, specifically named, among others, Mr. Reid, Mr. Bick, Mr. Brass, Mr.
Birnbaum, and Mr. Butler in connection with various descriptions of unlawful violations and actions.
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       282.    After Davis Polk received notice that the relevant authorities had granted Mr.

Cardwell an extension (i.e., to January 10, 2018) to file a rebuttal to Davis Polk’s NYSDHR

Answer and Position Statement, Davis Polk strategically rescheduled and pushed back Mr.

Cardwell’s annual face-to-face review to January 11, 2018.

       283.    On January 11, 2018, just one day after Mr. Cardwell’s attorneys submitted on his

behalf a written rebuttal to Davis Polk’s NYSDHR Answer and Position Statement, two M&A

partners (“DAVIS POLK PARTNER #3” and “DAVIS POLK PARTNER #4”) conducted Mr.

Cardwell’s annual face-to-face review and gave Mr. Cardwell a negative performance

evaluation.

       284.    Both the Firm’s conspicuous rescheduling of Mr. Cardwell’s January meeting and

the related negative performance review are consistent with and reflects Defendants’ malice, as

well as their willful discrimination of and wantonly negligent or reckless disregard for Mr.

Cardwell and Mr. Cardwell’s rights.

       285.    Davis Polk’s negative performance evaluation was contrary to real-time feedback

Davis Polk partners, including DAVIS POLK PARTNER #3, had given Mr. Cardwell during the

periods covered in the annual face-to-face review (covering work done in 2017). In the face-to-

face review, DAVIS POLK PARTNER #3 and DAVIS POLK PARTNER #4 told Mr. Cardwell

that staffing him would be “challenging.”

       286.    During the face-to-face review, Mr. Cardwell explicitly asked DAVIS POLK

PARTNER #3 and DAVIS POLK PARTNER #4 if they could provide Mr. Cardwell with any

examples where Mr. Cardwell received, either in real-time or prior to the face-to-face review,

any of the criticisms about his work performance that DAVIS POLK PARTNER #3 and DAVIS

POLK PARTNER #4 had communicated during the face-to-face review. Mr. Cardwell also


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asked if DAVIS POLK PARTNER #3 and DAVIS POLK PARTNER #4 could provide any

examples that show that someone at the Firm had communicated to Mr. Cardwell that the quality

of his work was poor or that Mr. Cardwell was behind in his class. On both questions, DAVIS

POLK PARTNER #3 and DAVIS POLK PARTNER #4 failed to provide Mr. Cardwell with any

examples.

          287.   DAVIS POLK PARTNER #3—whom Mr. Cardwell worked directly with during

the applicable review period and who stated in the aftermath of Mr. Cardwell not receiving any

assignments for months that he’d “love to make [Mr. Cardwell] a better lawyer as best he

could”—acknowledged that neither him nor any other M&A partner had explicitly given Mr.

Cardwell negative feedback while working on any assignments that were a part of the review

period.

          288.   Mr. Cardwell explained that he had previously and repeatedly (i) requested real-

time feedback, including constructive criticism, (ii) informed (or made it clear to) Davis Polk

partners that he wasn’t the type of person to become combative or “shrink” or give less effort

upon receiving criticism, and (iii) explained that it was problematic that Mr. Cardwell was once

again in a face-to-face review with Davis Polk M&A partners where the real-time feedback he

received was radically different than the feedback in the face-to-face review.

          289.   Mr. Cardwell stated during the face-to-face review that, prior to the review and

while working on the discussed assignments, Mr. Cardwell never explicitly or implicitly received

the type of negative feedback that he was receiving during the face-to-face review. Mr. Cardwell

explained during the face-to-face review that it was a theme of his career and other Black

attorneys at Davis Polk that Davis Polk attorneys would say one thing while working with him

and other Black attorneys and then say another thing in his and other Black attorneys’


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performance reviews. Additionally, Mr. Cardwell explicitly talked about the role that implicit

bias, among other forms of bias, played in the timing and accuracy of the feedback that Mr.

Cardwell had received.

        290.   This January 11, 2018 incident is the ninth time that Mr. Cardwell actively

flagged personally experienced discrimination and actively sought help from Davis Polk and

persons with sufficient authority to address it.

        291.   Mr. Cardwell explained that he and other Black attorneys at the Firm had flagged

this discrepancy multiple times throughout his career and that he hoped DAVIS POLK

PARTNER #3 and DAVIS POLK PARTNER #4 understood why such a discrepancy had led

him to ask for specific examples where such negative feedback was indeed communicated to Mr.

Cardwell prior to the face-to-face review.

        292.   The meeting ended with a back and forth exchange that was prompted by DAVIS

POLK PARTNER #4 asking Mr. Cardwell if he had any questions. Mr. Cardwell asked DAVIS

POLK PARTNER #3 and DAVIS POLK PARTNER #4, “What is the Firm’s approach to

staffing me?” [DAVIS POLK PARTNER #4] replied by saying that “the Firm was trying to

figure out what [Mr. Cardwell] could be staffed on.” Mr. Cardwell replied with something along

the lines of, “Are you saying the Firm isn’t able to staff me any matters?”

DAVIS POLK PARTNER #3 responded by saying that Mr. Cardwell may need to be “flexible”

in terms of the type of matters he would be staffed on going forward. DAVIS POLK PARTNER

#4] asked Mr. Cardwell what Mr. Cardwell would like to be staffed on so that he could go back

to the M&A “staffing partners” to explain what Mr. Cardwell’s expectations were around

staffing.




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       293.    Mr. Cardwell stated that the Firm only needed to staff him “appropriately” and

that the M&A staffing partners shouldn’t think that staffing Mr. Cardwell appropriately means

that the Firm should or must staff Mr. Cardwell based Mr. Cardwell’s so-called “expectations.”

The meeting ended shortly after Mr. Cardwell informed DAVIS POLK PARTNER #3 and

DAVIS POLK PARTNER #4 that he wasn’t currently staffed on any assignments, that he had

always worked on whatever the Firm staffed him on, and that going forward he would also work

on any assignment the Firm chose to staff him on.

       294.     This January 11, 2018 meeting was the very first time anyone at Davis Polk had

ever expressed to Mr. Cardwell that someone at the Firm believed or had concluded (i) that Mr.

Cardwell appeared to be or was “behind” associates of the same class year or (ii) that the quality

of his work was supposedly poor.

       295.    Mr. Cardwell was not treated the same as similarly situated non-Black associates.

Between the meeting on January 11, 2018 and February 8, 2018, Mr. Reid, Mr. Bick, Mr.

Birnbaum, Mr. Brass, and Davis Polk did not staff Mr. Cardwell on any matters. Once again,

Defendants retaliated against Mr. Cardwell for his legally protected, race-based discrimination

complaints, including the complaints that he filed in the rebuttal that he filed on January 10, 2018

and communicated on January 11, 2018. Here, as in other cases described in this Complaint, Mr.

Cardwell’s protected activity was followed closely by discriminatory treatment and an adverse

employment action.

v. Defendants Terminate Mr. Cardwell’s Employment.

       296.    On February 8, 2018, Mr. Cardwell met with two M&A Davis Polk partners to

discuss the Firm’s purported inability to staff Mr. Cardwell. During the meeting, the M&A

partners informed Mr. Cardwell that Davis Polk would be terminating Mr. Cardwell’s


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employment and that such decision resulted from “talk[ing] to Mr. Bick,” “gather[ing] [Mr.

Cardwell’s] reviews,” and collectively deciding “as a group” that staffing Mr. Cardwell was “not

a situation that’s workable.” After a brief exchange, the M&A partners described not simply who

had the power and authority to terminate Mr. Cardwell’s employment, but the Davis Polk

partners in the “group” who had indeed decided to terminate Mr. Cardwell’s employment.

Ultimately, the M&A partners explained, by naming various individual partners, that Mr. Reid,

Mr. Bick, Mr. Brass and the other M&A staffing partners (i.e., Mr. Birnbaum and Mr. Wolfe)

had collectively decided to terminate Mr. Cardwell’s employment.

       297.    Notably, Davis Polk allowed the same partners who Mr. Cardwell (i) accused of

engaging in racial discrimination and retaliation or (ii) directly implicated in Mr. Cardwell’s

August 2017 EEOC Filing and other complaints (as noted in this Complaint) to have exclusive or

enormous influence over the Firm’s decision to terminate Mr. Cardwell’s employment.

       298.    In the course of this conversation, one of the M&A partners stated that Mr.

Cardwell’s departure was “not a good situation” and that what was happening to Mr. Cardwell at

Davis Polk was not good for Mr. Cardwell. The same M&A partner stated: “We have a

thousand percent confidence in your integrity…There's no issue with your integrity or behavior.”

       299.    Later in the conversation, the same M&A partner added: “We don’t feel good

about this. Okay? I wish this had been a much better experience and that it wasn’t ending this

way. […] That’s my personal view. You probably are very unhappy. […] If I were you, I would

be furious and unhappy and bitter. […] You may highly resent any number of us, including me.”

       300.    Less than a year after Mr. Reid threatened that Mr. Cardwell would be “out the

game” and “off the field” if Mr. Cardwell didn’t seize making legally protected complaints,

about six months after Mr. Cardwell filed Mr. Cardwell’s August 2017 EEOC Filing, and less


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than a month after Mr. Cardwell met with two Davis Polk M&A partners and expressly flagged

personally experienced discrimination in response to comments such partners made on January

11, 2018, the same two Davis Polk M&A partners from the January 2018 meeting told Mr.

Cardwell Davis Polk was terminating his employment.

        301.   Defendants’ termination of Mr. Cardwell’s employment constitutes an adverse

employment action.

        302.   Defendants’ terminated Mr. Cardwell’s employment (i) in whole or in part

because of Mr. Cardwell's race and (ii) because of the legally protected race-related

discrimination complaints that Mr. Cardwell complained about at Davis Polk. During the

relevant periods, Defendants’ did not similarly staff, isolate, or otherwise discriminate against,

harass, or terminate the employment of similarly situated non-Black associates.

        303.   Defendants’ discriminatory and retaliatory actions in connection with Mr.

Cardwell’s February 8, 2018 meeting and related termination are consistent with and reflects

Defendants’ malice, as well as their willful discrimination of and wantonly negligent or reckless

disregard for Mr. Cardwell and Mr. Cardwell’s rights.

        304.   On April 27, 2018, Mr. Cardwell filed a supplemental charge of discrimination

against Davis Polk and noted (i) that Davis Polk continued to discriminate and retaliate against

Mr. Cardwell and (ii) that Davis Polk’s treatment of Mr. Cardwell was consistent with its

treatment of other Black attorneys and workers who have worked or currently worked at Davis

Polk.

        305.   Mr. Cardwell’s final date of employment at the Firm was August 10, 2018.

        306.   Despite Defendants’ pretextual attempts to falsify and shift their conclusions

about Mr. Cardwell’s performance, staffing, and termination, Mr. Cardwell was fully qualified to


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be a Davis Polk associate (and, especially, a Davis Polk M&A associate) throughout his entire

tenure at Davis Polk.

                    TO COVER UP WHAT HAPPENED,
      DAVIS POLK CHANGED ITS CONCLUSIONS ABOUT MR. CARDWELL’S
               PERFORMANCE, STAFFING, AND TERMINATION

                              Prior Conclusion                       Pretextual Conclusion/Lie

                  May 2015:                                   December 5, 2017:

 Shifting         “Generally positive – organized,     “Cardwell exhibited performance
 Conclusions      high quality work, good attention to problems during his first rotation
 and              detail, hard worker.”                (September 2014 – April 2015)
 Explanations
 About Mr.                                                    Cardwell’s first rotation was with the
 Cardwell’s                                                   Credit group of the Davis Polk
 Performance            -   Davis Polk and Credit             Corporate Department….Senior
                            partner Jason Kyrwood’s           lawyers in the Credit group who
                            summary of (i) Mr.                worked with Cardwell noted
                            Cardwell’s performance            performance issues that were
                            during the first six months       troubling…
                            at Davis Polk (i.e., his first
                            rotation, which was with the      The Firm delivered this feedback to
                            Firm’s Credit group) and          Cardwell at the end of his Credit
                            (ii) Mr. Cardwell’s Sept.         rotation….”
                            2014 – May 2015
                            Performance Reviews               “Similar problems emerged during the
                                                              next rotation, in the M&A
                                                              group…echoing the themes that had
                                                              emerged during Cardwell’s first
                                                              rotation in the Credit group.”


                                                                 -    Davis Polk (with substantial
                                                                      assistance from the Individual
                                                                      Defendants) in its EEOC
                                                                      Answer and Position
                                                                      Statement




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                  TO COVER UP WHAT HAPPENED,
    DAVIS POLK CHANGED ITS CONCLUSIONS ABOUT MR. CARDWELL’S
             PERFORMANCE, STAFFING, AND TERMINATION

                         Prior Conclusion                      Pretextual Conclusion/Lie

                December 1, 2015:                       December 5, 2017:
Shifting
Conclusions    “Rising/Shining Star at Davis Polk”      “And the Firm’s senior leadership—
and                                                     including the Managing Partner—
Explanations                                            expended considerable time and effort
About Mr.         - Mr. Reid’s description of           to coach Cardwell and give him time,
Reid’s and the        Mr. Cardwell during Mr.           and multiple opportunities, to
Firm’s                Cardwell’s third rotation         improve.”
Interest in           (i.e., in the Capital Markets
Mr. Cardwell          group) and after Mr.                 -    Davis Polk (with substantial
and Mr.               Cardwell had completed a                  assistance from the Individual
Cardwell’s            rotation in the Firm’s M&A                Defendants) in its EEOC
Future at the         group                                     Answer and Position
Firm                                                            Statement




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                  TO COVER UP WHAT HAPPENED,
    DAVIS POLK CHANGED ITS CONCLUSIONS ABOUT MR. CARDWELL’S
             PERFORMANCE, STAFFING, AND TERMINATION

                        Prior Conclusion                       Pretextual Conclusion/Lie

               March 2, 2016 (paraphrasing):            December 5, 2017:

Shifting       “I’m sorry we couldn’t get you           “Rather, Cardwell’s hours already
Conclusions    more work during your capital            had been uneven throughout 2016, as
and            markets rotation. There was an           noted above. This unevenness
Explanations   unusual slowdown in the capital          reflected what partners in both
About Mr.      markets industry. Our Capital            Capital Markets and M&A had
Cardwell’s     Markets group was slow as a result       explained: Cardwell’s record of poor
hours,         and many of the Firm’s junior            performance made it difficult to staff
assignments,   capital markets associates had           him.”
and staffing   periods where they were just sitting
               around.”

                  -   Capital Markets partner              -    Davis Polk (with substantial
                      Byron Rooney to Mr.                       assistance from the Individual
                      Cardwell about why Mr.                    Defendants) in its EEOC
                      Cardwell wasn’t staffed on                Answer and Position
                      more capital markets                      Statement
                      assignments during his
                      rotation in capital markets
                      (i.e., from Oct. 2015 – April
                      2016)

               From a 2017 Publication:

               “Capital markets is a large part of
               our firm…. In the beginning of
               2016, the signs ahead were
               challenging.”

                  -   Mr. Reid, as quoted in an
                      American Lawyer article
                      that described a decrease in
                      capital markets work at
                      Davis Polk by writing,
                      “Although demand
                      increased in restructuring, it
                      declined in [Davis Polk’s]
                      capital markets practice.”


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                  TO COVER UP WHAT HAPPENED,
    DAVIS POLK CHANGED ITS CONCLUSIONS ABOUT MR. CARDWELL’S
             PERFORMANCE, STAFFING, AND TERMINATION

                         Prior Conclusion                     Pretextual Conclusion/Lie

               August 4, 2016:                         December 5, 2017:

Shifting       “Not at all.”                           “By [the summer of 2016], the
Conclusions                                            substantive problems with Cardwell’s
and                                                    work…were significant and were
Explanations                                           translating into increasingly serious
about Mr.                                              problems staffing him on a consistent
Cardwell’s                                             basis.”
Staffing

                  -   Davis Polk Junior Staffing          -    Davis Polk (with substantial
                      Coordinator #1’s response                assistance from the Individual
                      when Mr. Cardwell asked,                 Defendants) in its EEOC
                      “[H]as anyone made a                     Answer and Position
                      decision to limit my                     Statement
                      involvement to certain types
                      of deals and matters”?

               September 8, 2016 (paraphrasing):       December 5, 2017:

Shifting       “I asked you if you’d accept a non-     “By [the summer of 2016], the
Conclusions    M&A assignment because the              substantive problems with Cardwell’s
and            Credit group is slammed with work       work…were significant and were
Explanations   and because you and the other non-      translating into increasingly serious
about Mr.      Credit attorneys I asked have           problems staffing him on a consistent
Cardwell’s     experience working in the Credit        basis.”
Staffing       group.”

                  -   Davis Polk Junior Staffing          -    Davis Polk (with substantial
                      Coordinator #2 to Mr.                    assistance from the Individual
                      Cardwell                                 Defendants) in its EEOC
                                                               Answer and Position
                                                               Statement




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                  TO COVER UP WHAT HAPPENED,
    DAVIS POLK CHANGED ITS CONCLUSIONS ABOUT MR. CARDWELL’S
             PERFORMANCE, STAFFING, AND TERMINATION

                        Prior Conclusion                      Pretextual Conclusion/Lie

               December 20, 2016                       December 5, 2017:
               (paraphrasing):

Shifting       “It would be good if you were the       “By the fall of 2016, reviews of
Conclusions    lead attorney at the beginning of a     Cardwell’s performance reflected an
and            deal that involved a stock purchase     increasing concern that his work was
Explanations   agreement.”                             not at the level expected of a Firm
about How                                              associate, much less an associate
Mr. Cardwell                                           making the transition, as Cardwell
Should Have       -   M&A partner Mr. Kreynin          was that fall, from the junior to the
Been Staffed          to Mr. Cardwell during an        midlevel role….
in M&A in             annual face-to-face review
2016 and              in which Mr. Kreynin (i)         By this point, and consistent with
Should be             had summarized all the           Davis Polk’s practices, Cardwell’s
Staffed in            performance reviews              poor performance over three rotations
M&A 2017              attorneys had submitted for      and at the beginning of his post-
                      Mr. Cardwell for the months      rotation assignment to the M&A
                      covering Sept. 2015 - Sept.      group was such that it would have
                      2016 and (ii) was asserting      warranted giving Cardwell a message
                      that Mr. Cardwell was ready      that it was time for him to look for
                      to be given more                 another job.”
                      responsibilities and more
                      complex work, not less
                                                          -    Davis Polk (with substantial
                                                               assistance from the Individual
                                                               Defendants) in its EEOC
                                                               Answer and Position
                                                               Statement




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                  TO COVER UP WHAT HAPPENED,
    DAVIS POLK CHANGED ITS CONCLUSIONS ABOUT MR. CARDWELL’S
             PERFORMANCE, STAFFING, AND TERMINATION

                         Prior Conclusion                        Pretextual Conclusion/Lie

               March 9, 2017:                             December 5, 2017:

Shifting       “It’s not your fault. It needs to get      “…Cardwell’s experience at the Firm
Conclusions    fixed.”                                    is solely and directly a result of his
and                                                       own performance….
Explanations
about Mr.          -   Mr. Reid’s unsolicited             Cardwell’s assignments and hours
Cardwell’s             comment, in the presence of        were driven by his record of poor
performance,           Ms. Katz, to Mr. Cardwell          performance across three separate
hours,                 about Mr. Cardwell’s hours,        groups within the Davis Polk
assignments,           assignments, and staffing          Corporate Department….”
and staffing           issues with Davis Polk’s
                       M&A group
                                                             -    Davis Polk (with substantial
                                                                  assistance from the Individual
                                                                  Defendants) in its EEOC
                                                                  Answer and Position
                                                                  Statement




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                  TO COVER UP WHAT HAPPENED,
    DAVIS POLK CHANGED ITS CONCLUSIONS ABOUT MR. CARDWELL’S
             PERFORMANCE, STAFFING, AND TERMINATION

                         Prior Conclusion                      Pretextual Conclusion/Lie

                March 21, 2017:                         December 5, 2017:

Shifting        “It is both a policy and practice of    “And despite meaningful, real-time
Conclusions     the Firm to prohibit associates from    feedback over the course of years,
and             reviewing their performance             together with repeated interventions
Explanations    reviews.”                               and second chances, Cardwell’s
about the                                               performance has failed to improve.”
Type and
Frequency of
Feedback that      -   Renee DeSantis’s (i.e., the         -    Davis Polk (with substantial
Mr. Cardwell           Director of Associate                    assistance from the Individual
Received               Development) initial and                 Defendants) in its EEOC
                       subsequent responses to Mr.              Answer and Position
                       Cardwell after Mr. Cardwell              Statement
                       asked if he could review his
                       performance reviews before
                       meeting with Mr. Reid and
                       Mr. Kreynin and after Mr.
                       Cardwell stated, “At the
                       moment, I'll be the only
                       person in the meeting who
                       hasn't had a chance to
                       review my file and I think
                       the conversation will be
                       much more productive if I
                       have that opportunity and
                       can start the meeting with a
                       shared understanding as the
                       other participants.”




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                  TO COVER UP WHAT HAPPENED,
    DAVIS POLK CHANGED ITS CONCLUSIONS ABOUT MR. CARDWELL’S
             PERFORMANCE, STAFFING, AND TERMINATION

                        Prior Conclusion                      Pretextual Conclusion/Lie

               March 29, 2017:                         December 5, 2017:

Shifting       “We dropped the ball…. The lack of “…Cardwell’s experience at the Firm
Conclusions    work was due to human error and    is solely and directly a result of his
and            people making natural mistakes in  own performance….
Explanations   a large organization.”
about Mr.                                         Cardwell’s assignments and hours
Cardwell’s                                        were driven by his record of poor
performance,                                      performance across three separate
hours,                                            groups within the Davis Polk
assignments,                                      Corporate Department….”
and staffing

                  -   Mr. Reid, in the presence of        -    Davis Polk (with substantial
                      Mr. Kreynin, to Mr.                      assistance from the Individual
                      Cardwell in a meeting in                 Defendants) in its EEOC
                      which Mr. Cardwell stated                Answer and Position
                      that there was no                        Statement
                      permissible reason that
                      could explain how five
                      different individuals all
                      dropped the ball and made
                      the same so-called mistake
                      in staffing over the course
                      of five to six months




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                  TO COVER UP WHAT HAPPENED,
    DAVIS POLK CHANGED ITS CONCLUSIONS ABOUT MR. CARDWELL’S
             PERFORMANCE, STAFFING, AND TERMINATION

                          Prior Conclusion                        Pretextual Conclusion/Lie

               March 29, 2017:                             December 5, 2017:

Shifting       “Had I known you weren’t getting            “By [the summer of 2016], the
Conclusions    work, I would have tried to get you         substantive problems with Cardwell’s
and            on something with me sooner.”               work…were significant and were
Explanations                                               translating into increasingly serious
about Mr.                                                  problems staffing him on a consistent
Cardwell’s                                                 basis.”
performance,
hours,             -   Mr. Kreynin* to Mr.                    -    Davis Polk (with substantial
assignments,           Cardwell immediately after                  assistance from the Individual
and staffing           the two of them had a                       Defendants) in its EEOC
                       meeting with Mr. Reid                       Answer and Position
                                                                   Statement


                                                           January 11, 2018:

                                                           “It's challenging getting [you] work
                                                           and the firm [is] trying to figure out
                                                           what [you] could be staffed on.”


                                                              -    A Davis Polk M&A partner to
               * As a reminder, Mr. Kreynin is the M&A             Mr. Cardwell the day after Mr.
               partner who worked with Mr. Cardwell in             Cardwell filed (with Davis
               2016, conducted a face-to-face annual               Polk’s knowledge) more
               review with Mr. Cardwell in December
               2016, and had summarized all the
                                                                   complaints with the EEOC
               performance reviews attorneys had                   (i.e., Mr. Cardwell’s official
               submitted for Mr. Cardwell for the months           written rebuttal to Davis Polk’s
               covering Sept. 2015 - Sept. 2016                    EEOC Answer and Position
                                                                   Statement)




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                  TO COVER UP WHAT HAPPENED,
    DAVIS POLK CHANGED ITS CONCLUSIONS ABOUT MR. CARDWELL’S
             PERFORMANCE, STAFFING, AND TERMINATION

                           Prior Conclusion                           Pretextual Conclusion/Lie

               May 23, 2017:                                   December 5, 2017:

Shifting       “I haven’t been in the loop enough              “By the fall of 2016, reviews of
Conclusions    to comment specifically on how                  Cardwell’s performance reflected an
and            you’ve been previously staffed and              increasing concern that his work was
Explanations   [Mr. Reid] and [Mr. Bick] haven’t               not at the level expected of a Firm
about Mr.      brought me up to speed yet.”                    associate, much less an associate
Cardwell’s                                                     making the transition, as Cardwell
performance,                                                   was that fall, from the junior to the
hours,             -    Sharon Crane,* a director at           midlevel role….
assignments,            Davis Polk, to Mr. Cardwell
and staffing            after the Firm’s M&A                   By this point, and consistent with
                        partners went months                   Davis Polk’s practices, Cardwell’s
                        without staffing Mr.                   poor performance over three rotations
                        Cardwell on any                        and at the beginning of his post-
                        assignments                            rotation assignment to the M&A
                                                               group was such that it would have
                                                               warranted giving Cardwell a message
                                                               that it was time for him to look for
               *Davis Polk has described Ms. Crane as          another job.”
               “one of the leaders of the Firm’s diversity
               and inclusion efforts,” a description that is
               consistent with the fact that Ms. Crane
               often participated in formal and informal
                                                                  -    Davis Polk (with substantial
               conversations about Black attorneys’                    assistance from the Individual
               experiences and professional development                Defendants) in its EEOC
               at Davis Polk.                                          Answer and Position
                                                                       Statement
               Among the Firm’s Black associates in
               particular, many Black Davis Polk
               attorneys viewed Ms. Crane as Davis
               Polk’s most senior and influential
               executive director, as it was widely
               understood within the Firm that the Firm’s
               management committee, and Mr. Reid in
               particular, utilized Ms. Crane to
               understand and address Black associates’
               experiences, grievances, and requests.




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                  TO COVER UP WHAT HAPPENED,
    DAVIS POLK CHANGED ITS CONCLUSIONS ABOUT MR. CARDWELL’S
             PERFORMANCE, STAFFING, AND TERMINATION

                        Prior Conclusion                       Pretextual Conclusion/Lie

               May 23, 2017:                            January 11, 2018:

Shifting       “I don’t know the degree to which        “It's challenging getting you work and
Conclusions    you are staffed on other projects or     the firm is trying to figure out what
and            that you weren’t staffed on other        you could be staffed on.”
Explanations   projects…I’d love to work with
about Mr.      you.”
Cardwell’s
performance,   “You’d be surprised how not
hours,         uncommon it is for people to fall
assignments,   into a black hole at this firm….
and staffing   There is elitism at this firm.”


                  -   An M&A partner to Mr.                -    The same Davis Polk M&A
                      Cardwell after the Firm’s                 partner (in the left column) to
                      M&A partners went months                  Mr. Cardwell the day after Mr.
                      without staffing Mr.                      Cardwell filed (with Davis
                      Cardwell on any                           Polk’s knowledge) more
                      assignments                               complaints with the EEOC
                                                                (i.e., Mr. Cardwell’s official
                                                                written rebuttal to Davis Polk’s
                                                                EEOC Answer and Position
                                                                Statement)




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                  TO COVER UP WHAT HAPPENED,
    DAVIS POLK CHANGED ITS CONCLUSIONS ABOUT MR. CARDWELL’S
             PERFORMANCE, STAFFING, AND TERMINATION

                        Prior Conclusion                       Pretextual Conclusion/Lie

               May/June 2017 (paraphrasing):            December 5, 2017:

Shifting       “This is spot on and 100% correct        “The draft was unusable…. [The M&A
Conclusions    and exactly what I wanted to know.       partner] had to conduct the research
and            Ok, now let’s think about how we         himself and redraft the entire article.”
Explanations   can turn this into the type of memo
about Mr.      I’ve produced for clients in the
Cardwell’s     past. Everyone has their way of             -    Davis Polk (with substantial
performance    doing these things, but I like to do             assistance from the Individual
               mine a certain way.”                             Defendants), without any
                                                                supporting documents or
                                                                emails to demonstrate that that
                  -   An M&A partner to Mr.                     was the applicable M&A’s
                      Cardwell after Mr. Cardwell               position at the time, in its
                      turned in a memo and                      EEOC Answer and Position
                      before the M&A partner                    Statement regarding the
                      instructed Mr. Cardwell to                research and memo referenced
                      (i) turn the research into an             in the column to the left
                      article (ii) follow an outline
                      the M&A partner created


               “This is good. I did some more
               thinking and I changed my mind
               about how I want to approach this.”

                  -   The same M&A partner to
                      Mr. Cardwell after Mr.
                      Cardwell submitted a draft
                      of the article according to
                      the M&A partner’s
                      instructions and outline




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                    TO COVER UP WHAT HAPPENED,
      DAVIS POLK CHANGED ITS CONCLUSIONS ABOUT MR. CARDWELL’S
               PERFORMANCE, STAFFING, AND TERMINATION

                                 Prior Conclusion                      Pretextual Conclusion/Lie

                    February 8, 2018:                           December 5, 2017:

 Shifting           “There's no issue with your                 “To the contrary, the Firm at all times
 Conclusions        integrity or behavior…. If I were           has had legitimate, nondiscriminatory,
 and                you, I would be furious and                 and non-pretextual reasons for
 Explanations       unhappy and bitter.”                        staffing Cardwell as it has, including
 about Mr.                                                      meeting the needs of its clients and the
 Cardwell’s                                                     Firm.”
 performance,           -      An M&A partner to Mr.
 hours,                        Cardwell as he explained            -    Davis Polk (with substantial
 assignments,                  that Mr. Reid, Mr. Bick, Mr.             assistance from the Individual
 and staffing                  Brass and the other M&A                  Defendants) in its EEOC
                               staffing partners (i.e., Mr.             Answer and Position
                               Birnbaum and Mr. Wolfe)                  Statement
                               collectively decided to
                               terminate Mr. Cardwell’s
                               employment


        307.    As a direct result of the unlawful actions described in this Complaint, including

but not limited to Defendants’ termination of Mr. Cardwell’s employment, Mr. Cardwell has

suffered (and continues to suffer) damages, including, but not limited to, substantial economic

losses, lost professional opportunities and career prospects, humiliation, impairment to his name

and reputation, embarrassment, emotional and physical distress, and mental anguish.

        308.    Defendants are not incompetent or inexperienced. Defendants, some of whom

have 20-plus-years of legal experience, are elite strategists and practitioners. Individually and

collectively, Defendants have achieved world class status for their ability to create and

coordinate rules, legal teams, and documentation across a variety of complex human, legal, and

institutional relationships.



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         309.     To this point, it is common for M&A attorneys, as well as partners on firms’

management committees, to be viewed as the “quarterbacks” of the world’s most complex legal

deals and institutions.

         310.     The facts reveal that, between 2015 and 2018, Defendants quarterbacked and

permitted a playbook that marginalized, discriminated against, and retaliated (among other

unlawful acts) against Mr. Cardwell, the only Black male associate in Davis Polk’s 2014

associate class.

         311.     Defendants’ knew and understood that they had a duty to maintain a workplace

free of discrimination, hostility, harassment, and retaliation. Relatedly, Davis Polk is not “just

another cold law firm” where its leaders simply did not know better—where its leaders weren’t

routinely asked by its non-White associates to prevent bias from impacting such associates’

training, assessments, and advancement. 43 In order to create the appearance that Davis Polk’s

termination of Mr. Cardwell’s employment was timely, inevitable, and legal, Defendants

dismantled the “foundation” that it specifically designed with Black associates in mind,

including its discrimination-prevention and mitigation mechanisms.




43
   On June 15, 2016, Davis Polk’s Asian/South Asian/Middle Eastern group—which is one of Davis Polk’s largest
racial/ethnic affinity groups—took their concerns about racial bias at Davis Polk directly to Mr. Reid in the form of
a 12-page PowerPoint presentation that they presented to Mr. Reid. Davis Polk’s Asian/South Asian/Middle Eastern
group’s presentation emphasized how (i) “unfair stereotypes” often prevent Asian attorneys from being perceived
favorably in highly subjective assessments and (ii) “implicit bias and exclusion from informal support networks and
client development are common and affect the ways in which Asians are evaluated and considered for promotion.”

Further, Davis Polk’s Asian/South Asian/Middle Eastern group and its presentation encouraged Mr. Reid and Davis
Polk’s Management Committee to take the lead on improving partners’ commitment to (i) mentoring and developing
Davis Polk’s non-White associates; (ii) implementing implicit bias and unconscious stereotypes trainings for all
personnel (noting that it could be a part of trainings for first-year associates or as standalone seminars); (iii)
implementing trainings for “partners, counsel and senior associates on managing a diverse associate pool and the
specific challenges and barriers to internal advancement”; and (iv) tracking and incorporating the number of hours
attorneys spend on diversity initiatives in performance reviews and rewarding such attorneys for such hours.

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        312.       In whole or in part because of Mr. Cardwell's race, Davis Polk and the other

defendants committed themselves to in an illegal playbook and “game” until Mr. Cardwell was

“off the field.”

                                             COUNT ONE

        Racial Discrimination in Violation of Title VII of the Civil Rights Act of 1964

        313.       Mr. Cardwell re-alleges and incorporates every allegation in this Complaint as if

each allegation was recounted at length herein.

        314.       By the acts and practices detailed in this Complaint, Davis Polk discriminated

against Mr. Cardwell on the basis of his race in violation of Title VII of the Civil Rights Act of

1964, as amended, 42 U.S.C. §§ 2000e et seq. (“Title VII”).

        315.       As a result of Davis Polk’ discriminatory acts and practices, Mr. Cardwell has

suffered and continues to suffer harm and substantial economic losses, including, but not limited

to, salary, bonuses, and other monetary benefits, impairment to his name and reputation, and

emotional harm and psychological trauma, with associated physical symptoms.

        316.       Davis Polk intentionally discriminated against Mr. Cardwell with malice or

reckless indifference to Mr. Cardwell’s rights thereby entitling Mr. Cardwell to punitive

damages.

                                             COUNT TWO

               Retaliation in Violation of Title VII of the Civil Rights Act of 1964

        317.       Mr. Cardwell re-alleges and incorporates every allegation in this Complaint as if

each allegation was recounted at length herein.




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       318.    By the acts and practices described in this Complaint, Davis Polk retaliated

against Mr. Cardwell in the conditions of his employment for his opposition to unlawful

employment practices in violation of Title VII.

       319.    As a result of Davis Polk’ retaliatory acts and practices, Mr. Cardwell suffered

and continues to suffer harm and substantial economic losses, including but not limited to,

salary, bonuses, and other monetary benefits, impairment to his name and reputation, and

emotional harm and psychological trauma, with associated physical symptoms.

       320.    Davis Polk intentionally retaliated against Mr. Cardwell with malice or reckless

indifference to Mr. Cardwell’s rights thereby entitling Mr. Cardwell to punitive damages.

                                        COUNT THREE

    Hostile Work Environment in Violation of Title VII of the Civil Rights Act of 1964

       321.    Mr. Cardwell re-alleges and incorporates every allegation in this Complaint as if

each allegation was recounted at length herein.

       322.    By the acts and practices described in this Complaint, Davis Polk created a hostile

work environment in violation of Title VII.

       323.    As a result of Davis Polk’s unlawful actions, Mr. Cardwell has suffered and

continues to suffer harm and substantial economic losses, including, but not limited to, salary,

bonuses, and other monetary benefits, impairment to his name and reputation, and emotional

harm and psychological trauma, with associated physical symptoms.

                                         COUNT FOUR

                  Racial Discrimination in Violation of 42 U.S.C. § 1981(a)

       324.    Mr. Cardwell re-alleges and incorporates every allegation in this Complaint as if

each allegation was recounted at length herein.


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       325.    By the acts and practices detailed in this Complaint, Defendants intentionally

discriminated against Mr. Cardwell on the basis of his race in violation of 42 U.S.C § 1981(a)

(“Section 1981”).

       326.    As a result of Defendants’ discriminatory acts and practices, Mr. Cardwell has

suffered and continues to suffer harm and substantial economic losses, including, but not limited

to, salary, bonuses, and other monetary benefits, impairment to his name and reputation, and

emotional harm and psychological trauma, with associated physical symptoms.

       327.    Defendants intentionally discriminated against Mr. Cardwell with malice or

reckless indifference to Mr. Cardwell’s rights thereby entitling Mr. Cardwell to punitive

damages.

       328.    By the acts and practices detailed in this Complaint, Mr. Reid, Mr. Bick, Ms.

Hudson, Mr. Birnbaum, Mr. Brass, Mr. Wolfe, and Mr. Butler aided and abetted one another and

the Firm in their intentional discrimination against Mr. Cardwell.

       329.    As a result of Mr. Reid’s, Mr. Bick’s, Ms. Hudson’s, Mr. Birnbaum’s, Mr.

Brass’s, Mr. Wolfe’s, and Mr. Butler’s aiding and abetting, Mr. Cardwell has suffered and

continues to suffer harm and substantial economic losses, including, but not limited to, salary,

bonuses, and other monetary benefits, impairment to his name and reputation, and emotional

harm and psychological trauma, with associated physical symptoms.

                                         COUNT FIVE

                        Retaliation in Violation of 42 U.S.C. § 1981(a)

       330.    Mr. Cardwell re-alleges and incorporates every allegation in this Complaint as if

each allegation was recounted at length herein.




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       331.    By the acts and practices detailed in this Complaint, Defendants intentionally

retaliated against Mr. Cardwell for his opposition to unlawful discriminatory practices in

violation of Section 1981.

       332.    As a result of Defendants’ retaliatory acts and practices, Mr. Cardwell has

suffered and continues to suffer harm and substantial economic losses, including, but not limited

to, salary, bonuses, and other monetary benefits, impairment to his name and reputation, and

emotional harm and psychological trauma, with associated physical symptoms.

       333.    Defendants intentionally retaliated against Mr. Cardwell with malice or reckless

indifference to Mr. Cardwell’s rights thereby entitling Mr. Cardwell to punitive damages.

       334.    By the acts and practices detailed in this Complaint, Mr. Reid, Mr. Bick, Ms.

Hudson, Mr. Birnbaum, Mr. Brass, Mr. Wolfe, and Mr. Butler aided and abetted one another and

the Firm in their intentional retaliation against Mr. Cardwell.

       335.    As a result of D Mr. Reid’s, Mr. Bick’s, Ms. Hudson’s, Mr. Birnbaum’s, Mr.

Brass’s, Mr. Wolfe’s, and Mr. Butler’s aiding and abetting, Mr. Cardwell has suffered and

continues to suffer harm and substantial economic losses, including, but not limited to, salary,

bonuses, and other monetary benefits, impairment to his name and reputation, and emotional

harm and psychological trauma, with associated physical symptoms.

                                           COUNT SIX

                Hostile Work Environment in Violation of 42 U.S.C. § 1981(a)

       336.    Mr. Cardwell re-alleges and incorporates every allegation in this Complaint as if

each allegation was recounted at length herein.

       337.    By the acts and practices detailed in this Complaint, Defendants intentionally

created a hostile work environment in violation of Section 1981.


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       338.    As a result of Defendants’ unlawful actions, Mr. Cardwell has suffered and

continues to suffer harm and substantial economic losses, including, but not limited to, salary,

bonuses, and other monetary benefits, impairment to his name and reputation, and emotional

harm and psychological trauma, with associated physical symptoms.

       339.    By the acts and practices detailed in this Complaint, Mr. Reid, Mr. Bick, Ms.

Hudson, Mr. Birnbaum, Mr. Brass, Mr. Wolfe, and Mr. Butler aided and abetted one another and

the Firm in their creation of a hostile work environment and the subjugation of Mr. Cardwell to

that environment.

       340.    As a result of Mr. Reid’s, Mr. Bick’s, Ms. Hudson’s, Mr. Birnbaum’s, Mr.

Brass’s, Mr. Wolfe’s, and Mr. Butler’s aiding and abetting, Mr. Cardwell has suffered and

continues to suffer harm and substantial economic losses, including, but not limited to, salary,

bonuses, and other monetary benefits, impairment to his name and reputation, and emotional

harm and psychological trauma, with associated physical symptoms.

                                        COUNT SEVEN

 Racial Discrimination in Violation of the New York State Human Rights Law § 296(1)(a)

       341.    Mr. Cardwell re-alleges and incorporates every allegation in this Complaint as if

each allegation was recounted at length herein.

       342.    By the acts and practices described in this Complaint, Defendants discriminated

against Mr. Cardwell on the basis of his race in violation of the New York State Human Rights

Law (“NYSHRL”) § 296(1)(a).

       343.    As a result of Defendants’ discriminatory acts and practices, Mr. Cardwell has

suffered and continues to suffer harm and substantial economic losses, including, but not limited




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to, salary, bonuses, and other monetary benefits, impairment to his name and reputation, and

emotional harm and psychological trauma, with associated physical symptoms.

       344.    Defendants’ discriminatory acts and practices were willful, wantonly negligent or

reckless, amounting to a conscious disregard of Mr. Cardwell and Mr. Cardwell’s rights thereby

entitling Mr. Cardwell to punitive damages.

                                        COUNT EIGHT

                Aiding and Abetting Racial Discrimination in Violation of the

                         New York State Human Rights Law § 296(6)

       345.    Mr. Cardwell re-alleges and incorporates every allegation in this Complaint as if

each allegation was recounted at length herein.

       346.    By the acts and practices described in this Complaint, Defendants discriminated

against Mr. Cardwell on the basis of his race in violation of NYSHRL § 296(1)(a).

       347.    By the acts and practices described in this Complaint, Mr. Reid, Mr. Bick, Ms.

Hudson, Mr. Birnbaum, Mr. Wolfe, and Mr. Butler aided and abetted violations of NYSHRL §

296(1)(a), which were violations of NYSHRL § 296(6).

       348.    As a result of Mr. Reid’s, Mr. Bick’s, Ms. Hudson’s, Mr. Birnbaum’s, Mr.

Wolfe’s, and Mr. Butler’s aiding and abetting, Mr. Cardwell has suffered and continues to suffer

harm and substantial economic losses, including, but not limited to, salary, bonuses, and other

monetary benefits, impairment to his name and reputation, and emotional harm and

psychological trauma, with associated physical symptoms.

                                         COUNT NINE

       Retaliation in Violation of the New York State Human Rights Law § 296(1)(e)




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       349.    Mr. Cardwell re-alleges and incorporates every allegation in this Complaint as if

each allegation was recounted at length herein.

       350.    By the acts and practices described in this Complaint, Defendants retaliated

against Mr. Cardwell for his opposition to unlawful discriminatory practices in violation of

NYSHRL § 296(1)(e).

       351.    As a result of Defendants’ retaliatory acts and practices, Mr. Cardwell has

suffered and continues to suffer harm and substantial economic losses, including, but not limited

to, salary, bonuses, and other monetary benefits, impairment to his name and reputation, and

emotional harm and psychological trauma, with associated physical symptoms.

       352.    Defendants’ retaliatory acts and practices were willful, wantonly negligent or

reckless, amounting to a conscious disregard of Mr. Cardwell and Mr. Cardwell’s rights thereby

entitling Mr. Cardwell to punitive damages.

                                         COUNT TEN

                     Aiding and Abetting Retaliation in Violation of the

                         New York State Human Rights Law § 296(6)

       353.    Mr. Cardwell re-alleges and incorporates every allegation in this Complaint as if

each allegation was recounted at length herein.

       354.    By the acts and practices described in this Complaint, Defendants retaliated

against Mr. Cardwell for his opposition to unlawful discriminatory practices in violation of

NYSHRL § 296(1)(e).

       355.    By the acts and practices described in this Complaint, Mr. Reid, Mr. Bick, Ms.

Hudson, Mr. Birnbaum, Mr. Wolfe, and Mr. Butler aided and abetted violations of NYSHRL §

296(1)(e), which were violations of NYSHRL § 296(6).


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       356.    As a result of Mr. Reid’s, Mr. Bick’s, Ms. Hudson’s, Mr. Birnbaum’s, Mr.

Wolfe’s, and Mr. Butler’s aiding and abetting, Mr. Cardwell has suffered and continues to suffer

harm and substantial economic losses, including, but not limited to, salary, bonuses, and other

monetary benefits, impairment to his name and reputation, and emotional harm and

psychological trauma, with associated physical symptoms.

                                       COUNT ELEVEN

      Harassment in Violation of the New York State Human Rights Law § 296(1)(h)

       357.    Mr. Cardwell re-alleges and incorporates every allegation in this Complaint as if

each allegation was recounted at length herein.

       358.    By the acts and practices described in this Complaint, Defendants harassed Mr.

Cardwell for his opposition to unlawful discriminatory practices in violation of NYSHRL §

296(1)(h).

       359.    As a result of Defendants’ harassment, Mr. Cardwell has suffered and continues

to suffer harm and substantial economic losses, including, but not limited to, salary, bonuses, and

other monetary benefits, impairment to his name and reputation, and emotional harm and

psychological trauma, with associated physical symptoms.

       360.    Defendants’ harassment was willful, wantonly negligent or reckless, amounting to

a conscious disregard of Mr. Cardwell and Mr. Cardwell’s rights thereby entitling Mr. Cardwell

to punitive damages.

                                       COUNT TWELVE

                       Aiding and Abetting Harassment in Violation of the

                          New York State Human Rights Law § 296(6)




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       361.    Mr. Cardwell re-alleges and incorporates every allegation in this Complaint as if

each allegation was recounted at length herein.

       362.    By the acts and practices described in this Complaint, Defendants harassed Mr.

Cardwell for his opposition to unlawful discriminatory practices in violation of NYSHRL §

296(1)(h).

       363.    By the acts and practices described in this Complaint, Mr. Bick, Mr. Birnbaum,

Mr. Wolfe, and Mr. Butler aided and abetted violations of NYSHRL § 296(1)(h), which were

violations of NYSHRL § 296(6).

       364.    As a result of Mr. Bick’s, Mr. Birnbaum’s, Mr. Wolfe’s, and Mr. Butler’s aiding

and abetting, Mr. Cardwell has suffered and continues to suffer harm and substantial economic

losses, including, but not limited to, salary, bonuses, and other monetary benefits, impairment to

his name and reputation, and emotional harm and psychological trauma, with associated physical

symptoms.

                                     COUNT THIRTEEN

Racial Discrimination in Violation of the New York City Administrative Code § 8-107(1)(a)

       365.    Mr. Cardwell re-alleges and incorporates every allegation in this Complaint as if

each allegation was recounted at length herein.

       366.    By the acts and practices described in this Complaint, Defendants discriminated

against Mr. Cardwell in the conditions of his employment on the basis of his race in violation of

the New York City Administrative Code (“NYCHRL”) § 8-107(1)(a).

       367.    As a result of Defendants’ discriminatory acts and practices, Mr. Cardwell has

suffered and continues to suffer harm and substantial economic losses, including, but not limited




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to, salary, bonuses, and other monetary benefits, impairment to his name and reputation, and

emotional harm and psychological trauma, with associated physical symptoms.

       368.    Defendants’ discriminatory acts and practices were willful, wantonly negligent or

reckless, amounting to a conscious disregard of Mr. Cardwell and Mr. Cardwell’s rights thereby

entitling Mr. Cardwell to punitive damages.

                                     COUNT FOURTEEN

                Aiding and Abetting Racial Discrimination in Violation of the

                       New York City Administrative Code § 8-107(6)

       369.    Mr. Cardwell re-alleges and incorporates every allegation in this Complaint as if

each allegation was recounted at length herein.

       370.    By the acts and practices described in this Complaint, Defendants discriminated

against Mr. Cardwell in the conditions of his employment on the basis of his race in violation of

NYCHRL § 8-107(1)(a).

       371.    By the acts and practices described in this Complaint, Mr. Reid, Mr. Bick, Ms.

Hudson, Mr. Birnbaum, Mr. Wolfe, and Mr. Butler aided and abetted violations of NYCHRL §

8-107(1)(a), which were violations of NYCHRL § 8-107(6).

       372.    As a result of Mr. Reid’s, Mr. Bick’s, Ms. Hudson’s, Mr. Birnbaum’s, Mr.

Wolfe’s, and Mr. Butler’s aiding and abetting, Mr. Cardwell has suffered and continues to suffer

harm and substantial economic losses, including, but not limited to, salary, bonuses, and other

monetary benefits, impairment to his name and reputation, and emotional harm and

psychological trauma, with associated physical symptoms.

                                      COUNT FIFTEEN

       Retaliation in Violation of the New York City Administrative Code § 8-107(7)


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       373.    Mr. Cardwell re-alleges and incorporates every allegation in this Complaint as if

each allegation was recounted at length herein.

       374.    By the acts and practices described in this Complaint, Defendants retaliated

against Mr. Cardwell in the conditions of his employment for opposing unlawful discriminatory

practices in violation of New York City Administrative Code § 8-107(7).

       375.    As a result of Defendants’ retaliatory acts and practices, Mr. Cardwell suffered

and continues to suffer harm and substantial economic losses, including, but not limited to,

salary, bonuses, and other monetary benefits, impairment to his name and reputation, and

emotional harm and psychological trauma, with associated physical symptoms.

                                      COUNT SIXTEEN

                     Aiding and Abetting Retaliation in Violation of the

                        New York City Administrative Code 8-107(6)

       376.    Mr. Cardwell re-alleges and incorporates every allegation in this Complaint as if

each allegation was recounted at length herein.

       377.    By the acts and practices described in this Complaint, Defendants retaliated

against Mr. Cardwell in the conditions of his employment for opposing unlawful discriminatory

practices in violation of New York City Administrative Code § 8-107(7).

       378.    By the acts and practices described in this Complaint, Mr. Reid, Mr. Bick, Ms.

Hudson, Mr. Birnbaum, Mr. Wolfe, and Mr. Butler aided and abetted violations of NYCHRL §

8-107(7), which were violations of NYCHRL § 8-107(6).

       379.    As a result of Mr. Reid’s, Mr. Bick’s, Ms. Hudson’s, Mr. Birnbaum’s, Mr.

Wolfe’s, and Mr. Butler’s aiding and abetting, Mr. Cardwell suffered and continues to suffer

harm and substantial economic losses, including, but not limited to, salary, bonuses, and other


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monetary benefits, impairment to his name and reputation, and emotional harm and

psychological trauma, with associated physical symptoms.

                                   PRAYER FOR RELIEF

       380.   WHEREFORE, Mr. Cardwell respectfully requests that this Court enter a

Judgment in favor of Mr. Cardwell against Defendants, providing for the following relief:

              a. Declaring that the acts and practices complained of herein are unlawful and

                  violate Title VII; Section 1981; New York State Human Rights Law §§

                  296(1)(a), 296(1)(e), 296(1)(h), and 296(6); and the New York City

                  Administrative Code §§ 8-107(1)(a), 8-107(7), and 8-107(6);

              b. Directing Defendants to pay compensatory damages for back and front pay,

                  bonuses and other monetary benefits to which Mr. Cardwell is entitled;

              c. Directing Defendants to pay compensatory damages for reputational damage,

                  emotional harm, psychological harm and any physical impairments resulting

                  from Defendants’ acts and practices;

              d. Directing Defendants to pay punitive damages for engaging in discriminatory

                  acts or practices with malice or reckless indifference to Mr. Cardwell’s rights;

              e. Directing Defendants to pay punitive damages for their willful, wantonly

                  negligent or reckless disregard of Mr. Cardwell’s rights;

              f. Directing Defendants to pay punitive damages to the extent allowable by law,

                  including Title VII; Section 1981; New York State Human Rights Law §§

                  296(1)(a), 296(1)(e), 296(1)(h), and 296(6); and New York City

                  Administrative Code §§ 8-107(1)(a), 8-107(7), and 8-107(6);




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